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 1          UNITED STATES DISTRICT COURT OF MARYLAND
                         SOUTHERN DIVISION
 2
   ------------------------x
 3 UNITED STATES OF AMERICA  :
              Plaintiff      :
 4                           :
                             :
 5 vs                        :Criminal Action:           RWT -04-0235
                             :
 6                           :
   PAULETTE MARTIN, et al    :
 7           Defendants.     :
   ------------------------x
 8

 9                           Fri day , July 14 , 2006
                             Greenbelt, Maryland
10
         The above-entitled action came on for a Jury Trial
11 Proceeding before the HONORABLE ROGER W. TITUS, United
   States District Judge, in courtroom 4C, commencing at
12 9: 00 a.m.

13       THIS TRANSCRIPT REPRESENTS THE PRODUCT
         OF AN OFFICIAL REPORTER, ENGAGED BY
14       THE COURT, WHO HAS PERSONALLY CERTIFIED
         THAT IT REPRESENTS THE PROCEEDINGS AS RECORDED AND
15       REQUESTED.

16       APPEARANCES:

17       On behalf of the Plaintiff:

18       DEBORAH JOHNSTON, Esquire
         BONNIE GREENBERG, Esquire
19
         On behalf of the Defendants:
20
         MICHAEL MONTEMARANO , Esquire
21       ANTHONY MARTIN, Esquire
         MARC HALL, Esquire
22       TIMOTHY MITCHELL, Esquire
         PETER WARD, Esquire
23       EDWARD SUSSMAN , Esquire
         HARRY MCKNETT , Esquire
24
   Tracy Rae Dunlap,   RPR , CRR                      (301) 344-3912
25 Official Court Reporter




                                                                Page     1
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 1                                I N D E X

 2                         DIR          CROSS    REDIR      RECROSS

 3 Karolyn Tontarski       8,13         12,56    90         96

 4 Minh Dang               101          110      118        119

 5 David Hearn             119          127      139

 6 Vedoster    Ingram      155,170      175      178

 7 Norma Horne             179          190      202

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23 Reporter's Certificate                                   208

24 Concordance                                              209

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 1            THE COURT:   Has anyone     seen Mr. Martin ?

 2            Mr. Montemarano , do you know where Mr. Mart in

 3 is ?   Do you know where Mr. Martin        is ?

 4            MR. MONTEMARANO :     No , Your Honor .

 5            THE COURT:   I know you're     not your brother 's

 6 keeper .

 7            MR. MONTEMARANO :     Your Honor , I'm mor e than

 8 happy -- I have not seen him yet this morn ing , and I've

 9 been here since before      8:30 .     He was n't down stair s in

10 the attorney     lounge , and I have not seen him since I

11 came up .

12            Ms. Merez took a list of cell phone number s from

13 us early in the trial .         I would be glad , if she has his

14 cell -- do you have Mr. Martin 's cell phone number , Ms.

15 Merez ?     I'll be glad to call him while you're         taking

16 care of the jury .

17            THE COURT:   How 's the jury ?

18            THE CLERK:   Okay , judge .

19            THE COURT:   All here ?

20            THE CLERK:   Yes .    He 's on his way .    He thought

21 it was 9:30 .     He 's on his way .

22            THE COURT:   Okay .

23            MS. JOHNSTON:    Your Honor , while we're wait ing

24 for Mr. Martin , may I step out into the alcove            and

25 speak with one of our witness es ?         I will    Not go any




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 1 further , Your Honor .      I promise .

 2           MR. MARTIN:     Your Honor , I'm sorry .

 3           THE COURT:     Mr. Martin , this cannot      become    a

 4 regular   thing .     Everyone    else here understood      9 o'clock

 5 and , you know , I was here early , as I told you I would

 6 be , here 15 minute s ahead of preliminary           matter s and I

 7 want to take care of the jurors, so please             listen    when

 8 I announce    the time we're going to start          trial .

 9 Everyone else heard.        I just want to state one minute

10 that li stening      is not waiting for your turn to talk.

11 So you have to listen to me.

12           Now, with regard       to your preliminary       matter , you

13 filed a Motion for Dis closure         of Movement    and asked to

14 have a defense       -- a Form 129 provided      to you for your

15 re view because      of concern    that potential ly government

16 witness es had been talk ing to each other and had not

17 been candid       about talk ing to each other , and that you

18 want ed to explore      that for whatever     it 's worth .     Well ,

19 I didn't know       what a Form 129 was .     I'm not sure anyone

20 else did , except      Mr. Montemarano .

21           MR. MONTEMARANO :       And I may have    been

22 mis inform ed .

23           THE COURT:     There actual ly is a Report 129 ,

24 which is a computer       document .    It is not a form you

25 fill out .    It 's a form that is a living        document     that




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 1 change s every single      day .    I have personally      re view ed

 2 the Report No. 129 for Michael          Joseph   Thurman    and Larry

 3 Delano    Lane .    I will tell you what it reveal s that 's

 4 pertinent     to your issue .

 5           I am not sure you're        entitle d to anything     else .

 6 If you can convince       me of that -- I'm not going to do

 7 it now.     This jury is wait ing .       I would only give it to

 8 you in redact ed form , but what is pertinent           to the

 9 issue that you're       raising    is were they in the same

10 place at the same time .

11           MR. MARTIN:     Correct .

12           THE COURT:     The answer     is , yes , they were in the

13 same place at the same time .          According   to the report

14 -- take note s of this .        This is important .     Michael

15 Joseph    Thurman    was at the Maryland     Correctional

16 Ad justment    Center from September       28 , 2005 , to the

17 present .     La rry Delano   Lane was at the Maryland

18 Correction al Adjustment        Center from April 26 , 2006 , to

19 the present .

20           On both of the form s, there 's a list of

21 separatees ; in other words , person s with whom they may

22 not be associate d while in that facility .           And on Larry

23 Delano    Lane 's list is Michael      Thurman   and on Michael

24 Thurman 's list is Larry Lane .         So if the directive s of

25 the U. S. Mar shal 's Service        was follow ed , they should




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 1 not have been talk ing to each other or see ing each

 2 other in those facilities .          There is nothing       else in

 3 this form that I think is pert inent the defense               of the

 4 case .

 5            So if you want to press the issue of look ing at

 6 it , I have look ed at it as an officer            of the court .     We

 7 are all officer s of this court , that 's what it show s.

 8 All of the other facilities          listed    are not in common      at

 9 all .     The only place where there 's any commonal ity

10 would be from the period          of April 26 , 2006 , to the

11 present .     They have been in the same facility            with a

12 list that says they may not talk to each other .                All

13 right ?

14            MR. MONTEMARANO :      Court 's indulgence , please .

15 If I could consult       with Mr. Martin       brief ly .

16            THE COURT:    Yes .

17            MR. MARTIN:    Much more experience d person s than

18 myself     on this matter   have raise d two point s that I'd

19 like to make for the record .          The first is I don't know

20 if the report     that Your Honor look ed at reference d

21 transportation , whether         they were ever transport ed at

22 the same time .     The second      is not with stand ing the

23 directive s of the United         States    Mar shal 's Service ,

24 whether     or not these gentlemen         at any point were in

25 adjoin ing cell s, whether        they at any point --




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 1            THE COURT:     I'm tell ing you what the record

 2 show s.     The record    does not show transportation

 3 together     -- it does n't show transportation .           I mean ,

 4 the form show s identification         data , name , address , date

 5 of birth , place of -- you know sex , race , all that kind

 6 of stuff , social       security   number .

 7            It show s "separatees ," people        whom they may not

 8 be associate d with , and prominent ly on each one 's

 9 listed     is the other one .      It show s detain er s, it show s

10 alias , it show s case information            in term s of what the

11 sentence     is and why they're      being held .     And it has a

12 chronological     prisoner    history , which is a fancy word

13 of saying     where were they being kept .

14            MS. JOHNSTON:     Your Honor , if I could interrupt ,

15 please .     The jury has been wait ing since nine o'clock .

16 We have     a witness    ready as well .

17            THE COURT:     I've given you plenty       under the

18 circumstance s.     I will place these report s under seal

19 in the court file for appellate            re view purpose , but I

20 think I have communicate d to you everything               that the

21 form would somehow        show you if you had it in front of

22 you that 's pertinent       to the defense       of the   case .

23            There is nothing     in here that says they were on

24 a bus together , it does n't say what cell they were in .

25 It simply     list s their status     and that they're




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 1 separatees      in whatever    bureaucrat ic parlance       that may

 2 mean .     Are you ready for the jury ?

 3            THE CLERK:      Yes .

 4            THE COURT:      Go get them .

 5                    (Jury return s at 9:20 a.m. )

 6 Thereupon,

 7                           KAROLYN    TONTARSKI ,

 8 having been called as a witness on behalf of the

 9 Plaintiff , and having been first duly sworn by the

10 Courtroom Deputy, was examined and testified as

11 follows:

12                           DIRECT    EXAMINATION

13            BY MS. GREENBERG:

14 Q.         Could you state your name         and spell that name

15 for the court reporter , please ?

16 A.         Karolyn    Tontarski , K A R O L Y N,

17 T O N T A R S K I.

18 Q.         How are you employ ed and who is your employer ?

19 A.         I'm employed     as a forensic scientist        by the

20 Montgomery      County   Crime Laboratory in       Maryland.

21 Q.         How long have you been employed          by the

22 Montgomery      County Crime Laboratory?

23 A.         I've work ed for them for five year s and three

24 month s.

25 Q.         Prior to work ing for Montgomery         County , how were




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 1 you employ ed an d for how long ?

 2 A.         Before    I work ed for Montgomery      County , I work ed

 3 for the Virginia        Division    of Forensic    Science , which is

 4 now the Virginia        Department      of Forensic    Science   Crime

 5 Laboratory      locate d in northern       Virginia    in Fairfax    for

 6 a little     under six year s.

 7            Prior to that , I work ed for the Massachusetts

 8 Department      of State Police Crime Laboratory           for 11

 9 year s and three month s.

10 Q.         What is a forensic        scientist ?   I mean , we've all

11 seen it on CSI, perhaps .           Can you give      us the real live

12 version ?

13 A.         A forensic    scientist      examine s evidence    in

14 connection      with criminal      investigation s.      Work ing in

15 the forensic        biology   section    of the laboratory , I

16 examine     evidence    for the presence      of blood and other

17 body fluids , and also for other gene tic material                 that

18 may be present , such as DNA from shed skin cell s.                  I

19 examine     the evidence , perform        DNA testing    when need ed ,

20 prepare     report s relative      to my find ings , and testify          in

21 court when call ed upon to do so .

22 Q.         Could you give the jury an idea about your

23 educational      background ?

24 A.         I have a bachelor       of art s degree     in the field of

25 bio chemistry       from Mount Holy Oak College , which is




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 1 locate d in western        Massachusetts .     I have a master s --

 2 I --

 3 Q.         I apologize .

 4 A.         Keep going or ?

 5 Q.         Yes .

 6 A.         I have a    master   of science    degree    in

 7 bio technology       from John s Hopkins     University      as well .

 8 Q.         Be sides your educational       background , have you

 9 had any specific        train ing for your position ?

10 A.         Yes .    Since I've been in the field for so long ,

11 my initial     train ing was on -the -job train ing , but each

12 time you enter into a new laboratory             system , you have

13 extensive     on -the -job train ing to acclimate         you to that

14 specific     laboratory     system .

15            In addition     to my on -the -job train ing , I

16 participate        in continui ng education     on a regular      basis .

17 Initial ly , that was not required , now it is actual ly a

18 requirement        to work in a DNA laboratory         in the United

19 States .     So we have continui ng education           requirement s

20 that are required         annual ly .

21 Q.         Are you a member      of any professional

22 organization s?

23 A.         Yes , I am .

24 Q.         Could you tell the jury what those are ?

25 A.         I'm a fellow     of the American     Board of




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 1 Criminal istic s.     I am a member     of the Mid -Atlantic

 2 Association     of Forensic     Scientist s.     I am an associate

 3 member   of the North eastern       Association    of Forensic

 4 Scientist s.     I'm a member     of Sigma Chi , which is a

 5 scientific     re search   society .

 6 Q.       You mention ed that you work at the Montgomery

 7 County Crime Laboratory .         How many analyst s are there ?

 8 A.       In the biology        section , there are three of us ;

 9 and in the chemistry        section , there are three full -time

10 examiner s and one part -time examiner .

11 Q.       Is that for all of Montgomery            County , Maryland ?

12 A.       Yes , it is .

13 Q.       Who is the head of that lab ?

14 A.       Richard    Gervasoni .

15 Q.       Have you ever testifi ed in court as an ex pert

16 witness ?

17 A.       Yes , I have .

18 Q.       How many    time s?

19 A.       I've testifi ed over 200 time s at this point ;

20 with regard     to DNA testing , I've testifi ed

21 approximately      65 time s.

22          MS. GREENBERG:         Your Honor , I submit     Ms.

23 Tontarski     as an ex pert in forensic        biology   and ask that

24 she be able to give her opinion          as a forensic

25 scientist .




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 1           THE COURT:      Is there cross on her

 2 qualification s?

 3           MR. WARD:     So do I assume       that the proffer    is as

 4 to the DNA testing ?

 5           MR. GREENBERG:        Yes, sir .

 6           MR. WARD:     I have a couple       of question s.

 7           THE COURT:      All right .

 8                           CROSS- EXAMINATION

 9           BY MR. WARD:

10 Q.        How many time s have you been qualifi ed as an

11 ex pert in the field of DNA testing , ma'am ?

12 A.        Approximately     65 time s.

13 Q.        I'm sorry , I thought      you said before     you had

14 been qualifi ed as an ex pert 55 time s, but it was 65

15 time s?

16 A.        If I said 55 , I meant to say 65 .          I apologize .

17 Q.        I'm sorry .

18 A.        It is 65 .    If I mis spoke , I apologize .

19 Q.        What specific     train ing have you had in the field

20 of DNA analysis ?

21 A.        As I mention ed , I've had on-the-job training           .

22 I've also attend ed a number         of specifically     related

23 course s for forensic      biology    since 19 85 .    I've attend ed

24 32 workshop s and course s that specifically            relate   to

25 that particular       topic .




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 1            MR. WARD:     I have no other question s.       Thank

 2 you .

 3            THE COURT:     Any other cross on qualifications?

 4 All right .     She will be permitted      to testify    as a

 5 forensic    scientist .

 6            MS. GREENBERG:     Thank you , your Honor .

 7                   FURTHER DIRECT EXAMINATION

 8            BY MS. GREENBERG:

 9 Q.         Could you brief ly ex plain to the jury what is

10 DNA?

11 A.         DNA stands    for deoxyribonucleic acid.        It is a

12 chemical    substance     that is found in each one of our

13 bod ies that provides       the information    that 's necessary

14 for each one of us to look the way that we look and for

15 our bodi es to function .       It is sometimes     referred    to as

16 the blueprint     of life .

17            So just as a blueprint      for a house contain s the

18 information     as to where the door s, the window s, and the

19 wall s are , for example , the DNA in our bodi es provides

20 the information        that tell s us how tall we're going to

21 be , what color our hair is , and for the chemical s that

22 are necessary     for our heart s to beat proper ly .

23 Q.         Where is DNA found ?

24 A.         The DNA that I examine      is found in cell s in the

25 body that contain        a nucleus .   A way of thinking     of the




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 1 nucleus    is like a control        center   for the cell .

 2 Example s of cell s that contain         a nucleus       are white

 3 blood cell s.       Because     we work in a regular       crime

 4 laboratory , we do a lot of sexual             assault    case s, so we

 5 are interest ed in sperm cell s contain ing DNA, and also

 6 skin cell s, cell s from         the in side of your mouth , for

 7 example , call ed buc cal cell s contain          DNA, and the cell s

 8 on the surface        of your skin that are shed off also

 9 contain    DNA.

10 Q.        Is the DNA in your cell s in your body , are all

11 of them the same ?

12 A.        Yes .   The nuclear      DNA in someone 's blood , for

13 example , is the same as the DNA in their skin .

14 Q.        What is DN A typing ?       You're    going to be talk ing

15 about DNA typi ng .       Could you tell the jury what that is

16 before    we get into the specific s of it ?

17 A.        DNA typing     is the process      that we use from , in

18 the laboratory , to look at the DNA that is different

19 between    people .     The question    typically    before     us is

20 whether    or not     someone    could be a source       of a

21 particular     stain or sample       that we are examining         in the

22 laboratory .

23           The DNA typi ng process       allow s us to be able to

24 take sample s from evidence          obtain ed what's      call ed a DNA

25 pro file and then compare          that result    to DNA pro file s




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1 obtain ed from known sample s from individuals             believe d

2 to be associate d with a particular           investigation .        Once

3 we make those comparison s, we can then say if someone

4 can be excluded        as a source    of evidence    or if they

5 cannot     be excluded .

6 Q.         What is the -- can you tell the jury what PCR

7 is ?   Does that relate       to DNA testing ?

8 A.         It is .     PCR stands for   Polymerase    Chain

9 Reaction .      It's the process      that we use in the

10 laboratory     to look at areas of DNA where there are

11 difference s between       people   in the population .

12 Q.        What is a genetic       system ?

13 A.        A genetic     system   is actual ly one of those area s

14 where there are difference s between          people   in the

15 population .

16 Q.        How many genetic       system s do you use ?

17 A.        In our laboratory , we look at 15 area s that are

18 call ed short tandem       repeat s, and we look at one area

19 that is a sex determination          area , or locust,    call ed

20 amelogenin .      So together    we look at 16 area s of DNA to

21 provide    a DNA pro file for each sample .

22 Q.        Is what you've     just explain ed, the PCR method

23 and your use of the        different   genetic   system s, is that

24 wide ly use d in the scientific        field of DNA testing ?

25 A.        Yes .     The PCR process , for example , is use d




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 1 almost   universal ly now in scientific           re search .   It 's

 2 been around     for over 20 year s.      It 's use d in hospital

 3 laboratori es to obtain       diagnostic     test result s.       And

 4 here in Maryland , we have the National             Institute     of

 5 Health , and they use that testing           in their re search

 6 facilities     routine ly as well .

 7 Q.       Now , with that background , if we can turn

 8 specifically     to your work in connect ion with          this case

 9 --

10          MS . GREENBERG:      Your Honor , may I approach ?

11          THE COURT:       You may .

12          MS. GREENBERG:       I'd like to show you

13 Miscellaneous     25 .   Your Honor , the Court and the jury

14 will be happy to know that we've reach ed a stipulation

15 so we continue     don't have to call Sergeant           Sakala    back

16 to the stand .

17          He took this swab from Ms. Lavon Dobie on or

18 about the date collect ed here at 12 /23 /2004 , his name

19 is on here , and it was submitted          to the crime

20 laboratory,     so we don't have to call him to the witness

21 stand yet again .

22          MR. WARD:       That 's correct .    There is no issue as

23 to that .    What is the exhibit       number ?

24          MS. GREENBERG:       Miscellaneous       25 .

25          MR. WARD:       Thank you .




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 1            BY MS. GREENBERG:

 2 Q.         Do you recognize      Miscellaneous     25 ?

 3 A.         I do .

 4 Q.         How do you recognize      it ?

 5 A.         I recognize    it by the laboratory       number ,

 6 04-F-103 .     The item number , F-1, and the bar code --

 7 well , the bar code is not on here .            It's on the

 8 original     contain er , and my initial s.

 9 Q.         And Miscellaneous      25 is the known sample         that

10 you use d to compare      --

11 A.         Yes .

12 Q.         Do you recognize      Dobie 16 A by your Item No. 12

13 up on the top left-hand         corner ?

14 A.         Yes , I do .

15 Q.         Could you tell us what is contain ed in Item 12 ?

16 A.         Item 12 contains      a .40 Caliber     magazine     and the

17 associate d li ve ammunition        that came along with it .

18 Q.         I'm just going to refer to this as Dobie 16 A.

19 It 's your Item 12 , and just so the jury can follow

20 along , can you read the se iz ing officer           on this

21 pack age , what that name is ?

22 A.         It 's D.

23 Q.         Is it P A P A L I A?

24 A.         Papalia , yes .     It 's a little    hard to read .

25 Q.         Did you compare      Miscellaneous     25 with a sample




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 1 taken from 16 A?

 2 A.         Yes , I did .

 3 Q.         Where is the sample      that you took from 16A ?

 4 That was taken from 16A ?

 5 A.         A swab bing was taken from the base or the bottom

 6 of the magazine       onto a cotton -tip ped swab .

 7 Q.         If I can just stop you there .        When you say

 8 bottom   of the magazine , you mean right here ?

 9 A.         Yes , I do .

10            MS. GREENBERG:      Your Honor , may I show the jury

11 where she 's talk ing about ?

12            THE COURT:      Yes , you may .

13            BY MS. GREENBERG:

14 Q.         With this sampling      that was obtain ed from     the

15 bottom   of the magazine       on Dobie 16A , could you explain

16 what you did with respect         to Miscellaneous     -- what

17 happened     to the swab from Dobie 16A ?

18 A.         The swab was actual ly cut and use d in the DNA

19 typi ng process .       What remain s at this point is what we

20 call the ex tract ed material , and that along with the

21 remainder     of the DNA ex tract is in the freezer         section

22 of our laboratory         on Research Boulevard    in Rockville .

23 Q.         Is that your standard      operati ng procedure     to

24 leave it there ?

25 A.         Yes .   The ex tract ed material , the DNA ex tract s




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 1 and addition     cuttings , or known sample s, are retain ed

 2 in the laboratory      on a routine    basis .    That is our

 3 standard    operati ng procedure .

 4 Q.         Could you bring it here for the jury ?

 5 A.         We would only bring it here for the jury under

 6 court order .     It is our goal to pre serve that evidence

 7 should   additional    testing   ever be need ed .     The best way

 8 to do that is to maintain        it in a pristine      environment

 9 in our laboratory .

10 Q.         Is this -- that 's the    typical     practice to    not

11 re move it from the pristine        environment ?

12 A.         That 's correct .

13 Q.         Now , was this magazine , when you received          it ,

14 can you tell by look ing at this exhibit            whether it was

15 load ed or un load ed ?

16 A.         When it was received     at the laboratory , the live

17 ammunition     was no long er within    the magazine , but there

18 were item s of live -- there were six live bullet s, if

19 you will , that were submitted        along with the magazine .

20 Q.         Did you -- did your lab swab the bullet s to see

21 if there was a DNA sample ?

22 A.         No , we did not .

23 Q.         Why not ?

24 A.         We current ly do not have the staff ing to run the

25 bullet s from firearm s, so we are not do ing that .             We




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1 have done that on occasion .         The probability      of

2 yield ing a result     is extreme ly low , so at this point ,

3 we are not run ning them on a regular          basis .

4 Q.         It 's only in special    circumstance s?

5 A.         Yes .   For example , if that is the only item of

6 evidence     that is available     for examination .

7 Q.         How many item s were you submitted       for testing        in

8 this case ?

9 A.         We were submitted     -- there were eight gun s, ten

10 magazine s, and eight known sample s.

11 Q.        How long did it take you just to -- did it take

12 you to work on that one exhibit        I show ed you , Dobie 16 ,

13 with one question     sample , one known question ?

14 A.        The known sample ?     That take s --

15 Q.        Just as to the   tw o exhibit s I show ed you , how

16 long would that take ?

17 A.         That would take about an hour and 15 min utes

18 just to work on each one of those sample s.             Each sample

19 needs to have a pristine       examination    environment , so

20 the area has to be sterili zed , a clean environment            set

21 up , the item taken in its packaging , notation s made ,

22 opened   up , additional   notation s made , a sample

23 collect ed , put into a prepared      tube at that point , and

24 then the whole set up has to be clean ed and then we

25 start again for the next item .




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 1            MR. WARD:     Ho w long -- I'm sorry , I didn't get

 2 the length     of time .

 3            THE WITNESS:     Each item of evidence      can take

 4 about 45 minute s, and that would be for a small item of

 5 evidence    like that .    If we're examining , for example , a

 6 pair of pant s or slack s that have multiple           bloodstain s,

 7 sometimes    that can take over eight hour s.          But for

 8 something    like a magazine , it take s rough ly 30 to 45

 9 minute s.

10            BY MS. GREENBERG:

11 Q.         How about taking    you to the end of the process ,

12 you're   able to reach your conclusion s as to whether             or

13 not there 's -- what the match is between           the DNA on the

14 known sample     and the DNA on the known sample ?          From

15 begin ning to    end , how long would that take ?

16 A.         In order    to be time and cost effective , we do

17 what's   call ed batch ing , which is the standard operating

18 procedure in forensic       DNA laboratories .      So we examine

19 evidence    until we get enough      sample s to take through

20 for DNA testing , conduct       the DNA testing , perform        the

21 comparison s, write the report s, do the administrative

22 process ing of , for example , dry ing down the DNA

23 ex tract s and preparing      DNA packet s.

24            Together , that time period     is rough ly four

25 week s, so when we're talk ing to people         about how long




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 1 it take s to do case s, we say it take s about a week to a

 2 week and a half to process         the evidence , about a week

 3 to perform      the DNA testing , rough ly a week to get all

 4 of those report s written .        So again , the single      report

 5 will take less time , and then about a half of a week to

 6 do our administrative        clean up , if you will , from that

 7 DNA run , so it 's about four week s.

 8 Q.        Was this submission      in this case for your

 9 lab oratory     considered   to be a large or small

10 sub mission ?

11 A.        This was consider ed to be a large submission .

12 Q.        How many item s were there ?

13 A.        There were 18 item s of evidence , and there were

14 eight known sample s.

15 Q.        How many people     in your lab do the work that you

16 do ?

17 A.        There are three of us in the biology            section .

18 Rough rough ly half of my time is spent do ing

19 administrative       and quality   control   measure s.    A large

20 part of our process       is our quality     assurance    program     to

21 insure    that the quality     of the result s is appropriate

22 for re lease of report s and so that -- there are a lot

23 of step s to that , from anything       as simple    as taking

24 daily temperature s on item s of equipment          through    do ing

25 quality    control    check s that can take over four hour s on




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 1 a single    instrument .

 2          So the majority     of my time , or about half of my

 3 time , is spent do ing that .       So to answer    the question

 4 simply   would have been about 2.5 people .

 5 Q.       If we had somebody       who 's work ing full time , how

 6 long , approximately , would it take them to analyze             the

 7 exhibit s that were submitted        in this case ?

 8          MR. WARD:     Your Honor , I object      to this .    If she

 9 want s to stipulate     that the lab is under -fund ed and

10 under staff ed , I'll stipulate      to that .

11          THE COURT:     Okay .    Over ruled .

12          BY MS. GREENBERG:

13 Q.       Want me to repeat the       question?

14          If there were a full -time person , not taking

15 your time as half -time because        a full -time person      of

16 your train ing and caliber , how long would it have taken

17 them , approximately , to analyze       the 18 -- is that what

18 you said -- exhibit s in this case ?

19 A.       Through    the DNA typi ng process ?

20 Q.       Yes .

21 A.       It take s approximately      one and a half to two

22 month s, and if we were to include         the time for the

23 technical    re view process     for a large case like this ,

24 that 's an additional      two day s or so .

25 Q.       You're    an ex pert , so I'm going to give you a




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1 hypothetical , and let me know if you need me to repeat

2 this or stop at any time .          The hypothetical     is :

3 Suppose    there were a number       of search   warrant s done in

4 the case and the agent s knew exact ly what the US

5 attorney s -- Assistant         US attorney s were going to do in

6 court , so they were able to de lineate          from this

7 voluminous    evidence    exact ly what exhibit s the AUSA

8 would elicit       from you in court .    Follow me so far ?

9 A.        I do .

10 Q.       Suppose    they submitted    to you approximately         300

11 exhibit s they were going to show to the jury because

12 they knew that .      Okay ?

13 A.       Okay .

14 Q.       Which I know it 's a hypothetical .           It's not

15 meant to be in real life .         It 's like that .

16 A.       Good .

17 Q.       Suppose    they also guess ed right as to number              of

18 known sample s to give you , and they said , okay , we only

19 need -- we only need seven known sample s and we got

20 those seven known sample s, we need you compare                it to

21 these 300 exhibit s.      So we have 300 exhibit s not

22 count ing -- we're not going to ask you to examine                every

23 little   baggy , so that would only be count ed if there

24 were a whole bag full of baggi es .         We would n't ask you

25 to count every baggy , we would say that 's Exhibit 1 .




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 1 Do you follow       me so far ?

 2 A.         Okay .

 3 Q.         We have 300 of these , seven known sample s.           What

 4 would you be able do that --

 5            MR. WARD:     Objection , and I'd like to be heard

 6 on that at the bench .

 7                     (At the bar of the Court.)

 8            MR. WARD:     I don't know    where these 300 example s

 9 come in .     I thought    we were talk ing about Lavon Dobie

10 here .   Lavon Dobie , there 's two item s, I think , or

11 three item s that were tested         with respect     to her .

12            MS. GREENBERG:      Your Honor , she 's a DNA ex pert .

13 She has examine d 18 item s here .         The defense    counsel

14 have gone on and on and on with all the search              agent s

15 and fingerprint        and DNA testing , and I'm done after

16 this question .        I'm moving   on to the individual

17 exhibit s she 's observe d, but I think she 's entitle d to

18 answer   those question s.

19            MR. MONTEMARANO :      Will you proffer     what the next

20 question     is ?

21            MR. WARD:     She 's been asked about item s related

22 to Lavon Dobie .        Now the suggestion    is the implicit

23 question     that there were 300 item s that relate         to Lavon

24 Dobie , which are ridiculous .          There aren't    and the

25 government     well know s that .




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 1             MS. GREENBERG:      No , no, no.       There 's 300 as to

 2 our exhibit      list .

 3             THE COURT:      Make it clear there 's not 300 as to

 4 Lavon Dobie .

 5             MS. GREENBERG:      Okay .

 6             THE COURT:      The objection    is sustain ed to that

 7 ex tent .    Re do your question .

 8                           (Back in open court .)

 9             BY MS. GREENBERG:

10 Q.          Ma'am , just to be clear , I am not talk ing about

11 300 exhibit s as to Ms. Dobie .            I'm say ing Exhibit 300 ,

12 that somebody      like Detective        Eveler   would give you for

13 a whole case and would relate             to seven people , what

14 would you say to Detective          Eveler    or Sergeant      Sakala

15 submitting      that to you ?

16             MR. MONTEMARANO :     Objection .

17             THE COURT:      What's the basis ?

18             MR. MONTEMARANO :     Relevance .

19             THE COURT:      Re state the question .

20             MS. GREENBERG:      Using my hypothetical , what

21 would be your response          to receiving      that --

22             MR. MONTEMARANO :     Objection       as to   relevance .

23             MR. WARD:      I object to that , Your Honor .

24 Probably     her response      is , oh my God , how am I going to

25 get that done ?




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 1            THE COURT:     Over ruled .

 2            BY MS. GREENBERG:

 3 Q.         Not adopt ing Mr. Ward 's response , but what would

 4 you say ?

 5 A.         I would say that 's not a bad response .            I would

 6 say that they would shut our lab oratory            down .    I was

 7 try ing to    do a little    math when you were at side bar .

 8 Three hundred        exhibit s would translate     into probably

 9 double    that number     of DNA sample s because      we typically

10 -- depend ing on what you're          talk ing about , but there 's

11 usually     obvious ly at least      one DNA sample , typically

12 two or more .

13            So if we just average         that out , we'd say we

14 would have about 700 sample s to go through             for DNA.

15 Your average     DNA examiner       can take about 30 sample s

16 through     per month .

17 Q.         I'm sorry , I didn't      hear your average       DNA

18 examiner     can what ?

19 A.         Can take through     approximately     30 DNA sample s

20 per month .

21 Q.         So it would take rough ly a year and a half for a

22 single    examiner     to process    that evidence ?

23 A.         Because    I'm thinking    since they're    not writing

24 the report s they'd       be just going DNA run after DNA run

25 after DNA run .        So it may be slight ly less than that ,




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 1 but that would be a single         examiner 's work for about a

 2 year and a half .         Then we would have to have the

 3 technical     re viewer 's time to re view a case of that

 4 magnitude , which I would imagine         would be a very , very ,

 5 very, very large stack of paper wo rk, and I would

 6 anticipate     that would take about a month minimum .

 7 Q.         Now turn ing our attention      to Miscellaneous     26 ,

 8 which I'll put this up on the screen           and then I'll zoom

 9 in if it were appropriate .         Do you recognize     that

10 exhibit ?

11 A.         Yes , I do .

12 Q.         Is there a redact ed copy of one of your report s?

13 A.         Yes .   It 's a redact ed copy of a portion      of my

14 report .     Page 8.

15 Q.         What does this report     reflect ?

16 A.         This particular     portion   of the report    reflect s

17 the DNA typi ng result s for two item s in this case .

18 Q.         What does this mean , the summary       of Power Plex 16

19 typi ng result s?

20 A.         That is a listing     of the DNA pro file result s

21 that were obtain ed .        So in this case , for two of the

22 item s, we can see the DNA typi ng result s.

23 Q.         And I'll zoom back out .       We see up top here ,

24 item , description        and a list of letter s and number s.

25 Can you explain        to the jury what that is ?




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 1 A.        Yes .   T he item number     refer s to the item number

 2 that was designate d for each item from the laboratory .

 3 There is a brief description           of the item .

 4 Q.        Oh , I'm sorry .       I'm perhaps   on the wrong page

 5 from you .    Are you talk ing about the S-1 here and the

 6 12 here ?

 7 A.        Yes, I am .

 8 Q.        Those are the      two exhibit s I just show ed you ?

 9 A.        They are .

10 Q.        The description        of the two exhibit s, S-1 , which

11 match es with Miscellaneous 2 5 is what ?

12 A.        The buc cal, or cheek swab , sample          from Lavon

13 Dobie .

14 Q.        And Item 12 , which match es Dobie 16A , is what ?

15 A.        That 's the   sample     from the bottom , or the     base ,

16 of the    magazine    that was re covered      from Ninth Street       in

17 DC Northwest .

18 Q.        And now , if perhaps       you can explain      to us what

19 is not -- in as clear English           as those two thing s

20 across the top of the        chart .    What do those letter s

21 and number s reflective       of ?

22 A.        As you said , the title of this table is the

23 Summary of the       PowerPlex    16 Typing    Results.    PowerPlex

24 16 is the kit that we use in our laboratory               to obtain

25 the result s on those 16 areas of DNA, those gene tic




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 1 marker s where there are difference s between           people    in

 2 the population .       Each one of those genetic       system s has

 3 a name , and so that 's what those flurry           of letter s and

 4 number s are .     So for example , in the first column          of

 5 result s, it says --

 6 Q.         Where my pen is ?

 7 A.         Yes , exact ly .    It says D3S1358 .    That is the

 8 name of that area of DNA that we look at where we know

 9 there are difference s between         people    in the population .

10 For that system , just look ing at that one alone , there

11 are nine common      var iations    that are found in the

12 population .      So each one of us has one of the 45

13 possible     type s that are available     for that one system

14 alone , and then each one of the system s after that , and

15 the next one is one .

16            Then after that is D21 for short .         Each one    of

17 those system s has variation s in the population .            The

18 more system s that we look at , the more like ly we are to

19 end up with a result          where there is a statistical

20 probability      that no one else will have that DNA

21 pro file .

22 Q.         So do these number s up here , the different          typ es

23 of DNA that you de scribe d ,such as THO1 and D3S1358 ,

24 does that tell you whether          the person    is going to have

25 red hair or brown hair or short or is tall or how --




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 1 that 's what we typically        understand        DNA to mean .     How

 2 does this relate        to those factor s?

 3 A.         What you just referred        to with height      and hair

 4 color , those are determine d through              gene s that are

 5 found within      our DNA.     These particular        areas of DNA

 6 that we look at are essentially            spacer     nonsensical

 7 pieces     of information .     So in order        for our gene s to be

 8 read by our bod ie s to provide          the information     that 's

 9 need ed , you need gap s between         those .

10            So some scientist s refer to this as junk DNA , if

11 you will , but it 's DNA that for forensic              scientist s is

12 very valuable      because    there are these variation s that

13 help us to distinguish         between    people .     It does n't tell

14 us anything     about how you look or what race you are or

15 anything .     It just provide s these difference s between

16 people .

17 Q.         That 's through    the space in the DNA?

18 A.         Exact ly .   So you have a gene th at 's going to be

19 read and then you have space s.            And actual ly , within

20 the gene s there are space s of non sensical             information .

21 That is not -- nonsensical         information        not is unique in

22 the actual     reading    and information     that 's use d for our

23 bodi es in term s of DNA that 's need ed for the gene s.

24 Q.         And these spacer s are different           with each

25 person ?




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 1 A.          They are .   We in herit half of our DNA from our

 2 mother s and half from our father s, and actual ly , if we

 3 look for the result      for D3 from that first sample , we

 4 can see that there is a result         that says 16 , 17 .      These

 5 area s of DNA are actual ly repeat s, and so in this

 6 instance    for D3, that 16 refer s to 16 repeat s of

 7 information .     The 17 refer s to 17 repeat s of

 8 information .

 9            One way to think of    this is to think of       train s

10 on a track , and in the laboratory         we have an engine      and

11 a caboose     and then we have our train 's car s, and in

12 this instance,     for one of these train s, you'd have 16

13 cars , for the other you'd have 17 .          If you think of

14 that again , if you were look ing straight          down on those

15 train s, on your separate       track s, the train that has the

16 17 boxcar s is going to be long er than the train with

17 the 16 boxcar s.

18            So it would be very easy to tell the difference

19 between    them just by look ing at their length .          And in

20 simple    term s, that 's all we're do ing in the laboratory

21 is we're look ing at length       difference s of piece s of DNA

22 for each of these very specific         area s in our bodi es

23 where there are difference s between          people .

24 Q.         Does 16 spacer s come from one parent         and 17

25 come s from    the other ?




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 1 A.         Yes .   And without   look ing at this individual 's

 2 parent s, I don't know       which parent     they inherit ed the

 3 16 from and which they inherited            the 17 from , for

 4 example , but they're       inherited     from each parent .

 5 Q.         And you would need a DNA sample           from each parent

 6 to tell that or from one parent ; is that correct ?

 7 A.          From each is preferable        because    your parent s

 8 may have     different    information .     For example , these

 9 parent s may both be 16 , 17 s.         Because   we're only

10 look ing at one area , you can have factor s that are the

11 same .    People   who are relate d to forensic        bi ologist s

12 are often asked to give their DNA sample s.               So for

13 example , for each of my areas of DNA , I know which

14 parent    I inherited     my character istic s from , unless        both

15 of my parent s have the same marker           in one area , and

16 then I don't know        who gave me what .

17 Q.         These number s up on top are the different           way s

18 of typing     in the DNA and differ entiating         the DNA for

19 analysis ?

20 A.         Yes .   In the United   States , we have 13 areas of

21 DNA that are referred        to as the     13 core loci .    Loci are

22 multiple     areas of DNA that are being look ed at .           A

23 locus is a single        area of DNA that is being look ed at .

24 We have -- every laboratory         look s at a minimum      of 13

25 areas .    In some areas , we look at two additional s that




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1 are call ed the pentas , Penta E and Penta D, and other

2 laboratories will be seeking different other extra

3 areas of DNA.       Those labs also use the amelogenin or

4 the sex-determining area as well           .

5 Q.          On this chart , Miscellaneous         26 , there is the

6 Penta E; is that correct ?

7 A.          Yes , it is .

8 Q.          If we slide it over , here we see the Penta D?

9 A.          Yes .   So essentially    those are bonus areas of

10 DNA that we look at .

11 Q.         Extra credit ?

12 A.         Extra credit .

13 Q.         And here is -- what did you call the XX here ?

14 A.         It 's amelogenin    and if we think about back to

15 our basic bi ology,        we will remember , hope fully , that we

16 inherit     our sex character istic s from our parents        as

17 well , so if we have two XX that mean s we're a female .

18 If we have a X and a Y, it mean s we're a male .

19 Q.         Other than that determination , is there anything

20 among the other character istic s that give s you any

21 personal     information     about the   person   other than the

22 spacer s between     their DNA ?

23 A.         No .

24 Q.         Now , if I go specifically         -- you can start with

25 the beginning      and give you some example s, this 16 and




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 1 17 , and then you also have 16 and 17 written            on the

 2 bottom .     Do you see that ?

 3 A.         Yes , I do .

 4 Q.         And you're     consistent    throughout   with your

 5 different     result s with the number s.       Are they all the

 6 same ?

 7 A.         Yes .    If you compare     the results   of the DNA

 8 pro file s all the way across , look ing at all 16 area s of

 9 DNA , the DNA pro file from the known sample           from Lavon

10 Dobie is the same as the DNA pro file that was obtain ed

11 from the base of the magazine           from Ninth Street .

12 Q.         What do you call in your practice          this type of

13 pro file ?

14 A.         In term s of the fact that they match ?

15 Q.         Yes .

16 A.         I would call those match ing pro file s.        In this

17 instance , what we can see on the evidence            pro file is

18 that we have a single         contributor    of DNA and we refer

19 to those as clean pro file s.          In addition   to having

20 something     that 's a single    source    of DNA, or a clean

21 pro file , we oftentimes       see mixture    DNA pro file s.

22            From what -- since we know that we inherit             half

23 our DNA from our mother         and half from our father , no

24 single     person   is going to have more than two

25 character istic s at any of these areas , so if we look at




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 1 D3, you can see we have a 16 and a 17 .            If we were to

 2 look at another       factor   as well , that would be an

 3 instant     indication    to me that we most probably       have a

 4 mixture .

 5 Q.        Just to back you up.        What do you mean by

 6 "mixture " again ?

 7 A.        It mean s there 's DNA from more than one person

 8 present ,

 9 Q.        Is that common ?      Un common ?

10 A.        That 's fair ly common .       Even when we're look ing

11 at swab s taken from someone 's body , for example , we

12 oftentimes     have mixture s.     But anything    that 's a

13 handle d item of DNA, which we do a lot of now -- for

14 example , if I had a pen and I want ed to swab it and

15 determine     who had been handli ng that pen , I would most

16 like ly get a mixture       DNA pro file on that .

17           Sometimes      we're lucky and we get a clean

18 pro file , but oftentimes       people   set down pen s and

19 someone     else pick s it up , so we're like ly to see a

20 mixture , so we can interpret        those pro file s as well and

21 say if someone     can be included       in a group of people

22 that could have contributed         to that mixture     or if they

23 would be excluded        as being a possible     contributor    into

24 that mixture .

25 Q.        Just to be clear , when you're        talk ing about this




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 1 mag azine,   the bottom       part of the magazine      that I

 2 recent ly show ed to the jury , that was re covered               from

 3 7427 Ninth Street,          Northwest.      Are you say ing that

 4 nobody    ever , ever in their life ever touch ed the bottom

 5 of that magazine       --

 6           MR. WARD:     Objection .

 7           MS. GREENBERG:        -- and that only this person

 8 with 16 and 17 touched          the gun ?

 9           MR. WARD:     Objection , Your Honor .         I suggest

10 it 's lead ing .

11           THE COURT:        Re phrase    the question   again .

12           BY MS. GREENBERG:

13 Q.        By see ing that there 's two item s there , 16 and

14 17 , on the magazine         that was re covered    from 7427 Ninth

15 Street,    Northwest,       what you analyze d as Item No. 12 ,

16 are you able to tell who , if anyone             else , might have

17 touch ed that weapon         ever ?

18           Are you able to tell whether           this person      with

19 the 16 , 17 , and the rest of the typi ng touch ed that

20 weapon , or is it a possibility             that somebody   else had

21 previous ly touch ed the weapon ?

22 A.        Well , common      sense actual ly tell s us that

23 someone    else has handle d this weapon .          We have someone

24 that manufactured       it , we have someone       that sold it , so

25 we know that other people             have handle d this weapon , and




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 1 this magazine , for example .        The fact that I'm find ing

 2 a single     DNA pro file consistent    with a single

 3 individual      just tell s me that I have a clean pro file at

 4 this particular      point in time .    Could be if it were

 5 examine d or re covered     a day later , that there might

 6 have been additional      DNA there as well .       But at this

 7 point in time , I have      a single   DNA source    in the

 8 pro file .

 9 Q.       What is the likelihood        that the person     who

10 submit ted that sample , Lavon Dobie , is the person             whose

11 DNA was re covered     from the bottom     of that magazine ?

12 What is the likelihood ?

13 A.       The DNA result s can be interpret ed into a

14 statistical      number , and by do ing -- the way we do that

15 in the laboratory      is by look ing at four population

16 categori es .     The idea is to get a percent of the

17 extract at the high end and the low end of what the

18 significance of the finding is.           What you really want

19 to do, say a person walking down the street has the

20 same DNA profile as      does every other person        walk ing

21 down the street      have this DNA pro file , or is it

22 something     that we're un like ly to see again in the

23 population ?

24          So what I'm going to do is to provide            you with

25 the most conservative       number   from that statistical




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 1 analysis , so the probability            of random ly selecting        an

 2 un related    individual        out of the population     that has

 3 this same DNA pro file is one in 1.1 quintillion .                   Now ,

 4 quintillions are         number s that we don't typically           deal

 5 with , so sometimes        it 's help ful for us to try to put

 6 that in people        term s.

 7            Right now , the approximate        world population         is

 8 about six billion         people .     We can argue it a little

 9 bit , but it 's rough ly six billion          people .    That has

10 nine zeros .        A quintillion      has 18 zero s.    So what this

11 result   is tell ing us is that , statistically             speak ing ,

12 this is a result         that we are not like ly to see in the

13 population     again .     It is not a common        find ing , this

14 map , if you will .

15 Q.         Except    for my initial ly writing        in the wrong

16 spot s; is that correct ?            This is a one in 11

17 quintillion     chance     it is the same person , and there 's

18 18 zero s and approximately            six billion    people   in the

19 world and that has --

20 A.         Yes , and that 's the       probability    of random ly

21 select ing another        individual     with this DNA pro file .

22 Q.         How about twin s?

23 A.         That 's a very good question .         Identical     twin s

24 will have the same DNA pro file .            Fraternal    twin s,

25 however,     such as even , you know , well , if we think of




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 1 that would be a brother        and sister   that are born

 2 together , obvious ly would have different          DNA pro file s,

 3 but the individuals       in the population     that would have

 4 the same DNA pro file would be identical           twin s, so that

 5 does , indeed , happen .

 6           MS. GREENBERG:      Your Honor , may I publish

 7 Miscellaneous      26 , please ?

 8           THE COURT:      Yes , you may .

 9           BY MS. GREENBERG:

10 Q.        Just to be clear , Miscellaneous        26 , all the

11 number s are exact ly the same on that chart as what you

12 based your decision ?

13 A.        Yes , that is correct .

14 Q.        Now , I'd like to show you some other item s th at

15 you examine d, if I could have --

16           MS. GREENBERG:      Court 's in dulgence .

17           BY MS . GREENBERG:

18 Q.        These are items submitted from 7427          Ninth

19 Street,      Northwest.   If I could have     Dobie 17A, which

20 for your purpose s is Item 13 ; Dobie 16 , which is Item

21 14 ; and Dobie 17 is Item 15 .

22           Your Honor , may I approach       with the exhibit s?

23           THE COURT:      Yes , you may .

24           MS. GREENBERG:      It will make thing s go a little

25 quick er .




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 1            BY MS. GREENBERG:

 2 Q.         Start ing -- you've        already    testifi ed about Item

 3 12 .    Hand ing you what is your Item 13 --

 4            MR. WARD:      I'm sorry , what is the exhibit

 5 number ?

 6            MS. GREENBERG:          This is Item 13 up in the

 7 corner , and for our purpose s it 's Dobie 17 A.

 8            BY MS. GREENBERG:

 9 Q.         Could you tell the jury what that is ?

10 A.         Yes .   This is a nine millimeter          magazine     with

11 live ammunition that was received at                the laboratory        in

12 connection     with this investigation .

13 Q.         Was a sample      obtain ed from that item ?

14 A.         Yes , it was .

15 Q.         From where ?

16 A.         Again , from the base of the magazine .

17            MR. WARD:      I'm sorry , I didn't       hear .

18            THE WITNESS:       From the base , or the bottom , of

19 the magazine .

20            MS. GREENBERG:          Am I in your way , Judge .

21            THE COURT:       No .

22            BY MS. GREENBERG:

23 Q.         Is that the same location            as before     in the other

24 gun ?

25 A.         Yes .   That 's the      standard    location    that we take




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1 sample s from on magazine s because         it 's un like ly to have

2 latent    fingerprints .     If we can pre serve the side for

3 the late nt fingerprint         examiner s, but still give us a

4 high probability      of get ting a DNA pro file .

5 Q.          Why is that ?

6 A.          When someone    put s the magazine    into the gun ,

7 typically      they tap it with the base of their hand and

8 they can transfer       the DNA from their skin to the

9 magazine     by do ing that .

10 Q.         That 's what we -- the jury had already         seen when

11 I show ed them Item 12 ; is that correct ?

12 A.         Yes , that bottom , or the base , of the magazine .

13 Q.         For Item 13 , we were able to obtain        -- you were

14 able to obtain     a DNA sample     from the bottom     of the

15 magazine    on that weapon      -- on that magazine .     I'm sorry

16 I keep say ing weapon .

17 A.         Yes , a swab bing was re cover ed and the ability           to

18 get a DNA pro file is a different         matter .

19 Q.         As to that exhibit , what was your conclusion          as

20 to Ms. Dobie ?

21 A.         I was un able to obtain    any DNA typi ng result s

22 from this particular       sample , and so we have a long

23 phrase   that we use , but essentially , it mean s that

24 we're un able to obtain        a pro file from the evidence , and

25 with touch or contact       DNA sample s, that is -- that is




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 1 not un common , but it -- you know , it 's nice when we get

 2 a result , but we're not surprise d when we don't .

 3 Q.        In other words , it was n't good enough           to effect

 4 whether    or not match could be made ?

 5 A.        Exact ly .   So we had a swab that was taken and no

 6 DNA result s were obtain ed .

 7 Q.        If I could turn your attention         to item -- what

 8 is your Item 14 and for our purpose s is Dobie 16 .                 For

 9 the record , it is a firearm .        Again , a Llama Minimax

10 .40 Caliber       handgun , and again , that 's your Item 14 and

11 Dobie 16 .     Can you tell the jury what your lab was able

12 to accomplish       with that particular      weapon ?

13 A.        Yes .

14 Q.        Again , we're still on Ninth Street ?

15 A.        Yes , we're still on Ninth Street .            A swab bing

16 was obtain ed -- typically        with firearm s, what we

17 attempt    to do is take swabbings      from ridge d area s on

18 the weapon .       The reason   for that is because       you can

19 have skin cell s that will collect         in those little

20 ridge s and nook s and cranni es that we can then pull out

21 by the swab bing , and hope fully obtain         a DNA pro file

22 from .    So in this instance , we have a ridged            area on

23 what's    call ed -- we call the grip , and so we swab the

24 front -- well , both sides and any ridge d portion              of the

25 grip , and in this area, it's        pretty    much ridge d all the




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1 way around .      There 's a hatch ing on the sides , and then

2 a straight     up and down linear        pattern   on the front and

3 back of the grip .        So that is swab bed .

4             In this instance , the swab was taken through              for

5 DNA testing .      There was a complex        mixture    that was

6 obtain ed from this DNA typi ng process            and indicate s a

7 mixture     of at least    three individuals .       Lavon Dobie

8 could not be excluded        as a don or into this mixture

9 pro file on the grip of this weapon .

10 Q.         What does that mean , could not be excluded ?

11 A.         That mean s that her DNA pro file is represent ed

12 in the typi ng result s so that she cannot             be excluded     as

13 one of the people      who left DNA on this particular             area

14 of the weapon .

15 Q.         How does that differ        from the probability     that

16 you testifi ed as to the other magazine ?

17 A.         In our laboratory , if we have what's          call ed a

18 clean DNA pro file that we talk ed about on the base of

19 the magazine , we do not go on to obtain            a statistical

20 number   for mixture     pro file s.    The process     of obtain ing

21 a DNA statistic al analysis       for a mixture        is complete ly

22 different .     We use what's    call ed a likelihood        ratio,

23 and you have to set up situations            where you compare        and

24 contrast    the likelihood     of one scenario      versus    another .

25 We do that when we need to , but if we have a clean




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 1 pro file , that is the best statistical            analysis , and so

 2 we do not prepare        the other s.

 3 Q.         What are you able to tell us , then , with Dobie

 4 16 where you had a mixture            pro file and you could n't

 5 exclude    Ms. Dobie ?

 6 A.         That 's what I'm able to tell you , that her DNA,

 7 she can't be excluded            as a don or of DNA on the grip

 8 area of this weapon , but I did not prepare              a

 9 statistical        number .     Sample s were also taken from the

10 trigger    on this item , as well as the slide , which you

11 would think of        as the     trigger .   There's a rigid area,

12 and there's a rigid area on the slide.               The stick er is

13 over it on one side , but there are these groove s and

14 the slides     typically        work real well for DNA testing .

15 For both of those sample s, I was un able to obtain                 any

16 DNA typi ng result s.           So again , there 's nothing   for

17 comparison     there .

18 Q.         Dobie 17 , which for your purpose s is Item 15 ,

19 and again , we're still on Ninth Street             Northwest ; is

20 that correct ?

21 A.         Yes .

22 Q.         Were any DNA sample s able to be obtain ed from

23 that particular        item ?

24            MR. WARD:      Do you want to de scribe      the item ,

25 please ?




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 1           MS. GREENBERG:      Certain ly .

 2           BY MS. GREENBERG:

 3 Q.        That would be A Taurus Millennium          handgun     Serial

 4 No. TWE 69 738 re covered     from 7427 Ninth Street

 5 Northwest , Washington , DC as is on your report , ma'am ;

 6 is that correct ?

 7 A.        That 's correct .    Again , this weapon     swab was

 8 taken from the ridge d area of the grip or handle              on the

 9 weapon , obtain ed a DNA pro file .        It was also con sis tent

10 to a mixture .     In this instance , a mixture        of at least

11 two people , and Lavon Dobie could not be excluded               as

12 one of the contributor s of DNA into this mixture .

13           The sample   was also prepared      from the slide .

14 Again , that 's that ridge d or bump ed area on the weapon

15 that is drawn back , so people          typically   handle   that

16 area of on the weapon       as well .     I obtain ed a partial

17 DNA pro file on that portion        of the weapon     that was

18 handled    from the slide.       Now, what   that mean s is there

19 is very little     DNA there .     If we do not obtain       a full

20 DNA pro file , there can be a numb er of reason s for that ,

21 but typically    it mean s we're working       with a very small

22 amount    of DNA that 's re covered .

23           Again , we're talk ing about people        touch ing

24 thing s and comi ng in contact       with them , so that 's an

25 expect ed result , if you will , and we see it frequent ly




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 1 with item s like firearm s.       In this instance , the

 2 mixture    was consistent    with at least       two people .    I

 3 could not obtain       a conclusive     result   in term s of

 4 whether    or not Ms. Dobie could be in that mixtu re

 5 because    it was so small or partial .

 6 Q.        Before   we get to the next set of exhibit s, I

 7 just touch ed this bench .       If this bench was taken into

 8 your lab for DNA testing        on that bench , would you be

 9 able to get my DNA where I just touch ed ?

10           MR. WARD:     Objection , Your Honor .

11           THE COURT:     Over ruled .

12           THE WITNESS:      It depends , actual ly .     There are a

13 number    of factor s that would come into play there .

14           BY MS. GREENBERG:

15 Q.        Could you tell the jury some of the factor s that

16 would come into play ?

17           MR. WARD:     I'm sorry .     What was the question ?

18           MS. GREENBERG:      Could you tell the jury some of

19 the factor s that would come into play .

20           MR. WARD:     Objection .

21           THE COURT:     Over ruled .

22           THE WITNESS:      The easiest    factor   to discuss       is

23 the amount    of time in which you would have had contact

24 with the bench when you touch ed it .            The long er the

25 contact , the more DNA you're         going to leave , and in




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 1 reality , the more rigorous       the contact , so if you're

 2 slap ping your hand up and down or rub bing it all over ,

 3 you're    going to leave more DNA.        This get s us into a

 4 discussion    of --

 5           BY MS. GREENBERG:

 6 Q.        I'm sorry .   If I could back you up.

 7           Do you mean the amount      of time I touch ed the

 8 desk or the amount      of time from when I touch ed the desk

 9 to when you get it or both ?

10 A.        I was at that point talk ing about the amount            of

11 time that you were touch ing it , okay ?         But we can talk

12 about the amount      of time since you touch ed it .        So for

13 example , if you touch ed it , left some DNA and then two

14 day s went by before     the bench was re covered       and other

15 people    touch ed that area , then that would affect         my

16 ability    to potential ly detect     your DNA there .

17           Every time someone    touch es something , they leave

18 DNA, but they also take it away .          So , if someone

19 touch es the area that you touch ed , they may leave their

20 DNA, and we'll get into that in a minute , but they will

21 also take away some of your s.

22 A.        What I was start ing to talk about was that this

23 get s us into categori es of people        in the population .

24 You can be a heavy shed der of DNA or a weak shed der of

25 DNA.     So if you work in a DNA laboratory , like I do ,




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 1 you want to be a weak shed der .         You don't want to be

 2 leavi ng your DNA all over the place .

 3          We take our glove s off and on , we go through               all

 4 sort s of special    requirement s to insure       that we're not

 5 leavi ng our DNA because       that would be a bad thing , and

 6 it 's not a positive     thing , but it does happen .        But

 7 what I want to make sure of is that my DNA, for

 8 example , isn't end ing up in the evidence          sample s.        So

 9 if you're   a heavy shed der , you leave a lot of your               DNA

10 be hind , and if you're     a weak shed der , you don't leave a

11 lot your DNA be hind .

12          Complicate d on -- compound ed with that is how

13 often , for example , if you were talk ing about your

14 hands , you wash your hands .         So if you wash your hands

15 frequent ly , you're    get ting rid of a lot of the excess

16 cell s that are on the surface         of your skin that you

17 would leave be hind .     If you don't wash your hands

18 frequent ly and you're      a heavy shed der , you would tend

19 to leave a lot of your DNA be hind .          So those are some

20 of the factor s that come into play .          I'm sure there are

21 other s, but if that give s you an idea .

22 Q.       Can I control      whether   I'm a heavy shed der, a

23 light shed der ?

24 A.       No , you can't .     I can't look at someone        and tell

25 you if they're     a heavy shedder or      weak shed der .      In




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 1 actuality,    the only way to determine           that is through

 2 scientific    experimentation , and that was one of the

 3 way s that people     actual ly found out that we do have

 4 different    people   in the population , who we had

 5 volunteer s for laboratory        experiment s, and they were

 6 leavi ng these massive        amount s of DNA be hind , and they

 7 were overwhelming         the very small amount      of DNA that

 8 someone   else left be hind , so you could n't detect          their

 9 DNA pro file .

10           In some instance s, the person          that was a weak

11 shed der whose DNA was being over whelmed            by the heavy

12 shed der had touch ed the       item after the heavy shed der .

13 And something      else that can affect       thing s, too , is , for

14 example , if you have        a cold and you cough into your

15 hand , you're     going to be leavi ng DNA on your hand , and

16 then if you touch something , you will leave more of

17 your DNA be hind .        Not because    you're   a heavy shed der

18 but because      you've    deposited    some of your DNA from your

19 oral cavity      on your hand , which is then transferred .

20 Q.        So in your experience , we just look ed at

21 different    weapon s.      Is it un usual that you would

22 examine   a weapon    and find no DNA?

23 A.        No , it 's not un usual at all .        I mean , it 's not

24 un usual to find DNA .        It's not un usual -- I mean , just

25 about anything      you can imagine , a single        pro file , a




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1 mixture    pro file , no DNA we will find .

2 Q.         I'd next like to show you Oglethorpe              13 B,

3 Oglethorpe     9B, Oglethorpe        9A, and Oglethorpe      --

4            MR. WARD:       Excuse   me .    Are we through      with Ninth

5 Street ?

6            MS. GREENBERG:       Yes .      May I approach?

7            THE COURT:       You may approach .

8            BY MS. GREENBERG:

9 Q.         With the other magazine           at Ninth Street , I

10 apologize , Mr. Ward , you similar ly didn't           an alyze the

11 bullet s because      of your standard        operati ng procedure ?

12 A.        That 's correct .

13 Q.        In all of these exhibits           where there were

14 bullet s, just to shortcut it          , you didn't   analyze       it ; is

15 that correct ?

16 A.        That 's correct .

17 Q.        Show ing you Oglethorpe          10, which for your

18 purpose s is Item 9, could you tell the jury if you

19 analyze d those magazine s in that bag ?

20 A.        Yes , I did .

21 Q.        For the record , that is Oglethorpe           10 .     Could

22 you tell the jury the result s of your an alysis, which

23 is two Davis industry         magazine s and two magazine s with

24 ammunition    re covered    from 846 Oglethorpe       Street ,

25 Northeast ?




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 1 A.       Yes .   I was un able to get DNA typi ng result s

 2 from the sample s that were re covered         from the base of

 3 all four of those magazine s.

 4 Q.       Were any DNA result s re covered        from those

 5 magazine s?

 6 A.       No .

 7 Q.       Again , did you find that un usual ?

 8 A.       No , I did not .

 9 Q.       Oglethorpe    13 B, which for your purpose s is Item

10 6, and for the record , Oglethorpe         13 B is a Ruger 97 DC

11 handgun , Serial 6633 7394 , re covered       from 846 Og lethorpe

12 Street , Washington , D. C.

13 A.       Swab s were obtain ed from      the ridge d area s on the

14 grip and the slide of this weapon .           I was un able to

15 obtain   any DNA typi ng result s from either        of those

16 areas on this weapon .

17 Q.       Again , was that un usual ?

18 A.       No , it was not .

19 Q.       Oglethorpe    9B, for which -- for your purpose s is

20 Item 7, and just to be clear for the record , that 's a

21 Davis Industri es , P-38 0 handgun , Serial No. AP17 17 72 ,

22 re covered    from 846 Oglethorpe     Street , Northeast .

23          What were the result s of your analysis           on that ?

24 A.       Swab s were obtain ed from      the ridge d area s on the

25 grip and the slide of this weapon , and again , I was




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 1 un able to obtain      any DNA typi ng result s on either        of

 2 those area s from this weapon .

 3 Q.        Again , not un usual ?

 4 A.        No, it 's not .

 5 Q.        Oglethorpe    9A, which for your purpose s is Item

 6 8.     That is a Davis Industri es DM . 22 handgun , Serial

 7 No. 16 46492 , re cover ed from      846 Oglethorpe    Street,

 8 Northeast .

 9 A.        Yes .   The only ridge d area on this weapon          was

10 the hammer .      A swab was obtain ed from this portion          of

11 the hammer , and I was un able to obtain         any DNA typi ng

12 result s from that sample .

13 Q.        And again , in your experience , is that un usual ?

14 A.        No , it is not .

15 Q.        Next , I'd like to show you what 's been mark ed as

16 Bynum 1 and Bynum 1A.        For your purpose s, they're         Item

17 13 .

18           MS . GREENBERG:    Your Honor , may I approach ?

19           THE COURT:     You may .

20           BY MS. GREENBERG:

21 Q.        Show ing you what 's been mark ed as Bynum 1 and

22 also 1 on your exhibit .        How about that ?      For the

23 record , a Glock . 26 handgun , Serial No. CAG959 ,

24 re covered    from 1513 Ray Road , Apartment       102 , in

25 Hyattsville , Maryland .




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 1            Did you test that particular         item --

 2 A.         Yes .

 3 Q.         -- for DNA analysis ?

 4 A.         Yes .   Sample s were re covered     from four different

 5 areas on this weapon .

 6 Q.         What area s were they ?

 7 A.         They were the grip , the slide , the front of the

 8 trigger , and the trigger        guard .     And a DNA typi ng

 9 result s were obtain ed from all four of those areas .

10 There were partial       DNA pro file s obtain ed from the

11 trigger     and -- trigger     guard and the front of the

12 trigger     guard .

13            There were -- there was a complex         mixture     DNA

14 pro file comprise d of at least           three people    obtain ed on

15 the grip , and a mixture        pro file of at least       two people

16 obtain ed from the slide .         On all four of the sample s,

17 all eight individuals        from which I had received         known

18 sample s from in connection         with this in vestigation         were

19 excluded      as being contributor s into these DNA mixture

20 pro file s.

21 Q.         So you didn't    have one of those chart s that you

22 typed and match ed any of the known sample s; is that

23 correct ?

24 A.         That 's correct .

25 Q.         Is that result      atypical    with respect    to this




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1 item where there would be a mixture               of DNA sample s but

2 you're     not able to compare       it to any ?

3 A.         We make the comparison        but not include      anyone

4 exact ly , so that 's not uncommon .

5 Q.         And Bynum 1A, which for purpose s of your report

6 is Item 3.         For the record , that 's a Glock magazine

7 with ammunition        re covered   from 1513 Ray Road , No. 102 ,

8 Hyattsville , Maryland .          Did you test that exhibit ?

9 A.         Yes .    I examine d the swab that was obtain ed from

10 the base of the magazine .          I was un able to obtain      any

11 typi ng result s on that sample .

12 Q.        What does that mean again ?

13 A.        It mean s that there 's -- essentially , there 's no

14 more information       than when we start ed out .         We can't

15 obtain    any result s for comparison         purpose s.

16 Q.        Could you de scribe , just so we're clear on it ,

17 what do you mean by exclude          someone ?     Could n't exclude

18 someone ?

19 A.        If we can not exclude      someone , that mean s that

20 their DNA could be present          in that sample .       It 's more

21 of a way that the phrasi ng is current ly in forensic

22 biology     laboratori es .     We use -- it 's a term of art , if

23 you will .     It cannot      be excluded    or can be excluded .

24 So if someone       cannot    be excluded,    for example , on the

25 -- as we did on the -- found on the base of the




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 1 magazine      from Ninth Street , then a statistical           number

 2 can be applied      to tell you if that 's a common          find ing

 3 or a rare find ing where you have that match of the DNA

 4 pro file s.

 5            If someone      cannot    be excluded    from a mixture , it

 6 certain ly is possible         to provide    a statistical     number ,

 7 but as I mention ed if we have a clean DNA pro file , we

 8 do not go forward       and do that .       If someone    is excluded ,

 9 that mean s that we can say that there is no indication

10 bi ologically     that their DNA is present           on that item .

11 Q.         Does that mean they never touch ed that item ?

12 A.         No , it does n't .       It mean s that we can't detect

13 their DNA.

14            MS. GREENBERG:       No further    question s, Your

15 Honor .

16            THE COURT:       All right .    Cross-examination       ?

17                             CROSS-EXAMINATION

18            BY MR. WARD:

19 Q.         Good morn ing .

20 A.         Good morn ing .

21 Q.         My name is Peter Ward .         I guess you gathered

22 from my objections         that I represent        Lavon Dobie .

23 A.         Yes , I did .

24 Q.         Let me see if I understand .            From Ninth Street ,

25 we have four item s.         Your Item 12 , which was a No . 16A ,




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 1 which was the magazine       that you say you got a DNA

 2 sample   from the bottom     of the magazine ; is that right ?

 3 A.       Yes , that 's correct .

 4 Q.       All right .     The next item was your Item 13 ,

 5 which for purpose s of this trial is Dobie Exhibit 17 A.

 6 You got a sample       from the base or bottom      of the

 7 magazine ; is that correct ?

 8 A.       Yes , but I was un able to obtain        any DNA result s.

 9 Q.       That 's what I was going to ask you          next .

10          So , you're    not able to present      this jury with

11 any evidence      that she actual ly held that magazine         at

12 any time ?

13 A.       That 's correct .

14 Q.       The next item was Item 14 , also referred             to as

15 Dobie Exhibit 16       for the benefit    of this trial .      This

16 was a .40 Caliber       firearm , and I understand      you got

17 some -- something       from the ridge d area of the grip .

18 A.       Yes , that 's correct .

19 Q.       You concluded     that that was a mixture        of the DNA

20 of at least      three people ?

21 A.       Yes .

22 Q.       Okay .    And again , you cannot     tell this jury that

23 one of the people       was my client , Lavon Dobie .

24 A.       Ms. Dobie cannot      be excluded    as a contributor         of

25 DNA into that mixture , so I would dis agree .




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 1 Q.        That 's the best you can do ?

 2 A.        Yes , that 's correct .

 3 Q.        That she can't be excluded ?

 4 A.        That 's correct .

 5 Q.        You can't say that she did pick that item up ?

 6 A.        That 's correct .

 7 Q.        You can't say -- let me ask you this :           Can you

 8 say beyond a reasonable doubt          that my client    pick ed up

 9 the .40 caliber       firearm ?

10 A.        I can't answer      that as a yes or no question

11 without   providi ng a full explanation .         So if you'd like

12 me to ex pound , I can .      I'll leav e it up to you .

13 Q.        I think you already       answered   the question .

14           MS. GREENBERG:       Objection .

15           THE COURT:     Sustained .

16           She can ex plain her answer        if she want s to .

17           MR. WARD:     If she want s to .

18           BY MR. WARD:

19 Q.        Let me ask you this :        On the same .40 caliber

20 firearm   you also found some mixture          of DNA on the

21 trigger ; is that right ?

22 A.        On that firearm , I was un able to obtain         a DNA

23 pro file from the trigger .

24 Q.        Okay .   Did you find the mixture       on the trigger ?

25 A.        No , I was un able to obtain       a DNA pro file from




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 1 the trigger , so I did not --

 2 Q.         Can you say beyond a reasonable doubt           that Lavon

 3 Dobie never touch ed that trigger ?

 4            MS. GREENBERG:      Objection .

 5            THE COURT:     Over ruled .

 6            THE WITNESS:      I cannot    say anything    about the

 7 trigger .     I don't have     any information .      There is no

 8 DNA pro file , so there is no information            about anyone

 9 touch ing the trigger .

10            BY MR. WARD:

11 Q.         Let me try to put thing s in your terms.           You

12 didn't     pick up any DNA off the trigger ?

13 A.         That 's correct .

14 Q.         That 's correct .    Now , the judge said that you

15 could explain     your answer     with respect      to the grip and

16 the mixture     of three people     that you found where you

17 said that Lavon Dobie could not be excluded .

18 A.         That 's correct .

19 Q.         For the benefit , could you try to keep it

20 simple ?

21 A.         The question    you asked me was whether        or not      I

22 could say she had ever touch ed that weapon              or handle d

23 that weapon .     The fact that she can't be excluded             as

24 one of the contributor s into that mixture              does n't -- I

25 can't say , then , that she didn't         handle    the weapon




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 1 because    there 's an indication         that her DNA is present ,

 2 but there are other thing s that can go on .

 3           There can be a transfer          of DNA without    handli ng

 4 the weapon , for exam ple, or when you have            a complex

 5 mixture    there -- it is help ful to apply a statistical

 6 number    because    it tell s you what that actual ly mean s.

 7 However , as I said , I did not do that .            I could

 8 certain ly go back to the laboratory            and use our

 9 statistical    analysis    program    and develop     a statistical

10 number    based on a comparison       of scenario s.

11 In other words , her being in the mixture             versus   her not

12 being in the mixture .

13 Q.        Which bring s me to a question          I was going to ask

14 you down the road , but let me ask you it now , since you

15 talked    about transfer ence.       I'll give you a

16 hypothetical       situation .   Okay ?     A husband , let 's say ,

17 is caress ing his wife 's body , okay ?

18 A.        Okay .

19 Q.        Then sometime      after that , without     wash ing his

20 hands , he pick s up a handgun , okay ?

21 A.        Okay .

22 Q.        Is it beyond     the realm of possibility         that he

23 might transfer       some of her DNA, which he got on his

24 hands from caress ing her , onto the handle            of that gun ?

25 A.        No , it is not .




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 1 Q.        So it could very well happen ?

 2 A.        Yes , it could .

 3 Q.        Let 's assume   for the purpose       of a hypothetical

 4 that a son , a 17 -year -old son held his mother 's hand

 5 for some reason , show ing affect ion, perhaps , and that

 6 the 17 -year -old son then , without       washing    his hands ,

 7 touch ed a weapon     or a magazine    or something     like that .

 8           Isn't it quite like ly also in that circumstance

 9 or that situation      that he might transfer        some of his

10 mother 's DNA to whatever       he touch ed ?

11 A.        Yes , that can happen .

12 Q.        I believe   the next item was Dobie Exhibit 17 ,

13 and I am not sure what the exhibit          number    was .   Perhaps

14 Ms. Green berg can help you .

15           MS. GREENBERG:       What are you look ing for ,

16 Counsel ?

17           MR. WARD:    Dobie 17 .

18           MS. GREENBERG:       Item 15 .

19           MR. WARD:    Huh ?

20           MS. GREENBERG:       Item 15 .

21           BY MR. WARD:

22 Q.        I think the last thing you were shown was a

23 handgun     and you said you got a mixture        off the grip ,

24 two people .

25 A.        This is from Ninth Street .        The last item I was




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1 shown from Ninth Street -- yes , it was           a Taurus

2 Millennium .

3 Q.         Do you have it in your possession ?

4            MS. GREENBERG:      It 's Item 15 , Counsel .

5            MR. WARD:     Item 15 and Exhibit 17 .

6            MS. GREENBERG:      Dobie 17 , yes .

7            BY MR. WARD:

8 Q.         All right .    Again , with respect     to that grip ,

9 you found a mixture       of two people 's DNA, and you said

10 that the -- Ms. Dobie could not be excluded ; is that

11 correct ?

12 A.        That 's correct .

13 Q.        All right .    On the ridge s, you found only a

14 partial     DNA pro file , the amount    was very small .     And

15 while it was consistent       with two people , you could

16 reach no scientific      conclusion     as to the source     of the

17 DNA; is that correct ?

18 A.        From the slide , yes .

19 Q.        From the slide .     That is compari ng it to the

20 known sample      of Lavon Dobie ?

21 A.        Yes .   The findings   were in conclusive     as to

22 whether     or not she could be included       in that mixture .

23 Q.        Let 's go back to the first item you talk ed about

24 where you testifi ed that you reach ed a positive            result ,

25 and that is the Item 12 , the bottom          of that magazine .




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 1 Is that right ?

 2 A.         Yes .

 3 Q.         Now , we've already     agreed that someone 's DNA

 4 could be -- have been transferred             to the base of that

 5 item by transfer ence .

 6            MS. GREENBERG:       Objection .

 7            Mis stati ng what the witness       said , Your Honor .

 8            THE COURT:       Is that consistent       with what --

 9            MS. GREENBERG:       I object    to the question .       I

10 think he 's mis stati ng the evidence .

11            THE COURT:       Well , can you re phrase     it so you

12 don't --

13            MR. WARD:    I will re phrase      it .    I don't want to

14 upset Ms. Green berg .

15            THE COURT:       All right .

16            BY MR. WARD:

17 Q.         You've   already    said that the DNA of one person

18 can be transferred        by another      person   to an item .

19 Agreed ?

20 A.         Agreed , yes .

21 Q.         It is quite conceivable , then , from a scientific

22 point of view , from your point of view , that the DNA of

23 Ms. Dobie could have been transferred                by another   person

24 using the hypothetical s I gave you , a husband              or a son

25 to the base of that magazine .




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1 A.        It 's possible    but much more un like ly to not see

2 a mixture    in that situation .       So if you have -- what

3 you're   talk ing about is call ed a secondary          transfer.

4 So you have a primary        person   who get s another    person 's

5 DNA on them and then transfer s it , that 's call ed a

6 secondary    transfer .     It 's really    un usual to not see

7 that primary     person    -- it 's possible , but it 's much

8 more un like ly .

9 Q.        But it 's certain ly possible ?

10 A.       It certain ly is possible .

11 Q.       I would assume , for example , if I had someone

12 else 's DNA on my hand and I press ed it hard on a

13 surface , that would certain ly transfer         some of my DNA,

14 too , in addition    to the DNA of the other person ; is

15 that right ?

16 A.       Again , some thing s come into play here that we

17 talk ed about with the heavy shed der s and weak shed der s

18 and hand wash ing and all of that , but for the most

19 part , you tend to see a mixture          when you have a

20 secondary   transfer .

21 Q.       If I were a weak shed der and I touch ed the heavy

22 shed der 's head like this , and then light ly touch ed

23 something   over here , it 's quite conceivable         that I

24 would put Mr. Montemarano 's DNA on this item because

25 he 's a heavy shed der and since I'm a light shed der and




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 1 only touch ed it light ly , not put my DNA on there .            It 's

 2 not possible ?

 3 A.        It 's not im possible .

 4           MR. WARD:    Okay .     Give me a second , please .

 5                    Thank you, ma'am .      I don't think   I have

 6 any other question s, but I'm sure Mr. Montemarano              does .

 7                           CROSS-EXAMINATION

 8           BY MR. MONTEMARANO :

 9 Q.        Good morn ing , Ms. Tontarski .       How are you ?

10 A.        Good morn ing .       How are you ?

11 Q.        Let me see if I get this straight .          You spent

12 about 22 , 23 year s in the business ; correct ?

13 A.        Yes .

14 Q.        Second    half of the time , you've     been down here

15 in Maryland       and Virginia ; correct ?

16 A.        Yes .

17 Q.        The first half of the time you were up in

18 Massachusetts       work ing for the state police      lab ?

19 A.        That 's correct .

20 Q.        Massachusetts     is where you went to college ;

21 right ?

22 A.        Yes .

23 Q.        Mount Holy Oak , which is       in Holy Oak ,

24 Massachusetts ; right ?

25 A.        It 's actual ly in South Had ley.       It's next     door




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 1 to Holy Oak .

 2 Q.         I went to U-Mass,      so I kind of know the area a

 3 little .     Good school ; right ?

 4 A.         Very good school .

 5 Q.         And as a scientist , you would agree that science

 6 is about precision       and accuracy ?

 7 A.         Yes .

 8 Q.         Science   is about taking     evidence   and from the

 9 evidence     formulati ng a hyp othesis ; correct ?

10 A.         Yes .

11 Q.         It 's not taking     hypothesis   and try ing to     fit the

12 evidence     into ; correct ?

13 A.         That 's correct .

14 Q.         Take a look at the board over there .          Ms.

15 Green berg wrote that while you were testify ing .              Does

16 that accurate ly represent        what you told us ?

17 A.         It 's a shortcut     based on how she read it back

18 and my sum mar ization     of that .     I mean , it does n't speak

19 for itself .       If someone   were just to look at that , if

20 that 's what you're      asking   me .

21 Q.         Well , but is it accurate ?       Are the number s right

22 and all that ?

23 A.         Yes , they are .

24 Q.         Does that make it a little        more accurate , ma'am ?

25 A.         Yes .   When I was testify ing , I talk ed about the




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 1 probability     of select ing an un related        individual .

 2 Q.         That 's because    people    who are related    tend to

 3 have similar     genetic     pro file s; is that fair statement ?

 4 A.         They have shari ng of DNA because          they share the

 5 same parent s, but they have different             DNA pro file s

 6 unless   they are identical         twin s.

 7 Q.         Different   DNA pro file s, but their DNA pro file s

 8 would tend to be more similar            based upon the blood

 9 relation ; correct ?

10 A.         They would have a shari ng of what are call ed

11 alleles,    or these character istic s the number s that are

12 typically     represent ed in the pro file s.

13 Q.         Take your time .

14 A.         So for example , in my family , there are seven

15 children    and I have , sad ly for my sibling s, look ed at

16 all of us and we have some shari ng of character istic s.

17 For example , we talk ed about that 16 , 17 result            at D3

18 that Ms. Dobie has .         We may have      more of those area s

19 where we have the same DNA pro file , the 16 , 17 , for

20 example , between      sibling s.      And we will always    have

21 some shari ng of information           -- almost   always , I should

22 say , shari ng of information          for all of the other area s,

23 but the DNA pro file s, of course , are different .

24 Q.         And that shari ng of information         is based upon

25 the fact that a child -- natural              child , not adopt ed or




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 1 anything     like that , has genetic      material    which was

 2 contributed        by that person 's blood parent ; correct ?

 3 A.         That 's correct .

 4 Q.         I'm using the scientific       term for parent , not

 5 adopt ed , foster      or whatever .    That person    or individual

 6 or animal     that contributed     along with the hetero sexual

 7 union with another        animal , person   of the opposite       sex

 8 to create     an offspring ; is that a correct         statement ?

 9 A.         Yes .

10 Q.         So that 's why my genetic      pro file , for sake of

11 discussion , would probably        bear a great er re semblance

12 to my son's than it would to my wife 's ; correct ?

13 A.         Yes .

14 Q.         In fact , it 's un like ly to bear any re semblance

15 to my wife 's , assuming       we're not related ; right ?

16 A.         That 's correct .    I mean , there would -- you

17 would still share character istic s because            it 's a small

18 world , if you will .

19 Q.         It 's a small world .

20 A.         You're    going to -- it would be un like ly --

21 actual ly statistically        un like ly for you not to share at

22 least one of those character istic s or alleles            at one of

23 those 15 short tandem        repeat    areas of DNA.

24 Q.         It would be statistically        like ly for me to share

25 common   traits      -- base trait s upon the analysis      you do




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 1 with my offspring ; correct ?

 2 A.         Yes , your offspring   would have half of your

 3 trait s in these area s that we look at .

 4 Q.         Would it be also fair to say that speak ing in

 5 term s of human population s, or group s, that we can see

 6 this in the big picture , for example , Scandinavians

 7 tend to be blond ; correct ?       It 's the same kind of

 8 thing ; isn't it ?

 9 A.         Yes .   In term s of the gene s that are inherited .

10 Q.         So look ing at your 1.1 quintillion        number , that

11 number    is going to have to come down based upon

12 relation , blood relation , offspring , sibling , et

13 cetera ; correct ?

14 A.         Yes , there 's actual ly a statistical      algorithm

15 that can be use d to account       for relat ions when it 's

16 necessary .

17 Q.         And for the sake of discussion , if all of the

18 known sample s present ed to you -- you said there were

19 eight ?

20 A.         Yes .

21 Q.         If the eight known sample s present ed to you were

22 all African-American s, check ing the DNA against            or in

23 term s of the statistical       likelihood , there would be no

24 chance    whatsoever    they would resemble     those of an

25 analysis     from a population    or a group of Norwegians,




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 1 for the sake of discussion ; correct ?

 2 A.         You're    talk ing about physical    character istic s as

 3 opposed     to this nonsensical     DNA, if you will .       The

 4 analysis     on a DNA sample , with what we do , tell s us

 5 nothing     about the    race or the appearance      of an

 6 individual , so I talk ed about the fact that we look at

 7 four population        categori es when we're perform ing our

 8 statistic s and they give us a high end and low end of ,

 9 you know , what the relevance        is of this match , if you

10 will .

11            Really , that 's all that it does .       It kind of

12 give s us a spread       for these number s.     It does n't tell

13 us , for example , that if I -- if the lowest           number     is

14 from someone        who is Caucasian -American    that the sample

15 originate s from someone        who is Caucasian .     It does n't

16 tell us that at all .        As a matter of fact     , there is no

17 correlation     in that manner .

18            So , I don't know    exact ly what you're    look ing

19 for , but the statistical        numb er has nothing    to do with

20 race .    It 's a number    that tell s us whether     or not this

21 is a common     event or a rare event .        Again , intend ed to

22 be an estimate , but does not bear on actual            race or

23 appearance     -- physical     appearance   of an individual .

24 Q.         You check ed eight known s; correct ?       Not 38 ;

25 correct ?




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 1 A.       That 's correct .

 2 Q.       And the known s were submitted          to you by the

 3 government ; is that correct ?

 4 A.       Yes .

 5 Q.       And the item s against      which you check ed those

 6 eight known s were submitted       to you by the government ;

 7 correct ?

 8 A.       That 's correct .

 9 Q.       You work for the government ; right ?

10 A.       Yes .

11          MR. MONTEMARANO :      Thank you , Your Honor .

12          Thank you , ma'am .

13          THE WITNESS:      Thank you .

14          THE COURT:     You may inquire .

15                         CROSS-EXAMINATION

16          BY MR. MARTIN:

17 Q.       Good morn ing , ma'am .     I forgot     your name .    Was

18 it Tontarski ?

19 A.       Tontarski , yes .     Good morn ing .

20 Q.       Good day to you , ma'am .       I have a few question s,

21 and if I can wake up my computer          now that I've been

22 awake ned .

23          Ma'am , you were also asked some question s about

24 some item s taken from Oglethorpe .         I think you were

25 shown some weapon s that were in a box , some magazine s




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1 perhaps .      I don't really      remember .    Do you remember

2 that when Ms. Green berg came --

3 A.          Yes .

4 Q.          -- and she show ed you and you said you weren't

5 able to get any statistically           significant     or make any

6 conclusion s regard ing that ?

7 A.          Exact ly .     I was un able to obtain    any DNA pro file

8 from the three gun s and the four magazine s from

9 Oglethorpe .

10 Q.         Right .      You were also asked some question s by

11 Ms. Greenberg        regard ing factor s that might affect       the

12 result s of your testing .         Do you remember     that ?

13 A.         Yes .

14 Q.         And she also asked you some question s regard ing

15 the number     of item s that were submitted        and how long it

16 might take you to look at 300 -plus piece s of evidence .

17 Remember     that , ma'am ?

18 A.         I do .

19 Q.         Now , let me ask you this :         How long would it

20 have taken you to re view two more item s if it was a ski

21 mask and body arm or ?

22 A.         Body arm or ?

23 Q.         Yeah , a bulletproof     vest .

24 A.         The ski mask would typically          have at least    two

25 DNA sample s taken from it .         Body arm or , I actual ly have




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 1 not examine d before , but I would imagine it           would take

 2 at least     two sample s, possibly      three .   But in the

 3 scheme     of thing s, from the size of this case , it would

 4 not add on that much more time , if that 's what you're

 5 asking .

 6            The physical    examination    from the beginning        of

 7 each one of those item s would probably            take about an

 8 hour .     The body arm or may take a little        bit long er

 9 because     it 's a good deal larger      item , and then taking

10 five more DNA sample s through        would ex tend the process

11 by having     them substitute d in for other case s that

12 would not get examine d because          those item s were being

13 examine d.

14 Q.         So the answer    is it would n't take much long er ?

15 A.         It would probably    -- well , it 's -- I mean , it 's

16 hard to say because        it affect s the productivity        of

17 other case s, in other words .        But if you want to look

18 at strict     number s, it would take probably        on the

19 front -end process ing about two additional           hour s and --

20 because     they would have been from the same case , they

21 would have been wrap ped into this same examination

22 process , if you will , the same extraction           DNA typi ng

23 process .

24            So , as I said , it would have move d other sample s

25 out , so it would n't have add ed anymore          time on the DNA




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 1 end .    It would add a slight ly much -- slight ly larger

 2 amount    of time on the technical          re view process , but

 3 five more pro file s may not -- would n't provide           that

 4 much extra time .

 5 Q.         Okay .     And get ting back to these factor s that

 6 affect    the result s.         You would agree with me that if a

 7 ski mask and a body arm or that 's covered            in cloth was

 8 kept in a cool , dry place , that the likelihood            of you

 9 get ting a sample           from a shed der would be great er than

10 if it was left out , let 's say , in the sunlight           ex pose d

11 to the element s, the rain , and so forth ; correct ?

12 A.         Yes .

13 Q.         And with respect        to those other item s that you

14 look ed at , aside from the ski mask and the bod y arm or ,

15 you also had some toolbox es in your lab .             Do you

16 remember     that ?

17            Did you ever see the tool box es ?

18 A.         No .

19 Q.         If you didn 't see the toolboxes        , there 's no need

20 to remember        that .     Again , like the ski mask and the

21 body arm or where you might snip piece s of cloth for

22 sample s, assuming           you did have the tool bo xes there , the

23 four toolbox es , how difficult           would it be to take DNA

24 sample s from that ?

25 A.         I guess it depends         on what we're talk ing about .




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 1 Are we talking       about having     numerous      tool s within     the

 2 toolbox es ?

 3 Q.         No, ma'am .     We're just talk ing about the

 4 exterior    of the    toolbox es .    Remember      when earl ier you

 5 were talk ing about the        transference      and try ing to

 6 determine      whether    or not a particular          individual   had

 7 touch ed a toolbox ?        Let 's assume    those toolbox es were

 8 in a cool , dry place , like a           base ment .     Let 's assume

 9 that that base ment was n't wet , that it was n't flood ed .

10 How much    long er would it have taken you to              examine ,

11 let 's say , one of those toolbox es to determine               whether

12 or not there was DNA on it ?             Just one .

13 A.         Well , again , we're talk ing about the           front -end

14 process ing .     It would depend        -- it would probably         be at

15 least an hour , but sometimes            item s like that become          a

16 lot more complex         to examine   because    there is a lot more

17 do to them .      It take s a lot more to document            the

18 process ing .

19            At this point , we're now start ing to get into

20 sample s where we would not be able to bump other

21 sample s from a run , from another           case , so we would

22 probably    be start ing to     move into another          month , if you

23 will , another     four -week time period        that would be add ed

24 onto the DNA testing         process .

25 Q.         To test one additional         toolbox      to determine     if




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 1 someone    had touch ed it ?

 2 A.         Yes , because   in order    for us to be time and cost

 3 effective , we have to run sample s through              in batch es .

 4 If we were to stop everything           we were do ing and run one

 5 item and one sample th       ro ugh the DNA typi ng process , we

 6 would never get any case s out the door , including               this

 7 one .

 8 Q.         Suppose   your lead time was about a year and you

 9 were able to decide        when you want ed to do it .        Would it

10 still result       in the same kind of delay that you just

11 suggest ed to the jury ?

12 A.         Yes , because   we have to factor      it in with all of

13 the other case s that have court date s that are moving

14 forward    through    the criminal     justice   system .

15 Q.         We've got a ski mask , we've got one bull et proof

16 vest .    You're going to take swatch es of cloth from

17 each , and we've got one toolbox , and the total time now

18 to test that is four week s you're          say ing ?

19 A.         Yes .   Any case take s approximately         four week s,

20 and that would be about a standard           size case that we

21 would take through .        I'm anticipati ng , as I said , we'd

22 probably     have at least     two sample s from     the ski mask ,

23 probably     three sample s from      the vest , and maybe just

24 one sample     from the toolbox       but probably      two , possibly

25 three , but let 's just count it as one .            That would be




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 1 six additional        sample s.     They would get batch ed in with

 2 other case s to reach that approximately            30 sample s that

 3 are taken through        for an examiner     per month .   So they'd

 4 be part of that typi ng run .

 5 Q.         You already     had 18 sample s, right , to test ;

 6 didn't   you ?

 7 A.         In this case ?

 8 Q.         Yeah .

 9 A.         No , we had 38 sample s.

10 Q.         Thirty-eight ?

11 A.         Yes .    That 's more than a month 's worth of work

12 for a single        individual .

13 Q.         So 38 took you a month , and you're        say ing four

14 other item s would have taken you an additional             four

15 week s -- another       month ?

16 A.         Thirty-eight     goes into a two -month time period ,

17 so if you -- if we didn't            -- if we put those additional

18 six or seven sample s into the run , then yes , we'd still

19 be within      two month s, But other case s would not be

20 process ed .       So if you're     talk ing about get ting a

21 supplemental        submission     in after we've complete d the

22 analysis     on this case , then it would go into another

23 four -week time block because           it would go into ro tation

24 of standard        analysis .

25 Q.         But the bottom        line is you had another   lead time




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 1 to have that accomplish ed before          your testimony     here

 2 today ; is that correct ?       Assuming    that you had the

 3 other toolbox , ski mask , and body arm or add ed to this ,

 4 you would have had enough        time to testify     to that

 5 today ; correct ?

 6 A.       Yes , if we had had a request         for analysis    in a

 7 timely   manner   and there were not other case s that were

 8 requiring   analysis .     S o in some instance s, we have to

 9 essentially    bump case s from being analyze d if we do not

10 have enough    time to get to everything .

11 Q.       All thing s being equal , all thing s being

12 constant , the same condition s that you face between                the

13 time that sample s were submitted          to you and your

14 testimony   here today , if those three other item s were

15 add ed , you had enough      time to come in today and testify

16 and test those and testify        as to the result s; correct ?

17 A.       Yes , I would hope that we would have been able

18 to do that .

19          MR. MARTIN:       Thank you , ma'am .

20          MR. HALL:     I just have a couple       of question s,

21 Your Honor .

22                           CROSS-EXAMINATION

23          BY MR . HALL :

24 Q.       Ms. Tontarski , you prepared         a report ; is that

25 correct ?




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 1 A.       Yes , I did .

 2 Q.       I believe    it 's a ten -page report     date d September

 3 8, 2005 ?

 4 A.       Yes , it is .

 5 Q.       Okay .    On the front of that report        is a list of

 6 eight individuals      whose DNA was submitted       in this case ;

 7 is that correct ?

 8 A.       That 's correct .

 9 Q.       Okay .    The name Reece Whiting      is not listed     as

10 an individual     whose DNA was submitted ; is that correct ?

11 A.       That 's correct .

12          MR. HALL:       Thank you .   That 's all , Your Honor .

13                           CROSS-EXAMINATION

14          BY MR. MITCHELL:

15 Q.       Good morn ing .     Ms. Tontarski , my name is Tim othy

16 Mitchell .    I have a few question s.

17          I need to look at Bynum 1 and 1A.

18          If I may approach      the witness , Your Honor .

19          THE COURT:       You may .

20          BY MR. MITCHELL:

21 Q.       This exhibit      Bynum 1A.    It is your Item 1;

22 correct ?

23 A.       Okay .

24 Q.       And you examine d this -- is it a Glock ?

25 A.       Yes .    I'm not very good with weapon s.




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 1 Q.        And you examine d what portion s of this aga in ?

 2 A.        Sample s were taken from the grip , the slide , the

 3 trigger   guard , and the front of the        trigger .

 4 Q.        You were able to obtain        sample s from    each of

 5 those location s, from one , or did you get sample s from

 6 all ?

 7 A.        There were DNA pro file s that were developed             from

 8 all of those .       There are two     partial s that were

 9 obtain ed , two partial     DNA pro file s were obtain ed from

10 the front of the       trigger    and the trigger     guard .    There

11 were mixture       DNA pro file s from all of them , but the

12 grip and the slide had full DNA pro file s.

13 Q.        And these pro file s that you developed , you're

14 pro filing   someone    that would perhaps        match that DNA

15 profile   there ; correct ?       The pro file would represent

16 somebody ; correct ?

17 A.        Yes .    On a full DNA pro file , you expect          that if

18 you do what's       call ed a direct    comparison    to a person

19 whose DNA is there , that you will be able to say that

20 they cannot       be excluded .

21 Q.        And you also received        a sample    from Mr. Derrick

22 Bynum ; correct ?

23 A.        Yes .

24 Q.        You did that similar       pro file ?

25 A.        Yes .




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 1 Q.        And you compare d the two pro file s of each of

 2 those sample s; is that correct ?

 3 A.        That 's correct .

 4 Q.        And your conclusion        with Mr. Bynum 's sample       to

 5 these four sample s from the gun was what ?

 6 A.        That he is excluded        as a contributor    into any of

 7 those mixture       pro file s.

 8 Q.        Now , you gave a -- up here , result ed in a

 9 calculation     of probability .       Can you do opposite , a

10 calculation     as an exclusion , or do you do that type of

11 calculation ?

12 A.        When you have an exclusion , there is no need to

13 do a statistical       number     because   you have definitively

14 said that this person 's DNA is not represent ed in this

15 sample , so that is really          concrete   and the most

16 conclusive    thing you can say essentially .

17 Q.        You can say without        any doubt that Mr. Bynum 's

18 sample    does not match any DNA found on this gun ?

19 A.        That 's correct .

20 Q.        Without    going through     the same question s, I'm

21 going to ask you for the similar             answer s to Bynum 1A.

22 This was a magazine        and some ammunition .       So the same

23 answer s to this as well ; correct ?           Or actual ly , I'm

24 sorry .    I'm going to correct        myself .   You did not find

25 any DNA on this ; correct ?




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 1 A.        That 's correct .     I was un able to obtain     DNA

 2 pro file from that item .

 3 Q.        So you can't make any conclusion s one way or the

 4 other ?

 5 A.        That 's correct .

 6 Q.        All right .     Ms. Tontarski , with the sample s, the

 7 eight sample s you 've received , you tested         each of the

 8 item s.   I believe      there were 15 item s that you received

 9 to test for DNA?

10 A.        Yes .

11 Q.        And you compare d the DNA sample s from each of

12 the individuals     with each of the item s submitted         to

13 you ; correct ?

14 A.        That 's correct .

15 Q.        And you did that pursuant       to a request     by the

16 government ?

17 A.        Yes .

18 Q.        When they submitted      these thing s to you , did the

19 government     explain    to you who they thought      own ed what

20 or who they believe d had this in their possession              at

21 any time ?

22 A.        No , they did not .

23 Q.        So you just had blind sample s, you had all these

24 item s and you didn't       know what was related ; where they

25 came from ?




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1 A.         There was information        as to what location s they

2 were re covered       from , but it didn't      mean anything    to me .

3 For example , I don't know          who live s at Ninth Street ,

4 Northwest , for example .

5 Q.         I assume    you didn't     do any of your own

6 investigation        to find out who live d on Ray Road ?

7 A.         No , I don't .

8 Q.         So your whole examination        was simply   item s, DNA

9 sample s, see if they fit ?

10 A.        Yes .

11 Q.        Now , with regard       to Derrick   Bynum 's DNA sample,

12 without    going into all the 15 item s, unless         we need to

13 do that for your purpose s, but are you familiar               with

14 whether    or not    his DNA sample     match ed any of the     15

15 item s that were given to you for analysis ?

16 A.        Yes , I am .

17 Q.        I'm sorry ?

18 A.        Yes , I am .

19 Q.        You're    aware of ?

20 A.        Yes .

21 Q.        Did his DNA sample        match any of the 15 item s

22 that were submitted        to you for analysis ?

23 A.        The easy answer        is no , and I just want to

24 clarify    that there were some item s that I did not

25 obtain    the DNA pro file on , but for every DNA pro file




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 1 that I obtain ed , Mr. Bynum was excluded           as a

 2 contributor    or a source      of the DNA.

 3 Q.        I guess I should      have clarifi ed my own question

 4 of the thing s you found DNA, his DNA sample               did not

 5 match any of those item s.

 6 A.        That 's correct .

 7 Q.        Now , you were asked some question s and I want to

 8 follow    up on the timi ng issue .      You received       all these

 9 15 item s on June 1st , 2004 ; correct ?

10           Let me clarify .      On June 1st , 2004 , the

11 government    submitted      these 15 item s to the crime lab ?

12 A.        It 's essentially     that 's when we received       the

13 request    for analysis      for -- on those 15 item s, so it 's

14 a word smith ing sort of situation , but it 's a request

15 for analysis     that we receive d on that date .

16 Q.        Right .      And I assume   that you weren't      sitting    in

17 the crime lab wait ing for them         to hand it to you .          They

18 submit    it to the crime lab and it 's then taken through

19 the process    to eventually      get an alyzed ?

20 A.        Exact ly .

21 Q.        And your report      or conclusion s were September          8,

22 2005 ; is that correct ?

23 A.        That 's correct .

24 Q.        If I'm do ing my math correct ly , that 's about a

25 year and -- I'm sorry , about ten month s.            See , I can't




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 1 do my math right .

 2            So , about ten month s?

 3 A.         No .   It 's more than that .

 4 Q.         How long -- no , it took from June 1st , 2004 , to

 5 September     8, 2005 was a year --

 6            MR. HALL:      And four month s.

 7            MR . MITCHELL:      Thank you .

 8            BY MR. MITCHELL:

 9 Q.         It was about a year and four month s after these

10 item s were submitted       to the crime lab .

11 A.         That 's correct .     A year and three month s or four

12 month s.

13 Q.         So during   this period     of time , and you were

14 asked question s about other item s -- if item s were

15 add ed in addition      to the 15 item s, it would have taken

16 a little     bit long er ; correct ?

17 A.         Yes , it would have .

18 Q.         For example , you were asked about if a ski mask

19 was add ed to that list and you received           16 item s

20 instead     of 15 item s, it would have taken slight ly

21 lo ng er , but it would n't -- you still would n't be

22 work ing on it today ?

23 A.         I hope not .

24 Q.         For example , if a small -- a little        scale --

25 someone     had operate d a small scale and touch ed the




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 1 scale , is it possible      to receive    DNA evidence      to be

 2 analyze d if you grab a little        scale and work with it ?

 3 A.        Yes , it would be possible      to obtain    DNA from

 4 that item .

 5 Q.        If you add ed that one scale to these 15 item s

 6 you receive d, 16 item s, how much additional           time would

 7 it have taken for that to be analyzed           along with the 15

 8 identit ies all together ?

 9 A.        It would be the same sort of discussion            that we

10 had regard ing the ski cap , the body arm or , and the

11 toolbox es .

12 Q.        Not much additional     time ; correct ?

13 A.        Yes .   But if you keep add ing on item s, and as I

14 said we have X amount       of throughput     that we can do in

15 our laboratory , so it mean s that other case s are not

16 being work ed .    I real ize that 's not the be -all ,

17 end -all , but ultimate ly if we get up to 300 item s,

18 because   we keep add ing them and add ing them and add ing

19 them , it literal ly shut s our laboratory         down .

20 Q.        Is it also possible , if the government           submitted

21 many more item s to you and indicated          to you that trial

22 date and the importance       of these item s to be tested ,

23 would that affect      the time line and the work amount            that

24 you would put into analyzi ng these thing s?

25           Let me do it one at a time .        Is it possible        for




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 1 the government        to tell you this is really         important , we

 2 need to do it right away ?

 3 A.         Yes .    Everyone    tell s us that for every case .

 4 Q.         What if they said it was           more important      than the

 5 last guy ?

 6 A.         They say that , too .         I know what you're       drivi ng

 7 at , but your question          about trial date and actual ly

 8 that does affect        when we get to case s, and so that 's

 9 actual ly a factor        that 's very much into the 15 -month

10 time period        between    when we had a request      for analysis

11 in this case and when the report              was complete d, because

12 we had some extra time there because               there was a court

13 date that was much farther              out than we typically       see

14 for the Montgomery           County case s.

15            So this was fit in because           of the large number

16 of sample s over many month s to try to get the work done

17 to meet the court date , so that 's how we do it .                  We

18 work to meet the court date s, and when people                 say we

19 have , you know , 500 item s of evidence            that need to be

20 examine d, we work with them to determine               what is

21 possible     for us to do .

22            It 's always      possible    to do what's   call ed

23 outsourci ng and ask for a private             laboratory   to assist

24 in testing .        We have not had to do that to date because

25 it 's cost prohibit ive , but it could be done .




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 1 Q.        But if the government      told you it was vital ly

 2 important    to test all these thing s to be conclusive              of

 3 DNA on item s and it was more than you could ha ndle, you

 4 would send it out and make sure it got done because

 5 they have told you it       was important ?

 6 A.        We probably    woul d hav e actually    sent it out .          It

 7 would have been beyond       our capabiliti es .        We would do

 8 what we can and it would be someone           else 's

 9 responsibility     to find the fund ing .      I mean , you're

10 talk ing , at a minimum , of $500 per sample .            You're not

11 talk ing about item s of evidence        and it funds on the

12 private   laboratory .    That , of course , does not include

13 testify ing fee s at all .

14           So , whether   we like it or not , it 's a reality

15 and it has to be taken into account .            But , you know , if

16 you have 300 item s of evidence , which probably             would

17 translate    into somewhere     around   700 sample s to take

18 forward   for DNA test ing , that is a lot of work .           It 's

19 not like on TV whe re it take s two seconds             to do the

20 analysis .    There are a lot of quality         control

21 procedure s that have to be follow ed by any laboratory

22 that does the testing .

23           If the work is outsource d for the DNA process

24 and then we get the result s back at our laboratory                 to

25 re view , we have to do 100 percent        re view of every piece




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 1 of paper that come s back from that laboratory .                  So , in

 2 essence , that does n't really            save us time , so we'd have

 3 to have someone        complete ly outsource        the evidence .      A

 4 lot of private       laboratori es are not use d to handli ng

 5 the actual     item of evidence .

 6            They're     use d to handli ng only swab s, and so

 7 there are some other factor s that come into play , and

 8 it 's -- as I said , every item of evidence               is important

 9 to people     in every case , you know whether            you 're the

10 defendant     or whether        you're   the victim    or a family

11 member .     So everyone        -- that never goes away .        That 's

12 always     important     and it 's a balanci ng act , whether        you

13 like it or not .

14 Q.         But the     bottom    line is , it is possible       if they

15 gave you more item s that you could handle                and said it

16 was important .        It is possible        to have it done ?

17            MS. GREENBERG:         Objection .

18            Asked and answered .

19            THE COURT:      Sustained .

20            MR. MITCHELL:         No further     question s.

21            THE COURT:      Any further       cross ?   You've   already

22 had your bite at the apple .

23            MR. WARD:      No .    I wonder    if this is an

24 appropriate     time .

25            MS. GREENBERG:         Your Honor , I can be very brief .




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 1          THE COURT:        Wait a minute .     Is there any other

 2 cross-examination     ?

 3          MR. MCKNETT :       No , Your Honor .

 4          THE COURT:        Can you be one or two minute s brief ?

 5          MS. GREENBERG:        I will   be very brief .

 6                        REDIRECT    EXAMINATION

 7          BY MS. GREENBERG:

 8 Q.       Ms. Tontarski , the item s that were submitted                to

 9 you, Counsel      referred    to the date on that report .

10          Were they swab bed before        that date and put into

11 this pristine      environment    that you talk ed about ?

12 A.        Yes .    All of the item s were swab bed in August ,

13 2004 , on either     August    2nd or 3rd of 2004 .

14 Q.       Between    the date they were submitted          by the

15 agent s and the date they were swab bed , were they kept

16 in an environment         that is suitable    for maintain ing the

17 DNA?

18 A.       Yes , they were .

19 Q.       You mention ed in response          to -- starting     with

20 the end , with Mr. Bynum 's counsel , Mr. Mitchell , you

21 mention ed the 15 exhibit s and whether          or not   Mr.

22 Bynum 's DNA was present        on the exhibit s.     Do you recall

23 that question      he just talk ed to you about ?

24 A.       Yes .

25 Q.       Were all 15 shown to you today ?




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 1 A.        No , they were not .

 2 Q.        Some of them don't relate         to what we are    talk ing

 3 about here , they just weren't         shown to you ?

 4 A.        That 's correct .

 5 Q.        Can you tell the jury , and if you need to look

 6 at your report , how many of those 15 item s contain ed

 7 whether    it 's from the trigger      or magazine    or anything

 8 DNA suitable       for you to   compare   to something   else ?

 9 A.        I'll need to a quick minute .

10 Q.        Sure .    Take your tame .

11 A.        Seven of those item s contain ed DNA pro file s that

12 were suitable       for comparison , but on some of those

13 item s, there were multiple         DNA pro file s that were

14 obtain ed .   For example , my Item 1, which was from 1513

15 Ray Road , and I apologize , I think it was Exhibit 1 A,

16 but I don't remember .

17 Q.        That 's fine .    It --

18 A.        That had four different         DNA pro file s, so it 's --

19 Q.        Without     the 15 exhibit s submitted     to you , there

20 were only seven where you got enough            of a sample     to be

21 able to type it ?

22 A.        That 's correct .     But it does n't length en the

23 amount    of time .    You still have to go through       the

24 entire    process .

25 Q.        Now , also with respect      to your sample s that are




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 1 kept in this pristine       environment      that you could n't

 2 bring to court today , are you able to give that access

 3 so that a defense      counsel 's ex pert could have that

 4 analyze d?

 5 A.         Yes .

 6 Q.         Referring   your attention     to -- just to finish         up

 7 with those last set of question s about how important                  a

 8 case is and analyzi ng thing s.         What sorts of case s does

 9 your lab do ?

10 A.         My laboratory   primarily    analyze s evidence     from

11 homicide     case s, rape s and sexual    assault s, what are

12 call ed aggravate d assault s, which would be non fatal

13 beat ing , stab bing , that sort of thing .        We do do some

14 burglary     case s, although    for the most part , the major

15 -- what are call ed major crime s are keep ing us busy

16 get ting those case s ready for court and meet ing the

17 court date s.

18 Q.         Did you work on the sniper        case also ?

19 A.         Actual ly , the FBI did the majority       of the work

20 on that case .      We work ed on the serial      arson

21 investigation      that people    may have    heard of , so that

22 was one of the case s that we work ed on as a member              of

23 the task force team .

24 Q.         Did all those people     think their case s were

25 important , too ?




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 1          MR. MONTEMARANO :         Objection , Your Honor .

 2          THE COURT:      Over ruled .

 3          THE WITNESS:      Yes .

 4          BY MS. GREENBERG:

 5 Q.       Last ly , show ing you Miscellaneous         26 .

 6          Mr. Ward asked,     I think to some ex tent Mr.

 7 Montemarano      asked you a little      bit about transfer .

 8          Do you recall     those question s?

 9 A.       I do .

10 Q.       What are we look ing at here ?         This just relate s

11 to one known sample      and one DNA sample ; is that

12 correct ?

13 A.       Yes , it is .

14 Q.       That 's from the magazine        that was -- one of the

15 magazine s that was re covered         from Ninth Street ,

16 Northwest ; right ?

17 A.       Yes .

18 Q.       What type of comparison         is this in your

19 language ?

20 A.       That 's a direct    comparison     between    a known

21 sample   received    from an individual      to a clean or

22 non -mixture     DNA pro file obtain ed from an item of

23 evidence .

24 Q.       Given your back ground , train ing and experience ,

25 how like ly is it that you'd have a clean sample              in a




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 1 transfer -type situation ?

 2 A.         It 's actual ly -- it 's really       nice when we see it

 3 on firearm s and magazine s which are associate d with

 4 firearm s.      It is not .

 5 Q.         See what ?      I'm sorry , see what on firearm s?

 6 A.         When we see a clean pro file or a non -mixture

 7 pro file .     Typically    on firearm s and magazine s, we see

 8 mixture s, so this is more of a -- it 's not -- it 's the

 9 exception      as oppose d to the rule .        Typically    we see

10 mixture s of at least         two people     or more .

11 Q.         How like ly is that to transfer ?

12 A.         I don't understand       the question .

13 Q.         When you talked      about transfer , in other words ,

14 somebody      touch ing someone     and get ting it on an item ,

15 how like ly is this the result             of a transfer    from

16 someone      else ?

17            MR. MONTEMARANO :       Objection , basis for

18 knowledge .

19            THE COURT:       Over ruled .

20            THE WITNESS:       In term s of bein g a primary

21 transfer , which would be a single             person    transferring

22 their DNA, the probability           is extreme ly high .      In term s

23 of being secondary         transfer , without     see ing another

24 source    of DNA mix ed in with it , I would say the

25 probability      is extreme ly low .




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 1           BY MS. GREENBERG:

 2 Q.        When Mr. Ward was asking           you a husband    touch ing

 3 a wife or a son hold ing his mother 's hand , is that what

 4 you mean by secondary       transfer ?

 5 A.        Yes .   That male then touch ing the gun and

 6 transferring      the female 's DNA would be a secondary

 7 transfer .

 8 Q.        I'm referring    your attention , again , to these

 9 XX, XY.      Can you tell the jury what that is ?

10 A.        The amelogenin     find ing of an X, X tell s us that

11 we have DNA from a female        there .      If there was any

12 indication     of male DNA, there would also be a Y

13 indicated     in the typi ng result .

14 Q.        So how like ly is this that instead          of it being

15 the mother 's DNA, it is her son 's ?

16 A.        Oh , this ?

17           MR. WARD:     Objection , Your Honor .       That

18 certain ly is not the question          --

19           THE COURT:     Over ruled .

20           MR. WARD:     -- I put to this witness .

21           BY MS. GREENBERG:

22 Q.        You may answer .     How like ly is it , follow ing up

23 on Mr. Montemarano 's question , that it 's the              son 's DNA

24 rather    than the mother 's being that they're          related ?

25 A.        This could not possibly        be the son 's DNA.       Not




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 1 only because       there 's no indication        of a male factor

 2 there , but it would not be bi ologically                possible   for

 3 him to have the same DNA pro file as his mother                  anyway .

 4 It just would n't be possible .

 5 Q.         Be sides that fact , what does the XX tell you ?

 6 A.         The XX tell s us that the DNA is from a female .

 7 Q.         So it 's not possible       that could be the son 's ?

 8 A.         That 's correct .

 9            MS. GREENBERG:         Nothing    further , Your Honor .

10            MR. WARD:     I have one question , Your Honor .

11            THE COURT:     One ?

12            MR. WARD:     One .

13            THE COURT:     One .

14                          RECROSS-EXAMINATION

15            BY MR. WARD:

16 Q.         In secondary    transfer , you say the rate , the

17 likelihood     of find ing a clean DNA is extreme ly low .

18 A.         Yes .

19 Q.         But you are not able to say beyond a reasonable

20 doubt that it 's not possible ?

21            MS. GREENBERG:         Your Honor , I object ed before .

22 This reasonable        doubt standard        is not --

23            THE COURT:     Mr. Ward that is not a proper

24 standard     for her , so re phrase         the question .

25            MR. WARD:     I was do ing th at because          I thought




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 1 that was the standard         in this case , but I will re phrase

 2 the question .

 3            BY MR. WARD:

 4 Q.         You are not able to say to any degree             of

 5 scientific     certainty    that that 's not possible ?

 6 A.         That 's correct .

 7 Q.         Thank you .

 8            MR. WARD:     That 's all , Your Honor .

 9            THE COURT:      All right .

10            MR. MONTEMARANO :       Just a couple , Your Honor ,

11 please .

12            THE COURT:      It 's going to be a couple        20 minute s

13 from now .     We will take a recess        until 11 :35 .

14            Counsel , stay be hind for just one second .

15                   (Jury excused      at 11 :15 a.m. )

16            THE COURT:      Counsel , don't dis appear .       Counsel ,

17 I just want ed to tell you , for the record -- and Mr.

18 Martin , you should       listen   to this -- that the -- I have

19 entered    an order which is at Docket No. 876 , which

20 refer s to seal ing of document s at 877 , which is the U.

21 S. Mar shal s' form that was the subject           of my ruling

22 earlier    today .     So , for appellate     re view purpose s, the

23 Four th Circuit , if it want s to look in side the

24 envelope , the envelope        is No. 877 .

25            All right .     Thank you .




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 1                   (Off the record       at 11 :15 a.m. )

 2                   (On the record       at 11 :39 a.m. )

 3            MS. GREENBERG:      Your Honor , I'm inform ed by Mr.

 4 Mitchell    that we have preliminary         matter .

 5            THE COURT:     A preliminary     matter ?

 6            MR . MITCHELL:     Yes , Your Honor .

 7            THE COURT:     Okay .

 8            MR. MITCHELL:      This witness    does n't have to

 9 leave .

10            THE COURT:     Okay .    She can be comfortable .

11            MS. GREENBERG:      Your Honor , maybe we can finish

12 with -- I didn't        real ize she was here .      We can call

13 three other witness es and then perhaps             take another

14 break and then add ress Mr. Mitchell 's --

15            THE COURT:     That 's fine .

16            Mr . Montemarano , you were out of the room for

17 some reason     when I announced       the docket    entri es for the

18 order on that motion         about the mar shal 's form s.       I

19 place d in the record        what the docket    entri es are .

20            MR. MONTEMARANO :       Okay .

21            THE COURT:     So there will be no mystery         as to

22 where it is .

23            THE COURT:     Ready for    the jury ?      Bring them in .

24                   (Witness    resume s the stand .)

25                   (Jury return s at 11 :41 a.m. )




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 1            THE COURT:    You may proceed .

 2            MR. MONTEMARANO :     Thank you,      Your Honor .

 3                         RECROSS-EXAMINATION

 4            BY MR. MONTEMARANO :

 5 Q.         Good morn ing again , Ms. Tontarski .        How are you ?

 6 A.         Good morn ing .

 7 Q.         A couple   of question s.     Proceed ing from the

 8 question s asked to you since I last stood up and

 9 look ing at your report        -- you have your report         in front

10 of you ; correct ?

11 A.         I do .

12 Q.         It would be fair to say that your report             says,

13 on Page 2 -- no , let me start from the beginning .

14            You perform ed test s on eight known s; correct ?

15 A.         That 's correct .

16 Q.         And those in your report       are demarcate d or

17 de note d as item s S-1 through       and including     S-8?

18 A.         Yes , that 's correct .

19 Q.         That 's S for Sierra ; correct ?        S for Steve n?

20 A.         Yes .

21 Q.         And you received     S-1 through      and including    S-6

22 in your lab on the 28 th of December             in the year 2004 ;

23 correct ?

24 A.         They were submitted       to what's    call ed central

25 property     in our build ing , so the request        for analysis




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 1 tell s us that the evidence        is available      in the

 2 build ing , so the request       come s to the laboratory , the

 3 evidence     goes to the property       receipt    area .

 4 Q.         So would it be more correct , then , instead             of

 5 say ing the samples were received in your lab,                the

 6 sample s were available        for your lab , December        28 , 2004 .

 7 A.         S-1 through    S-6, that 's correct .

 8 Q.         And the   other two , S-7 and 8, were available               to

 9 your lab to use in whatever         way , shape or form about a

10 week later ?

11 A.         Yes , on January    7, 2005 .

12 Q.         And because    you had a time lag before         the trial ,

13 you were able to complete         all of this testing

14 comfortably      within   your schedule      by September ; correct ?

15 A.         That 's correct .

16 Q.         that 's on 15 un known item s; correct ?         16 ?

17 A.         There were 15 item s, a total of 18 exhibit s, if

18 you will .      There was one item that contain ed four

19 magazine s.

20            MR. MONTEMARANO :     No further     question s, Your

21 Honor .    Thank you .

22            THE COURT:     Any further      we re cross ?

23            All right .    You may step down .

24            MS. GREENBERG:      Your Honor , may be the witness

25 be ex cuse d?




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 1            MR. MONTEMARANO :        Yes , Your Honor .

 2            THE COURT:      Yes , you may .

 3            (Witness   excused      at 11 :44 a.m. )

 4            MS. JOHNSTON:      Your Honor , our next witness

 5 would be Minh Dang .

 6 Thereupon,

 7                                 MINH DANG ,

 8 having been called as a witness on behalf of                the

 9 Plaintiff , and having been first duly sworn by the

10 Courtroom Deputy, was examined and testified as

11 follows:

12                           DIRECT    EXAMINATION

13            BY MS. JOHNSTON:

14 Q.         Sir , please    state your full name       , spell ing your

15 first and last name the record .

16 A.         My name is Minh Dang , first name spell ed M I N

17 H, last name spell ed D, as in David , A N G.

18 Q.         And where are you current ly employ ed ?

19 A.         I'm employ ed as a forensic        chemist    with the Drug

20 Enforcement     Administration , Mid -Atlantic          Laboratory .

21 Q.         How long have you been employ ed there ?

22 A.         Approximately     ten year s.

23 Q.         Could you brief ly de scribe       your educational

24 background     and training      in the area of forensic

25 chemistry ?




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 1 A.         Certain ly .     I possess   a bachelor 's of science

 2 degree    in bio chemistry , a master's        of science    degree      in

 3 chemical     toxicology .     In add ition to      my studi es , I've

 4 also been employ ed as a drug technician              with the D.        C.

 5 Pre trial Service s Agency and I've also complete d a

 6 formal    train ing pro gram for the        DEA.

 7 Q.         During your      time with the DEA, the Drug

 8 Enforcement     Administration , have you been employ ed

 9 continuously     as a drug analyst ?

10 A.         Yes , I have .

11 Q.         Could you de scribe     what your day-to-day       duti es

12 are with DEA?

13 A.         My primary     dut ies are   to analyze    evidence   for

14 the presence     of controlled      substance s, in addition        to

15 provide    ex pert witness      testimony    on my an alyses .

16 Q.         Can you tell us approximately           how many analys es

17 you have done over your ten year s with the DEA?

18 A.         Approximately      4,000 .

19 Q.         Have you had occasion        to testify    concerning    the

20 result s of your analys es in any court s?

21 A.         Yes , I have .

22 Q.         What court s are those ?

23 A.         District   court , District      of Columbia    District

24 Court , Green belt , Maryland ; District           Court , Baltimore ,

25 Maryland;     District    Court , Tampa , Florida ; District




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 1 Court , Alexandria , and a number           of state and local

 2 court s.

 3 Q.         When you say "district       court ," you're    refer ring

 4 to the federal      court s?

 5 A.         That is correct .

 6 Q.         Including      this one here ?

 7 A.         That is correct .

 8 Q.         Was your testimony      accept ed as an ex pert in the

 9 area of drug analysis ?

10 A.         Yes , it was .

11            MS . JOHNSTON:      Your Honor , we would present       Mr.

12 Dang as an ex pert in the area of drug -- forensic                drug

13 analysis .

14            THE COURT:       Any cross-examination on

15 qualifications?

16            MR. MONTEMARANO :      No, Your Honor .      Thank you.

17            THE COURT:       He will be accept ed to give opinion s

18 in the field of forensic          chemistry .

19            BY MS. JOHNSTON:

20 Q.         Mr. Dang , could you brief ly de scribe        for us the

21 procedure     that is follow ed in the lab in term s of the

22 process ing and analysis         of samples     submit ted by   the FBI

23 or other agenci es for your analysis ?

24 A.         Certain ly .     The FBI agent submit s drug evidence

25 to our evidence technician at our             laboratory , and




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 1 subsequent ly , we are as sign ed to analyze            the submitted

 2 exhibit s.     Then the chemist        will check out the evidence

 3 from the evidence         technician    and proceed     with the

 4 analyses .

 5 Q.         When you check out the evidence            from your

 6 evidence     room , so to speak , is there a cover sheet

 7 that 's attach ed to that ?

 8 A.         I don't understand      the question .

 9 Q.         Let me show you what's        been mark ed as

10 Government 's Exhibit        Miscellaneous    27 and 28 , and ask

11 if you recognize      those two -page document s.

12            Let me show you what's        been mark ed as

13 Government 's Exhibit        Miscellaneous    27 and Miscellaneous

14 28 .   Do you recognize       those document s?

15 A.         Yes , I do .

16 Q.         Do you have copies      of those document s with you

17 here today ?

18 A.         I do .

19 Q.         I'm going to take them back and put them on the

20 screen , so if you pull out your copies               in case you need

21 to see it up close .

22            Call ing your attention       to the first page of that

23 two -page document        in Miscellaneous    27 .     Does this -- on

24 this page , is this a page of the report               that is

25 complete d and attach ed to the exhibit              when you first




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1 receive    it ?

2 A.        Yes , it is .

3 Q.        With the portion       that is complete d, the portion

4 of this form that is complete d before            you receive    the

5 exhibit , is that what we see on the first page ?

6 A.        Yes , it is .

7 Q.        Do you use that information          that 's contain ed on

8 that first page in beginning           your examination    of the

9 item that 's attach ed ?

10 A.       Yes .    This report    page is the DEA Form -7, which

11 is a report      of drug property     collect ed or seize d, and

12 this is the standard      form that is submit ted with         the

13 evidence.

14 Q.       In this case , this form was submitted , which --

15 this exhibit      was submit ted by    th e FBI; is that correct ?

16 A.       That is correct .

17 Q.       For example , the form indicate s they obtain ed on

18 October 17 , 2002; is that correct        ?

19 A.       That is correct .

20 Q.       And the Case No. 245 DWF 2178 5; is that correct ?

21 A.       That is correct .

22 Q.       And then there is a description          given of the

23 object   that is submitted ; is that correct ?

24 A.       That is correct .

25 Q.       Is that information        important   to you in the




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1 course   of your examination ?

2 A.          Yes , that is correct .

3 Q.          What do you do with that -- what do you compare

4 to the information           that 's on the report ?

5 A.          The information , this is compare d and reconcile d

6 with the drug evidence , and analysis            is subsequent ly

7 per form ed .

8 Q.          Could you tell us what was submitted            to the lab

9 under Exhibit         No. 25 9 and what you did with it ?

10 A.         Exhibit    No. 259 was received     by me and analyze d

11 on November     7, 2002 .      Subsequent ly , a report    was

12 prepared     and attach ed to the DEA-7 .

13 Q.         Is that the report      that's   attach ed to

14 Miscellaneous        27 ?

15 A.         That is correct .

16 Q.         Of course , is that your signature         at the bottom

17 of the page ?

18 A.         That is correct .

19 Q.         Could you de scribe     for us very brief ly what

20 proced ure you follow ed once you pull ed the exhibit            out

21 of the storage        area ?

22 A.         Certain ly .     Once the bag is received       from the

23 FBI, the seal s are examine d to determine            that they have

24 not been opened , and then I subsequent ly open the

25 submitting     heat -seal ed bag , weigh the content s,




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 1 determine     the net weight       and proceed    with analyses .

 2 Q.         What is the difference       between    the gross weight

 3 and the     net weight ?

 4 A.         The gross weight , essentially , is the weight             of

 5 the FBI bag and all its content s.           Essentially , the

 6 weight    of the    entire ty and the net weight       is the weight

 7 of the drug s minus all packaging , so essentially              the

 8 weight    of the    rock or the powder     which was submitted .

 9 Q.         In this instance , what was the net weight            of the

10 actual    substance    itself ?

11 A.         For Exhibit     No. 259 , the net weight     of the

12 material     was 0.51 grams .

13 Q.         Okay .   And what -- what did you do        with it after

14 you weigh ed it ?

15 A.         After weighing     the material , a series     of

16 chemical     test s were perform ed and a conclusion        was

17 derive d.

18 Q.         And the test s you perform ed, if you could jus t

19 give us the     name of those test s.       I won't ask you to

20 de scribe    them each individual ly .

21 A.         Certain ly .    Five chemical   test s were perform ed :

22 color , infrared      spec trometry,    gas chrom atography , mass

23 spec trometry , gas chromatography screen, and            also a

24 chemical     quantif ication      using gas chromatography .

25 Q.         Are all the se test s that you routinely perform




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 1 wh en a substance           is submit ted to you for drug analysis ?

 2 A.         That is correct , yes .

 3 Q.         What was your conclusion          concern ing the drug

 4 de scribe d in your report          as Exhibit    No. 259 and

 5 Miscellaneous        27 ?     What was your conclusion       as to what

 6 the substance        was ?

 7 A.         Exhibit 259        was found to contain      0.51 grams

 8 contain ing cocaine           base at 87 percent    purity .

 9 Q.         You mention ed 87 percent         purity .    Could you

10 explain     to us what you mean by that ?

11 A.         87 percent        of the material    was found to be

12 cocaine     base .

13 Q.         Do you have to have a certain           percentage     of

14 purity    before     you will conclude       a substance     is cocaine

15 base ?

16 A.         No .

17 Q.         How low could that purity           be and you would still

18 conclude     it was cocaine        base ?

19 A.         The limit s of our ability          to identify     it is

20 around    one percent .

21 Q.         So as long as        it had at least    one percent     in

22 that substance , you would conclude              it was cocaine      base ?

23 A.         That is correct .

24 Q.         The percentage        of purity   ,does that have any

25 effect    on whether         or not there is cocaine     base




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 1 available     in the substance ?

 2 A.         No , it does not affect       that application .

 3 Q.         On the same date and time , show ing you

 4 Miscellaneous        28 , was another   sample   submitted    by the

 5 FBI under the same case number           seize d on the same date

 6 October    17 of 2002 ?

 7 A.         Yes , that is    correct .

 8 Q.         Okay .    And in reference     to the exhibit      that 's

 9 identifi ed as 258 .       When did you do your analysis ?

10 A.         The analysis     was perform ed on November        7, 2002 .

11 Q.         Did you follow     the same procedure s you

12 previous ly de scribe d?

13 A.         I did .

14 Q.         Could you de scribe    what Exhibit      No. 258

15 consisted     of ?

16 A.         Exhibit 258     consisted    of 56 .2 grams contain ing

17 cocaine    base at 86 percent .

18 Q.         Is that record ed in Miscellaneous         28 ?

19 A.         Yes , it is .

20 Q.         How was it package d?

21 A.         It was package d in a plastic         bag contain ing

22 numerous     Ziploc s contain ing rock -like material .

23 Q.         Do you recall     how many Ziploc s were in there ?

24 A.         Ten .

25 Q.         And again , the gross weight       is what ?




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 1 A.       The gross weight the weight           of the submitting

 2 FBI bag and all its content s, and the net weight               is the

 3 weight   of the material     minus the packaging .

 4 Q.       Could you de scribe      for us how cocaine       base look s

 5 in comparison      to cocaine   powder ?

 6 A.       In general , cocaine      base is found as a rock -like

 7 material ; however , if that rock -like material           is

 8 ground , then it can also appear           as a powder .

 9 Q.       And the cocaine      powder ?

10 A.       Co caine powder     is general ly a white powdery

11 material .

12 Q.       Not a rock -like substance ?

13 A.       That is correct .

14 Q.       And the net weight       was what ?

15 A.       The net weight      was found to be 56 .2 grams .

16 Q.       Again , did you do a purity         test on this as well ?

17 A.       I did .

18 Q.       What was that concentration           level ?

19 A.       86 percent .

20          MS. JOHNSTON:     I have no further       question s of

21 this witness .

22          THE COURT:      Cross- examination ?

23                          CROSS-EXAMINATION

24          BY MR. MARTIN .

25 Q.       Good afternoon , Mr. Dang .         Well , it 's very close




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 1 to noon , sir .

 2 A.        Good afternoon .

 3 Q.        My name is Anthony     Martin , and I represent        Mr.

 4 Learley   Reed Goodwin .      I have in my hand Miscellaneous

 5 28 , and if I understood       your testimony    correct ly , the

 6 first page of Miscellaneous        28 was not fill ed in by

 7 you .   That was submitted      by a special    agent ; right ?

 8 A.        That is correct .

 9 Q.        And let 's put it up on the screen        here so that

10 the juror s can follow      with us .   On the first page of

11 Miscellaneous     28 , there is a description       there of crack

12 cocaine , right ?

13 A.        That is correct .

14 Q.        You didn't    put that description     in there , right ?

15 A.        I did not .

16 Q.        And you also testifi ed that you then did an

17 examination     of the exhibit    that was attach ed to this .

18 And you concluded       on the second   page that the

19 substance , in fact , contain ed cocaine        base ; right ?

20 A.        That is correct .

21 Q.        And I think if I slide this down here , we can

22 all this see .      That 's your conclusion     there ; right ?

23 A.        That 's correct .

24 Q.        I take it that this is your handwriting           -- let

25 me see if I could do this .        Is that your handwriting




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 1 down there ?     Is that your signature           sir ?

 2 A.         Yes , it is .

 3 Q.         Mr. Dang , would you agree with me that there are

 4 several    type s of cocaine       base ?

 5 A.         I don't understand       the question .

 6 Q.         Well , the base that 's taken from the cocoa leaf ,

 7 that 's cocaine       base , too ; isn't it ?

 8 A.         I don't understand       the question .

 9 Q.         You don't understand        whether    or not     cocaine   base

10 exists    in the form of cocoa base that 's taken from the

11 cocoa leaf ?

12 A.         Cocaine    come s in primarily       two form s:     Cocaine

13 hydrochloride        and cocaine    base .     The material    which was

14 received     for analysis     was determine d to be cocaine

15 base .

16 Q.         Are you familiar     with freebasi ng that was

17 sometimes     use d by people      in the 1980s to smoke ?

18 A.         That is outside     my area of expertise .

19 Q.         So you're    tell ing me that you've           never heard of

20 the term freebasi ng ?

21 A.         I have heard of the term .

22 Q.         And are you familiar        with the fact that that is

23 another    way of free ing cocaine           so that you just have

24 the cocaine     base available       to you ?

25 A.         Could you repeat     the question ?




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 1 Q.        Cocaine   sold on the street      is usual ly --

 2           MS. JOHNSTON:      Objection .

 3           MR. MARTIN:      -- mix ed with other substance s; is

 4 that correct ?

 5           THE COURT:     Is there an objection ?

 6           MS. JOHNSTON:      The witness    didn't   have a chance

 7 to answer the last question .

 8           THE COURT:     Mr. Martin , let him answer , if he

 9 could .

10           MR. MARTIN:      I thought   I did .   I thought    he said

11 he didn't    understand.

12           THE COURT:     Sir , if you haven't     finish ed

13 answering    the question , go ahead and answer          it now .

14           BY MR. MARTIN:

15 Q.        How would you de scribe      the presence     of cocaine

16 in the cocoa leaf ?

17 A.        It 's a naturally    occurring    compound    which is

18 found in cocoa lea ve s.

19 Q.        And you would not de scribe       that as cocaine     base ?

20 A.        If it 's in the freebase      form , then yes , but

21 there 's also a variety       of im puriti es found in a natural

22 product .

23 Q.        Understood .     And when the co ca is submitted          to

24 process ing and become s a paste , would you agree that

25 when it is separate d, that is the cocaine             from the co ca




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 1 leaf , and the       a pa ste is made , that the cocaine       base

 2 exist s in the paste ?

 3 A.         Cocaine    exist s in its natural     form , that is

 4 correct .

 5 Q.         Would you also agree that if you took sodium

 6 hydrochloride        which is sometimes      referred    to cocaine

 7 powder     or cocaine     salt ; correct ?

 8 A.         I don't understand         the question .

 9 Q.         Well , we've got the paste , and now we have to

10 convert     the paste to sodium        hydrochloride ; right ?

11 A.         I don't --

12 Q.         You don't understand         the question ?    Well ,

13 instead     of me try ing to do it , because       I'm not a

14 chemist , how does one go from coca paste to cocaine

15 powder ?     Would you explain        that to the ladies and

16 gentlemen of the jury        ?

17 A.         Certain ly .    Cocaine     is general ly found in a

18 natural     product    in the coca leaf .      It 's subsequent ly

19 ex tract ed and re fine d in clandestine         laboratori es , then

20 it can either        be convert ed to cocaine     hydrochloride       or

21 cocaine base.         Oftentimes, it's converted to cocaine

22 hydrochloride, which is          then subsequent ly later

23 convert ed to cocaine        base .

24 Q.         Now , the cocaine     hydrochloride , which is the

25 powder     or the salt , how exact ly is it convert ed from




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1 the paste to the chloride        itself ?     That was the

2 question .     How does that    happen ?    W hat ingredient s are

3 add ed to make it powder ?       How does it go from a paste

4 to powder ?

5 A.         Essentially,   it 's ex tract ed by a variety         of

6 different     solvent s an d then hydro chloric      acid may be

7 add ed to convert      the cocaine     to cocaine   hydrochloride .

8 Q.         If we want ed to convert      the cocaine

9 hydrochloride       back to cocaine     base , we could do that

10 several   way s; would you agree ?

11 A.        Yes , that is correct .

12 Q.        Okay .   And one of the way s we could do that is ,

13 I guess , by cook ing it with sodium         bi carbonate ; right ?

14 A.        That is correct .

15 Q.        And there are other way s of do ing it , too .

16 Could you use either , for example , to free it from the

17 hydrochloride ?

18 A.        That is a method .     That is correct .

19 Q.        So now let 's go back to your report         here .        I'm

20 look ing at Miscellaneous      28 .    Nowhere   on this report

21 does it indicate      that you tested      for anything   other

22 than the presence      of cocaine     base ; is that correct ?

23 A.        No , that is in correct .

24 Q.        Well , it says -- if I'm reading         it correct ly --

25 exhibit   contain s cocaine    base and it says Exhibit          No.




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 1 258 ; is that correct ?

 2 A.        I'm sorry .     I mis understood     the question .

 3 Essentially    --

 4 Q.        Well , let me ask you this :

 5           MS. JOHNSTON:       Your Honor .

 6           THE COURT:      Mr. Martin , please     let him answer

 7 question s before      you pro pound another     question .     All

 8 right ?

 9           THE WITNESS:       In a series     of -- in the process

10 of perform ing an examination        on this exhibit , gas

11 chromatography      screen   was perform ed to determine        if

12 there were any other im puriti es found within            the drug s

13 and that test was perform ed .

14           BY MR. MARTIN:

15 Q.        But that 's not indicated        here in that report , is

16 it ?

17 A.        It was not report ed , that is correct .

18 Q.        That is the question , whether         or not   any other

19 substance s were tested       for and you've     said , yes , and

20 then I asked you whether        or not     it appear s here , and

21 you said no ; is that correct ?

22 A.        To answer     the question , im puriti es were tested

23 and they were not report ed on your form .

24 Q.        Now , this particular     exhibit     on Miscellaneous

25 28 , do you know where that came from ?            I mean , do you




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 1 know where the agent s got it from ?

 2 A.        I do not .

 3 Q.        And you don't know whether          or not the particular

 4 exhibit   was tested     for fingerprint s; do you ?

 5 A.        Fingerprint     examination     was request ed , original

 6 packaging     was separate d and sent to the FBI lab for

 7 examination .

 8 Q.        But you don't know what the result s were ; do

 9 you ?

10 A.        That is correct .

11 Q.        Court 's indulgence .

12           Mr. Dang , what did you do to prepare            for to day 's

13 testimony ?

14 A.        I re view ed my laboratory        note s and appear ed in

15 court .

16 Q.        Did you talk to anybody         before    testify ing ?

17 A.        My supervisor .

18 Q.        Did you talk to anybody         other than the attorney s

19 for the government       and your supervisor ?

20 A.        Regard ing this case ?     No .

21           MR . MARTIN:     I have no further        question s, Your

22 Honor .

23           THE COURT:      Any further     cross ?

24           MR. HALL:      No question s.

25           MR. MITCHELL:      No Y, our Honor .




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 1           MR. WARD:       No , thank you , sir .

 2           THE COURT:       Any re direct ?

 3           MS. JOHNSTON:       Just a couple    of question s.

 4                         REDIRECT   EXAMINATION

 5           BY MS. JOHNSTON:

 6 Q.        Mr. Dang , you indicated       that you tested      for

 7 im puriti es .     Is that part of your routine         process ?

 8 A.        Yes , I did .

 9 Q.        Was anything      else found that affect ed your

10 opinion    that the materials       contain ed cocaine     base ?

11 A.        No .

12 Q.        On the front of the report         counsel    referred    to ,

13 there was a notation         made by the submitting       officer

14 from the FBI, that it was -- the allege d drug was crack

15 cocaine ; is that correct ?

16 A.        That is correct .

17 Q.        And your find ing of cocaine        base , is that

18 consistent       with the officer 's allegation        that it was

19 crack cocaine ?

20 A.        I identifi ed the drug as cocaine         base .

21 Q.        Now , the cocaine     base that you found in there ,

22 was that the paste that Mr. Martin            was question ing you

23 about ?    Was it in the paste -like form ?

24 A.        It was received      as a rock -like material .

25 Q.        Based on your train ing and experience , is that




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 1 rock -like material        common ly referred      to as crack ?

 2 A.         Yes , it is .

 3            MS. JOHNSTON:       I have nothing      further .

 4                            RECROSS-EXAMINATION

 5            BY MR. MARTIN:

 6 Q.         Did you specifically         test for sodium

 7 bi carbon ate ?

 8 A.         Infrared    spec trometry     was perform ed on the

 9 material , and I did not identify             sodium   bi carbon ate .

10            MR. MARTIN:       No further     question s, Your Honor .

11            THE COURT:       You may step down .        Thank you very

12 much .

13            (Witness    excused      at 12 :06 p.m. )

14 Thereupon,

15                               DAVID HEARN ,

16 having been called as a witness on behalf of                 the

17 Plaintiff , and having been first duly sworn by the

18 Courtroom Deputy, was examined and testified as

19 follows:

20                            DIRECT    EXAMINATION

21            BY MS. JOHNSTON:

22 Q.         Sir , please     state your full name        and occupation .

23 A.         Corporal    David Hearn .      I'm a Montgomery      County

24 police officer        assigned   to the Forensic       Service s

25 Section    of the county .




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 1 Q.         Could you spell your las t name for         the record ?

 2 A.         It's H E A R N.

 3 Q.         How long have you been assigned        to the     Forensic

 4 Services     Section of the    Montgomery    County   Police

 5 Department?

 6 A.         About 11 year s

 7 Q.         What is your current     position    there ?

 8 A.         I'm a firearm s technician .

 9 Q.         What do you do as a fire arms technician ?

10 A.         I test fire the firearm s that come into the

11 county , serial     number s expiration,     put the shell

12 casings    into the system     to try to match them .

13 Q.         How long have you been do in g that kind of work

14 at the Forensic      Service s Center ?

15 A.         Nine year s.

16 Q.         Were you asked to examine        some firearm s in

17 connection     with this investigation       by Detective      Sakala ?

18 A.         Yes , I was .

19 Q.         Can you de scribe    for us the procedure       -- strike

20 that .

21            Did you follow     the same procedure      with all of

22 the weapon s that were submitted          by Detective     Sakala ?

23 A.         Yes .

24 Q.         Okay .   Could you de scribe     that process    for us or

25 procedure ?




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 1 A.        The firearm s, we have a property         room .   I pick

 2 up the firearm s out of a gun cabinet          and take them

 3 along with the property        records , sign them out , take

 4 them to my desk .      I have a database      I log all the

 5 firearm s in .     I fill out a test fire certificate          for

 6 each firearm , and I transport          them over to our public

 7 service    train ing academy    where we have a tank where I

 8 fire the weapon s into to re cover bullet s and cartridge

 9 case s.

10 Q.        You did that with the weapon s that I'm about to

11 ask you about ; is that correct ?

12 A.        Yes, ma'am .

13           MS. JOHNSTON:      Your Honor , with the Court 's

14 permission , if I could approach          the witness .

15           THE COURT:     Yes , you may .

16           MS. JOHNSTON:      If you could please      lean in

17 closer    to the micro phone when you're       answering     the

18 question s and speak up please .

19           Let me show you first what 's been mark ed as our

20 Government 's Exhibit      Bynum 1.      Is that one of the

21 firearm s you examine d and test fire d?

22 A.        Yes .   It has my initial s and the date I close d

23 the box up .      The Glock Model 26 , nine millimeter

24 caliber , and the serial       number    is CAZ959US, which is

25 what I have here on my test fire certificate s.




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 1 Q.         Can you tell us where that gun was manufactured ?

 2 A.         It was manufactured       in Australia .   I'm sorry ,

 3 Austria .

 4 Q.         Where was it ass embled ?

 5 A.         These gun s come to the United       States   for

 6 assembly     in Georgia .

 7 Q.         De scribe    what you did with it once you record ed

 8 the information .

 9 A.         After I record ed eve rythin g and fill ed out my

10 envelope s, I transport         them over to the police     academy

11 where we have our water tank .           I take two cartridge s

12 for test firi ng .        When I get the weapon , I have to

13 digital ly inspect        it and make sure all the part s are

14 here , that it 's safe to fire , do a dry fire without             any

15 ammunition     in the weapon .

16            Then I'm at the tank .       I'll put the ammunition

17 in the weapon      and fire two rounds      into the tank ,

18 recover the cartridge          ca sing and the bullet s, and put

19 them into the envelope          that I fill ed out for each gun .

20 Q.         Now , in regards      to Bynum 1, did all of the part s

21 of it function         proper ly ?

22 A.         Yes, ma'am .

23 Q.         When you dry fire d, were there       any problem s wit h

24 it ?

25 A.         No, ma'am .




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1 Q.         And when you test fire d it , what was the result

2 of your test fire ?

3 A.          It function ed .    I fire d it twice in the tank ,

4 re covered    the cartridge s and the rounds .

5 Q.         When you say fire d it twice , were you using

6 standard     ammunition ?

7 A.         I was using ammunition      from our ammunition      file

8 for the nine millimeter .

9 Q.         Okay .    And when you say te st fire d proper ly , did

10 it cause a pro ject ile to be shot out of the barrel            as a

11 result    of the use of an ex plosive      powder ?

12 A.        Yes, ma'am .

13 Q.        Show ing you the next exhibit , Government 's

14 Exhibit    Dobie 17 .    Do you rec ognize   that exhibit ?

15 A.        This also has initial s and the date I close d the

16 box up after the test firi ng .        It 's a Taurus nine

17 millimeter .       It 's a PT 111 Millennium , and this is the

18 pistol    and the serial    number   TWE 69 738 , and this is the

19 firearm    that I test fire d on August      10 th of 2004 .

20 Q.        What were the result s of your test fire ?

21 A.        It function ed , and I also fire d two cartridge s,

22 re cover ed the bullet s out of the test fire tank , and

23 the two cartridge s from --

24 Q.        Operate d as a fir earm was suppose d to ?

25 A.        Yes, ma'am .




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 1 Q.       Shooting   the projectile s as a result        of using

 2 explosive    powder ?

 3 A.       Yes, ma'am .

 4 Q.       Any irregular iti es about that weapon --

 5 A.       No, ma'am .

 6 Q.       -- in term s of its firi ng ?

 7 A.       No .

 8 Q.       Let me next show you what 's been mark ed as

 9 Government 's Exhibit     Dobie 16 and ask you if you

10 recognize    that exhibit .

11 A.       That 's my initial s and the date I seal ed it .

12 It's an Llama Min imax .      It's a . 40 caliber,     and the

13 serial   number   is 07 04108 598, and this is the firearm

14 that I test fire d in August .

15 Q.       Follow   the same procedure ?

16 A.       Yes, ma'am .

17 Q.       What were the result s of the test fire and

18 examination ?

19 A.       The firearm    function ed two shot s into the water

20 tank , recover ed the    bull et s and cartridge     case s.

21 Q.       Any difficulti es in term s of the        test fire ?

22 A.       No, ma'am .

23 Q.       And again , that would be a firearm         that operate s

24 by shoot ing a projectile      through   the use of an

25 ex plosive   powder ; is that correct ?




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1 A.         That 's correct .

2 Q.         Did you make that same test fire          when we

3 discus sed firearm s and you test fire d?            Is that your

4 conclusion      in regard    to all the weapon s that I'm going

5 to show you ?

6 A.         Yes , it is .

7 Q.         Let me show you the next one , Government 's

8 Exhibit      Oglethorpe    9B.    If you could , look at that

9 exhibit      and tell us whether      or not   you recognize    that

10 exhibit .

11 A.        It has my initial s and the date th at I seal ed it

12 after test firi ng .       It 's a Davis Brand P380, .380

13 Caliber , and the Serial No. AP 17 1772 .           It match es the

14 test fire envelope .

15 Q.        If you could , just hold it up so the jury can

16 see what weapon     you're      talk ing about .   Did you conduct

17 the same test on that weapon          as well ?

18 A.        Yes, ma'am .

19 Q.        What were the result s of the test fire ?

20 A.        It function ed as it should .

21 Q.        Let me show you the next exhibit , Government 's

22 Exhibit     Oglethorpe    11 -- Oglethorpe     13 B, and ask you if

23 you recognize     that exhibit .

24 A.        This is a Ruger P97 is the model .          It's a .45

25 caliber , and the Serial No. Is 66337 39 4, and it also




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 1 has the initial s and the date that I seal ed it after

 2 test firing .

 3 Q.        If you could , just hold it up so everyone           can

 4 see which weapon       you 're talk ing about .    And during     your

 5 dry fire and your actual        test fire , were there      any

 6 difficult ies with that weapon ?

 7 A.        No, ma'am .

 8 Q.        Did it operate     as it was suppose d to operate ?

 9 A.        Yes , it did .

10 Q.        Last ly , let me show you what's        been mark ed and

11 introduced       as Government 's Exhibit    Oglethorpe    9A and

12 ask you if you recognize        that exhibit .

13 A.        This is also a Davis , the model is DM 22 .             It's

14 a . 22 long rifle -- excuse        me .22 Magnum     Deringer , and

15 the Serial No. Is 16 4692 .

16 Q.        Okay .    If you could just show us and hold it up

17 and de scribe      to the ladies and gentlemen of the jury           ,

18 did you test fire this weapon         as well ?

19 A.        Yes , I did .

20 Q.        Did it operate     as it 's manufactured     to operate ?

21 A.        Yes , it did .

22 Q.        Any difficulti es at all with it ?

23 A.        No .

24           MS. JOHNSTON:      Court 's indulgence .     We have no

25 further    question s.




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 1          THE COURT:       All right .    Cross-examination    ?

 2          MR. MONTEMARANO :      Thank you , Your Honor .

 3                           CROSS-EXAMINATION

 4          BY MR. MONTEMARANO :

 5 Q.       Goo d afternoon , Corporal       Hearn .   How are you ?

 6 A.       Fine , thank you .

 7 Q.       A little     background   for the ladies and gentlemen

 8 of the jury , so we're all clear .          Would that be a fair

 9 representation      of a cartridge ?

10 A.       Yes, sir .

11 Q.       Not a bullet .

12 A.       No .   A bullet    is the --

13 Q.       This guy ?

14 A.       That 's the     bullet , yes, sir .

15 Q.       Also known as a slug ?         It 's what come s out when

16 you pull the trigger ?

17 A.       Yes, sir .

18 Q.       This area is call ed the cartridge          case ?

19 A.       Yes , it is .

20 Q.       It 's fill ed with propellant ; is that correct ?

21 A.       Yes , it is .

22 Q.       This is activate d usually        by a primer ; correct ,

23 sir ?

24 A.       That is correct .

25 Q.       And a cartridge      with a primer     at the center,




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 1 what's    call ed a center -fire d cartridge ; correct ?

 2 A.        That 's correct .

 3 Q.        Weapon s have different     caliber s; correct ?

 4 A.        Yes, sir .

 5 Q.        They're   measured   in -- well , I use the word ,

 6 sometimes    caliber , like .45 caliber ; correct ?

 7 A.        Yes, sir .

 8 Q.        That would be written     thus ly ?   That being a

 9 decimal    point ; correct ?

10 A.        It could be written     at that point , yes, sir .

11 Q.        That would mean -- and what a .45 caliber            mean s

12 is it 's .45 inches ; correct ?

13 A.        Yes, sir .

14 Q.        There 's also , you mention ed , for instance , a

15 nine millimeter , and that would just be a measurement

16 using millimeter s, the metric       system , instead     of

17 inch es; correct , sir ?

18 A.        Yes, sir .

19 Q.        And the caliber , so we're all clear , is the

20 bore d di ameter,   the size of the barrel ; correct , sir ?

21 A.        Yes, sir .

22 Q.        So caliber,    that would be the width on this dark

23 red line , for all intents and purposes?

24 A.          Yes, sir .

25 Q.        Show you Government 's 12 D.




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 1           MS. JOHNSTON:      Counsel , could you get the

 2 correct   exhibit    number , please ?

 3           MR. MONTEMARANO :     12 D -- oh , I'm sorry .      My

 4 apolog ies .

 5           BY MR. MONTEMARANO :

 6 Q.        It's Oglethorpe     12 D; correct ?

 7 A.        Oglethorpe   12 D, yes, sir .

 8 Q.        That 's a box of Rem ington . 38 special

 9 cartridge s?

10 A.        That 's what the box says , yes, sir .

11 Q.        And assuming    that this contain s . 38 special

12 cartridge s, these could only be fire d from a gun that

13 takes . 38 special     ammunition ; correct ?

14 A.        It could be fire d from      a . 38 special , or it

15 could be fir ed from      a .357 Magnum .

16 Q.        Oglethorpe   12 C is a box apparent ly of Win chester

17 .38 0 auto ; correct ?

18 A.        Yes, sir .

19 Q.        Could those be fire d from a weapon         chamber ed --

20 A.        I'm sorry , you said . 38 0 auto ?      The box says . 32

21 auto .

22 Q.        I'm sorry , . 32 auto fire d from      a weapon    that

23 take s .32 caliber     ammunition ?

24 A.        Yes, sir .

25 Q.        Here 's the . 38 0 auto . Win chester .     Oglethorpe    9D




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1 could fire d from     a weapon    that take s . 38 auto , . 38 0

2 auto ammunition ?

3 A.       .38 0 auto , yes, sir .

4 Q.       Oglethorpe    9E.     What do they look like ?

5 A.       These look like the .22 caliber .

6 Q.       .22 long rifle or .22 Magnum ?

7 A.       These would be magnum , sir .

8 Q.       These would fit the Der ringer you just show ed

9 us ?

10 A.      They should , yes, sir .

11 Q.      Okay .   And these are also .22 s; correct , sir ?

12 A.      Yes , they are .

13 Q.      They are not .22 Magnum ; correct ?

14 A.      No , they look like long rifle .

15 Q.      Could that they be usable         in a Dering er ?

16 A.      They may .

17 Q.      You didn't    test the    Der ringer ?

18 A.      I can check .       I can look through     the envelope

19 and see if I did or didn't .

20 Q.      Sure .

21 A.      And I did .     I test fire d the Remington       magnum

22 round , the Derringer , and also a .22 long rifle round

23 to see if it would also work in there , which it did .

24 Q.      Okay .   So they are both compatible         with the

25 Derringer ?




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 1 A.        Yes, sir .     So this is only --

 2 Q.        So this    is the only fire able .32 , these are

 3 .32 s; . 38 special     wi ll only fire bullet s of . 38

 4 special s and .357 s.

 5           Over here we have Oglethorpe         10 .   This is

 6 several   magazine s, and there 's a bunch of loose rounds

 7 float ing around      the bottom .     Do you see them ?

 8 A.        Yes, sir .

 9 Q.        I'm not    an ex pert , but this casual      observation

10 suggest s they're      .45 s.

11 A.        They're    .45 s.

12 Q.        I bet it probably     says .45 ACP on the butt ;

13 does n't it ?

14 A.        If I can get them out of the bag .           Wolf brand .

15 Q.        These were fireable        in a .45 ; correct ?

16 A.        Yes, sir .

17 Q.        .45 auto ?

18 A.        Yes, sir .

19 Q.        Assuming     these two can fit the same weapon ,

20 these are all seize d from the same location ,

21 Oglethorpe .     One , two , three , four , five separate       kinds

22 of ammunition       -- or rather     five separate    weapon s would

23 be need ed to firearm s examination ; would that be a fair

24 statement ?

25 A.        Yes, sir .




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 1 Q.         Actual ly , could be fire d more than that because

 2 you could have a weapon          cha mber for . 22 long rifle that

 3 require s these and not magnum ?

 4 A.         That 's true .

 5 Q.         And you could have a .357 Magnum          float ing around

 6 that could fire the . 38 special s; is that correct ?

 7 A.         Correct .

 8 Q.         So potential ly seven firearm s; is that correct ?

 9 A.         It could be a lot of different          weapon , yes, sir .

10 Q.         Not all the same though ; correct ?

11 A.         Well , those all will chamber        in different

12 weapon s, yes, sir .

13            MR. MONTEMARANO :      No further    question s, Your

14 Honor .    Thank you .

15            MR. MARTIN:       Mr. Goodwin   has no questions      of

16 this witness , Your Honor .

17            MR. HALL:     No question s, Your Honor .

18            MR. MITCHELL:       Just a couple    of question s.

19                             CROSS-EXAMINATION

20            BY MR. MITCHELL:

21 Q.         Your title is ?

22 A.         I'm actual ly a detective       corporal .

23 Q.         Detective   corporal .    All right .     Detective    --

24 Corporal     Hearn , you did the test firi ng of two weapon s,

25 they were identifi ed to you as Bynum 1 and -- Bynum 1




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1 and you identifi ed that as a Glock ; is that correct ?

2 Do you need to see it ?

3 A.         Yes, sir .     A Glock .

4 Q.         And you indicated        that Glock originate d from

5 Austria,    but was actual ly ass embled        here in Georgia ; is

6 that right ?

7 A.         Yes, sir .     Based on what I've read about the

8 serial   numbering      of these weapon s, that 's what the

9 literature     says .

10 Q.        And do you -- but do you know specifically            from

11 this serial    number    whether     it was actual ly originate d

12 from Austria    and actual ly ass embled       in Georgia ?

13 A.        Well , I have ATF certificate        that says it was

14 manufacture    -- the manufacturer         is Glock Austria    and

15 that the im port er was the Glock in Georgia .

16 Q.        Are you look ing at the firearm s trace summary ?

17 A.        Yes, sir .

18 Q.        That was provided        to you by who ?

19 A.        That 's ATF.     Alcohol , Tobacco,    and Firearm s.

20 Q.        And in this report         the Department   of Treasury

21 did , do you have the date of your summary            when that was

22 actual ly provided      to you ?

23 A.        I can look it up .         I have it here with me .     This

24 was print ed August      27 , 2004 .

25 Q.        Who request ed that firearm s trace summary ?           Did




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 1 you or did someone         else for you ?

 2 A.         Well , Detective    Sakala   fill ed out the trace

 3 request    form .   I sent the form to ATF through           the mail .

 4 Q.         On this report , does it indicate           the purchaser

 5 information     anywhere     on that form ?

 6 A.         Yes, sir .

 7 Q.         According    to this report , who is -- who actual ly

 8 purchase d this Glock that you identifi ed and test

 9 fire d?

10 A.         On the form , it says it was purchase d May 30 ,

11 19 97 , by a Victor Kelly,       Jr .

12 Q.         And this Mr. Victor      Kelly,    Jr .    Did he have a --

13 I assume    it 's a he .     Did he have an address        or location

14 of city and state where he re side d or purchase d this

15 weapon ?

16 A.         In 19 97 , it says here Glen mont Circle , Silver

17 Spring , Maryland .

18 Q.         Does it indicate     his race and sex ?

19 A.         It says for race , it has Hispanic , and sex ,

20 male .

21 Q.         Does it indicate     where this firearm        was

22 purchase d initial ly .

23 A.         It says the deal er information           on here , Maryland

24 Small Arm s Range .

25 Q.         Where is that locate d?




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 1 A.       That 's in Upper Marl boro , Maryland .

 2 Q.       Okay .   I have no further        question s.

 3          One quick question .          You test fire d this weapon

 4 on what day ?

 5 A.       August   10 .

 6 Q.       Of what year ?

 7 A.       2004 .

 8 Q.       You've   got speak into the micro phone .

 9 A.       I'm sorry .      August   10 , 2004 .

10 Q.       Prior to that , any time prior to August             10 ,

11 would you be able to conclusive ly state that the weapon

12 was actual ly functional       prior to August     10 ?

13 A.       I didn't have      the weapon .     I don't know     what

14 condition     it was in prior to my receiving         it.

15          MR. MITCHELL:       Thank you very much.         No further

16 question s.

17          THE COURT:       Mr. Ward ?

18          MR. WARD:       Just a couple , Your Honor .

19                           CROSS-EXAMINATION

20          BY MR. WARD:

21 Q.       Good afternoon .      Let me ask you     about the two

22 Dobie exhibit s.      Dobie Exhibit 17 , I believe          was a

23 Llama,   L L A M A, Minimax        .40 handgun ; is that right ,

24 sir ?

25 A.       It 's a Llama , yes, sir .




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1 Q.       Huh ?

2 A.       Yes, sir .

3 Q.       All right , sir .     So that mean s -- is it .40

4 caliber ?

5 A.       .40 caliber , yes, sir .

6 Q.       Would that take a . 22 ?

7 A.       No, sir .

8 Q.       Huh ?

9 A.       No, sir .

10 Q.      And the other gun or handgun         was a, as I

11 recollect    this is , I think Dobie Exhibit 17 , a Taurus

12 Millennium    handgun ; is that right , sir ?

13 A.      I didn't say .

14 Q.      What caliber     was the Taurus     again ?

15 A.      It 's a nine millimeter .

16 Q.      Okay .   Would that take a .22 caliber          projectile ?

17 A.      No, sir .     No t without   some type of insert .

18 Q.      I'm sorry ?

19 A.      Not without     some type of insert .

20 Q.      And you didn't      find any insert s in these

21 weapon s?

22 A.      No, sir .

23 Q.      Okay .   Now , you carry a service       weapon ?

24 A.      Yes, sir .

25 Q.      And it 's an auto matic ; is that correct ?




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1 A.         It a semiautomatic , yes, sir .

2 Q.         Does it have the magazine            that goes up into the

3 handle ?

4 A.         Yes , it does , sir .

5 Q.         All right .     These two weapon s that we just

6 talk ed about the , two Dobie exhibit s, the nine

7 millimeter     and the .40 caliber , you understood            from the

8 submission     that they bo th were found with magazine s; is

9 that correct , sir ?

10 A.        I don't know     if they were or were not .          I was n't

11 present   when they were found .

12 Q.        Okay , sir .    And it does n't indicate       on the --

13 they didn't     come to you that way with magazine s either ?

14 A.        Well , with magazine s in them ?

15 Q.        Yeah .

16 A.        I don't believe         they did .    I have picture s here

17 of how I received        them .

18 Q.        Okay .

19 A.        And there was no magazine s in them .

20 Q.        I'm sure we can clear that up later .              Let me ask

21 you this :    How do you load a magazine ?            I'll give you

22 an empty magazine        and I give you a hand ful of -- I'll

23 call them bullet s, but you probably             call them

24 projectile s.      How do you load it ?

25 A.        One at a time into the top of the            magazine .




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 1 Q.         You take the magazine           and you hold it and in one

 2 of your hands , depend ing I guess whether                you're

 3 right-hand ed or left-hand ed ; is that right ?

 4 A.         That 's true .

 5 Q.         Then you take the bullet s and you push them in

 6 the bottom         one at a time .     There 's a little     spring     in

 7 there that sort of hold s them in place , right ?

 8 A.         Right .     Oh , I put them in when I load a magazine

 9 from the top down , but you could put them in upside

10 down .     You could put them in that way , if you felt like

11 it .     They should     stay in there .

12 Q.         Whether     you put them in from the top or the

13 bottom , you have to hold the magazine                 in your hand ?

14 A.         Or between     your knee s or up against         something        to

15 support     it .

16 Q.         Okay .     But it 's like ly to have your fingerprint s

17 on it when you've         fin ish ed fill ing the magazine , right ?

18            MS. JOHNSTON:          Objection , basis of knowledge .

19            THE COURT:       Over ruled .

20            THE WITNESS:       It 's possible .

21            MR. WARD:      Okay , sir .      I don't have    any other

22 question s.         Thank you .

23            THE COURT:       Any further      cross ?

24            Any re direct ?

25            MS. JOHNSTON:          Just a couple   of question s.




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 1                        REDIRECT    EXAMINATION

 2            BY MS. JOHNSTON:

 3 Q.         One of the lawyers     was talk ing to you about

 4 Bynum 1 and the information         --

 5            MS. GREENBERG:      Ms. Johnston,        your micro phone .

 6            MS. JOHNSTON:      Thank you .

 7            THE WITNESS:      The Glock .     Yes, ma'am .

 8            BY MS. JOHNSTON:

 9 Q.         And question s about the weapon and where it was              .

10 If you were to look at that exhibit , Bynum 1, are you

11 able to tell when it was put into property ?

12 A.         I would look on my property         record , not the box

13 itself .

14 Q.         What doe s your property        record    indicate   in term s

15 of when the gun identifi ed as Bynum 1 was check ed into

16 your property     section ?

17 A.         Well , I have a -- there 's the initial s of Debbie

18 Greenwell     are on the receipt     part of the property

19 record     and the date she put down was 6/1/04 at 12 :30 .

20 Q.         Was it then secur ed in the property           locker   until

21 you retrieved     it and did your examination ?

22 A.         Well , I can read through        here , and it went to

23 various     place s before    I received    it , but yes , I

24 received     it on August     10 and it was in the gun locker ,

25 which is in the --




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 1 Q.         When you say other place s, you mean other place s

 2 in the lab , for example , to the DNA section ?

 3 A.         Exact ly .

 4            MR. MITCHELL:      Objection .

 5            THE COURT:     Over ruled .

 6            BY MS. JOHNSTON:

 7 Q.         The DNA section , and also were there any other

 8 place s it went within       the lab ?

 9 A.         It look s like it went to the DNA lab and it came

10 back to us where it was taken out by one of the

11 evidence     technician s who did his exam on it , and then

12 it went into the forensic s -- went back into stor age

13 where it was put into the gun locker , and that 's when I

14 pick ed it up .

15 Q.         Any indication     that there was any mis handli ng of

16 this gun between        the time it was received      on June 1st ,

17 200 4, and when you did your --

18            MR. MITCHELL:      Objection .   Objection , Your

19 Honor .

20            MS. JOHNSTON:      -- when you did your test firi ng ?

21            THE COURT:     Over ruled .

22            BY MS. JOHNSTON:

23 Q.         You may answer .

24 A.         Based on my property     record , I don't see any

25 indication , no .




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 1 Q.         When you examine d it , did you see any indication

 2 that it had been tampered         with in any way ?

 3 A.         When I received     it , it was in the box , the box

 4 was secured     by tape .     When I opened   the box -- when I

 5 opened   it , the firearm      was in the box , secured , and

 6 there was no indication         of any that I could see .

 7 Q.         You were reading     from a report     when Mr.

 8 Mitchell     was asking     you question s about the ATF trace .

 9 Do you have that report ?

10 A.         Yes , I do .   Would you like to see it ?

11 Q.         The one regard ing the Glock that Mr. Bynum asked

12 you about .     There 's no indication     on that report        how it

13 got from Mr. Kelly to the address          of 1513 Ray Road ,

14 Apartment 102, where it was recovered             on June 1st ,

15 2004 ; is there ?

16 A.         No , there 's no not .

17 Q.         And Mr. Montemarano , for whatever        reason , asked

18 you about different         kind s of bullet s.    Look ing at

19 Oglethorpe     10, can you look at that ?         Do you see the

20 magazine s in there ?

21 A.         Yes I do .

22 Q.         Can you tell us what caliber       those magazine s are

23 for ?

24 A.         One of the magazine s, I can tell , goes for the

25 .38 0 auto .




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 1          MR. WARD:     Excuse   me , Your Honor .        I hate to

 2 interrupt .

 3          THE COURT:      Approach    the bench .

 4          MR. WARD:     Very brief ly .

 5          THE COURT:      Approach    the bench .

 6                    (At the bar of the Court.)

 7          MR. WARD:     Judge , I've really        got to go , and I

 8 really   can't hold it .     My client        says it 's okay .

 9          THE COURT:      Well , if your client         said it 's okay .

10                       (Back in open court .)

11          MR. WARD:     Your Honor , Ms. Dobie is willing                for

12 me to be excused      for two or three minute s; is that

13 right , Ms. Dobie ?

14          MS. DOBIE:      Yes , it is .

15          MR. WARD:     Thank you , Your Honor .

16          BY MS. JOHNSTON:

17 Q.       Are you able to examine            those magazine s?

18 A.       One of them I was look ing at , it 's a . 38 0 auto .

19 It's eve n mark ed on here .        It says Davis Industri es

20 P-38 0, five rounds , so that was easy .

21 Q.       How does that     correspond        to Government 's Exhibit

22 Oglethorpe    9B, the . 38 0 you told us about earlier ?

23 A.       It should    fit in this firearm .           It 's a Davis

24 .38 0, P-38 0, and that 's what's           written   on it .   It 's

25 also written     on the second      one .     It says Davis




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 1 Industri es P-38 0, five rounds .

 2 Q.       So there are two magazine s that would actually

 3 fit into Oglethorpe       9B?

 4 A.       Yes, ma'am .

 5 Q.       Are you able to tell about the other magazine s

 6 or the bullet s that are in there or that there are any

 7 --

 8 A.       This magazine     is for a Ruger , and it appear s to

 9 be a larger    caliber , probably     if I had the ammunition ,

10 I could tell you exact ly what it was .           It 's not written

11 on here .

12 Q.       A Ruger would be the same manufacturer            as

13 Government 's Exhibit      Oglethorpe    13 B, the gun that was

14 re covered   at that location ; is that correct ?

15 A.       Yes, ma'am .

16 Q.       If we open that up, perhaps         you could try to see

17 if that actual ly fit in this gun ; is that correct ?

18 A.       We can do that .

19 Q.       Why don't we do that ?

20          (Mr. Ward is back in the courtroom          .)

21          MR. WARD:      Thank you , Your Honor .

22          MR. MONTEMARANO :      Your Honor , may we approach ?

23          THE COURT:      Approach   the bench .

24                    (At the bar of the Court.)

25          THE COURT:      Mr. Ward has return ed , let the




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 1 record    reflect .

 2            MR. MONTEMARANO :      Thank you , Your Honor .         In my

 3 experience , I've never seen live ammunition               permitted

 4 in proximity        to a firearm , even a secured        firearm    like

 5 these with the strap s absent , it being surround ed by a

 6 bag or something          like that , and that 's what Ms.

 7 Johnston    is asking       for , and I just want the record         to

 8 reflect    that .

 9            MS. JOHNSTON:       I appreciate       Mr. Montemarano 's --

10 he 's not using live ammunition .            He's taking    the --

11 since Mr. Montemarano          really    didn't   have any issue s in

12 term s of these gun s brought           out about the    various

13 caliber s of bullet s in that bag , I've asked him to see

14 if the magazine        will fit into the Ruger gun , since it 's

15 a Ruger magazine .          He has check ed the magazine .         There

16 is nothing      in it .     The gun is still secured       in the

17 case .

18            MR. MONTEMARANO :      The bag with the magazine          has

19 other magazine s.          It has loose live rounds .       That 's all

20 I'm say ing .

21            MS. JOHNSTON:       Give me .

22            THE CLERK:       Excuse me , one second .      The marshals

23 said they are very un comfortable            with this situation

24 over there .

25            MR. MONTEMARANO :      I rest my case .




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 1          MS. JOHNSTON:        I will give him the magazine , and

 2 I will   take the live bullet s away .

 3          THE COURT:      Okay .

 4                       (Back in open court .)

 5          BY MS. JOHNSTON:

 6 Q.       Could you take out just the --

 7 A.       Yes , I took out the magazine .         The live

 8 ammunition      is over here .

 9 Q.       Again , there 's still -- you're        going to take the

10 safety   out so you can see if the clip s fit ?

11 A.       Yeah , I can't put it in there without           this .    You

12 can check and see it 's un load ed .

13 Q.       It 's un load ed .    Okay .

14 A.       There 's nothing      in there .

15 Q.       The first clip fit s that gun ?

16 A.       Yes, ma'am .

17 Q.       Okay .    You want to try the second        clip , too ?

18 A.       (Witness    indicati ng .)

19 Q.       They both fit as well ?

20 A.       Yes, ma'am .

21 Q.       Now , if you could put the gun back in there and

22 secure   it .

23          All of these weapon s we look ed at today were

24 also submitted      for fingerprint     examination s; is that

25 correct ?




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 1 A.       Yes, ma'am .

 2 Q.       Were any print s of value re covered           from any of

 3 these wea pon s?

 4 A.       I believe     that I had a sheet that said that

 5 there was nothing      of value re covered .

 6 Q.       Of value mean s what ?

 7 A.       A print that could be use d to identify               where the

 8 source   came from .

 9          MS. JOHNSTON:       I have no further        question s of

10 this witness .

11          THE COURT:      All right .    Any re cross ?

12          MR. MONTEMARANO :      No , Your Honor .

13          MR. MARTIN:      No, Your Honor .

14          THE COURT:      All right .    You may step down .

15 Thank you very much .

16          MR. MITCHELL:       Your Honor , I'm sorry .

17          THE COURT:      You do ?

18          MR. MITCHELL:       Just brief ly .      Brief ly .

19                         RECROSS-EXAMINATION

20          BY MR. MITCHELL:

21 Q.       You were asked on re direct        whether     the gun

22 identifi ed as Bynum 1, you were just look ing at a

23 moment   ago , had been tampered       with .     Do you know what

24 -- you first saw the gun on August              10 , correct , 2004 ?

25 A.       Yes, sir .




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 1 Q.       You don't know what was happening           to that gun ,

 2 who was touch ing that gun , or the condition             of the gun

 3 until August     10 ; correct ?

 4 A.       I don't know       who had the gun prior to June 1st ,

 5 but I do have a record        here that tell s me who had the

 6 gun on June 1st until I received           it on August      10 .

 7 Q.       Do you have a record          of what they did with the

 8 gun between    June 1st and August 10 ?

 9 A.       No, sir .

10 Q.       You only know from a list of people              that

11 actual ly either     took it from one locker       to another        or

12 handle d the gun ; correct ?

13 A.       Correct , sir .

14 Q.       You don't know what they did with it ?

15 A.       No, sir .

16 Q.       So you didn't       know the condition     of this gun or

17 what anyone    did with it prior to August         10 , only you

18 know what you saw on the 10 th ?

19 A.       Yes, sir .

20          MR. MITCHELL:        No further    question s.

21          THE COURT:      All right .      You may step down .

22                 (W itness    excused   at 12 :43 p.m.)

23          THE COURT:      Counsel , we will take a recess            no w

24 un til 1:05, and then we will be finish ed for the day .

25          MS. GREENBERG:        Do you want counsel        back at 1




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 1 o'clock ?

 2           THE COURT:     Pardon ?

 3           MS. GREENBERG:      Do you want counsel      back at 1

 4 o'clock ?

 5           THE COURT:     I can't hear you .

 6           MS. GREENBERG:      Your Honor , do you want counsel

 7 back at 1 o'clock       and the jury back at 1:05?

 8           THE COURT:     If you have any preliminary         matter s.

 9           MS. GREENBERG:      There is with that one that we

10 put off until the next break .

11           THE COURT:     Be back at 1 o'clock .

12                         (Off at 12 :43 p.m. )

13           MR. MITCHELL:      Your Honor , I was provided       with a

14 letter    last week , and I will tell the Court I don't

15 have this letter       in my -- in my records .       I don't have

16 it with my 404 (b) evidence .        I'm not say ing they didn't

17 send it .

18           THE COURT:     What letter    are you referring      to ?

19           MR. MITCHELL:      I have a letter     date d May 10 ,

20 which attach es the lab report         for a 19 96 arrest    of Mr.

21 Bynum .

22           THE COURT:     Right .

23           MR. MITCHELL:      I was taken by surprise       when I

24 was asked if I want ed to stipulate          to the chemical

25 analysis .    I was then given a copy of the letter            that




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 1 was sent to me , so I'm not say ing they didn't             send it .

 2 I'm saying f or some reason , I just didn't           have it ,

 3 so...

 4            THE COURT:    Well , Mr.    Mitchell , the -- under

 5 the circumstance s, I think it 's appropriate           to permit

 6 the gentleman     to testify .     If, however , after re view ing

 7 the list of qualification s that you've            gotten   you

 8 conclude    that there is an issue that        you would like to

 9 explore    with him further      on his qualification s, we can

10 re visit that .

11            MR. MITCHELL:     Well, I can    do a little     bit

12 better    than that .   I've already     learn ed a little        bit

13 about him from fellow       counsel , which give s me a lot of

14 concern    that this is a chemist       who is for hire to say

15 whatever    you want him to say , that his opinion s are a

16 little    sketchy , and that fellow      counsel    may not

17 necessarily     use him -- use his opinion s because          they

18 don't trust him .

19            Furthermore , it was this -- not Ms. Greenberg               or

20 Ms. Johnston , but it was the government            in this

21 courthouse    that was argui ng against       his qualification s

22 and argui ng that he should n't be allow ed to testify .

23 So , there 's a lot of issue s that I've learn ed just in

24 the last hour that I think are appropriate , not after

25 they've    heard all of his conclusion s, but on




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 1 cross -examination , not --          later on .

 2           THE COURT:       I'm assuming     he 's the next witness ;

 3 is that correct ?

 4           MS. GREENBERG:          Your Honor , there are two

 5 witness es :    Normal     Warren    and Mr. Ingram .

 6           THE COURT:       The one that he just de scribe d is

 7 which one ?

 8           MS. GREENBERG:          Mr. Ingram   analyze d the drug s

 9 that were seize d by Officer           Warren .

10           THE COURT:       All right .

11           MS. GREENBERG:          Your Honor , during    the time he

12 an alyze d them , he was a forensic chemist for the                DEA

13 from 19 71 to 19 99 .          He has a Ph. D from George

14 Washington     University .        He has an MS in chemistry        from

15 Howard    University      --

16           THE COURT:       I'm going to assume        from what you're

17 proffering     to me he is qualif ied.            The real question       is

18 what weight     is give n to his testimony           as to whether

19 he 's a hire d gun or the kinds of thing s that would go

20 to that , but not that he does n't have the

21 qualification s?

22           MS. GREENBERG:          Your Honor , I'm pay ing him the

23 $40 witness     fee that I pay every witness .            So , I

24 haven't    hire d him .

25           THE COURT:       No, I understand .        It sounds     like




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 1 these question s goes to his credibility             and the      weight

 2 of the evidence , not that he's not qualified.                  Yo u

 3 don't doubt that he 's got a Ph. D, you don't doubt that

 4 he 's got at least         some degree    of qualification s?

 5           MR . MITCHELL:       Well, he has a     Ph.M .   I'm don't

 6 know what that is      .

 7           THE COURT:        Well, you will find out .

 8           MS. GREENBERG:        Your Honor , to complete        my

 9 proffer , I think what Mr. Mitchell            is referring       to ,

10 current ly he is a consultant with            Vi ngram Enterprises,

11 Limited in    Washington,       D. C .    He provides   ex pert

12 service s for those request ed of them .            He has testifi ed

13 for defense    attorney s, he has testifi ed for public

14 de fend er s, he has testifi ed for other individuals                  who

15 have request ed him .

16           We have simply       subpoena ed him as a witness ,

17 given him the class ic -- the standard             witness   fee based

18 on his work for the DEA back between              19 71 and 19 99 ,

19 which is when this case occurred .             So , there is nothing

20 -- there is no payment .             We have not hire d him .      It's

21 just the standard          witness    fee , plus I think his Metro

22 fa re .

23           THE COURT:        What was the last ?

24           MS. GREENBERG:        His Metro fare.

25           MR. MITCHELL:        Your Honor , under Rule 16 , the




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 1 government     is required     to provide , under rule I think

 2 it 's 1(g) -- I'm sorry A1(g) .           They're   required    to

 3 provide    a summary    which de scribe s his opinion s, the

 4 basis and reason s for those opinion s, and his

 5 qualification s.

 6            THE COURT:      All right .    You've got the opinion

 7 and the    reason s for the opinion ; don't you ?

 8            MR. MITCHELL:      But --

 9            THE COURT:      I mean , do you have that ?

10            MR. MITCHELL:      But I -- without      any opportunity

11 to now investigate        his qualification s, determine         his

12 credibility     based on those qualification s, and I

13 certain ly can't do it now .

14            MS. GREENBERG:      Your Honor , just to shortcut

15 this , the summary      was provide d.      He was listed      as the

16 analyst    on Line 34 .     The question      that counsel     has is

17 whether    he was give n his qualification s, which I

18 received    this morn ing and gave to him .          Given the

19 circumstance s, give n the complexity           of this case , given

20 the nature     of the   case , give n Mr. De son 's role only as

21 the supervisor     an d we are only going to use         him if he

22 can testify     about multiple     exhibit s.

23            I don't think     the rem edy in    this case should        be

24 the exclusion     of evidence .        I think what the government

25 has proffer ed to the Court is an appropriate             remedy       in




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 1 light of the circumstance s.          If Mr. Mitchell       want s him

 2 brought   back , we will just bring him back .             We will

 3 send him another       subpoena    and bring him back for Mr.

 4 Mitchell .

 5           THE COURT:     All right .     I agree .    Under the

 6 circumstance s that we have here , that while there

 7 has n't been perfect       compliance    with Rule 16 , the

 8 defense   will be permitted        to inquire   into his

 9 qualification s that they are able today , and if the

10 defense   believe s that additional        inquir y is

11 appropriate , we will have him brought           back .

12           And if it turn s out he is not qualifi ed , and it

13 does not sound to me like he 's not qualifi ed .              It

14 sound s to me that there might be some question               as to

15 his credibility      or the weight      to be given to his

16 testimony .     I'll entertain      his a Motion to Strike his

17 Testimony     after you've    had further    inquiry      on his

18 qualification s.

19           MR . MITCHELL:     Unless there 's a specific        reason

20 for it , Your Honor , they have not yet call ed the

21 officer   who actual ly seize d these drug s allegedly             --

22 who seize d these drug s from Mr. Bynum .

23           THE COURT:     Well , they're    not going to fin ish

24 the trial without       having    that evidence .

25           MR. MITCHELL:      I understand    that .




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 1           MS. GREENBERG:      She 's next , Your Honor .

 2           MR. MONTEMARANO :       Court 's indulgence , please .

 3           THE COURT:     Let me ask you this , counsel        for the

 4 government :     Why should n't we just call the seizi ng

 5 agent today ?

 6           MS. GREENBERG:      We're call ing her and then the

 7 chemist .

 8           THE COURT:     Well , the chemist , maybe we won't

 9 reach the chemist      today , and that gives them the whole

10 weekend     --

11           MS. GREENBERG:      I really    hope we will , Your

12 Honor .

13           THE COURT:     Excuse    me ?

14           MS. GREENBERG:      I think we will .

15           MR. MITCHELL:      One suggestion     perhaps .    To

16 perhaps     cut thing s short and not have to have him come

17 back .    If Your Honor would permit        me to voir dire       him

18 out of the presence       of the jury on his qualification s,

19 perhaps     that might avoid us having       to bring him back

20 next week .

21           MS. GREENBERG:      That 's fine , Your Honor .

22           THE COURT:     All right , fine .     We'll do that , but

23 do you want to do the seizi ng agent first or do you

24 want to do this first ?

25           MS. GREENBERG:      Why don't we do him first and




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 1 then we don't have to bring the jury back and forth and

 2 have them excused .

 3            THE COURT:      Let 's get the jury in .

 4            MS. GREENBERG:      I thought      you want ed to do it

 5 outside    of the presence      of jury.

 6            THE COURT:      Oh, you want to do the chemist

 7 first ?    That 's fine .    Bring him in .          What's   the name of

 8 the witness ?

 9            MS. GREENBERG:      Your Honor , his name is          Mr.

10 Ingram.      His first name is spelled          V E D O S T E R.

11                            VEDOSTER      INGRAM ,

12 having been called as a witness on behalf of the

13 Plaintiff, and having been first duly sworn by the

14 Courtroom Deputy, was examined and testified as

15 follows:

16                         VOIR DIRE EXAMINATION

17            BY MS. GREENBERG:

18 Q.         Mr. Ingram , we're going to go through              your

19 qualification s outside        the presence         of the jury .     Okay ?

20 A.         Okay , sure .

21 Q.         Could you tell the judge what your background ,

22 train ing , and experience        is ?

23 A.         Yes .   My background      is i n the area of chemistry ,

24 in the academic       area is bach elor's       of science      degree ;

25 professional       area, Howard    University ; master 's of




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 1 science     degree   in chemistry     in bio -organ ic chemistry ,

 2 and a Ph .M, or master 's of philosophy             degree , at George

 3 Washington     University    in the area of Organ ic Synthesis

 4 and Pyrrole     Chemistry    and Pyrrole       Chemistry      Reaction s,

 5 Sub uni t of Physio logically        Active Compounds         or Body -

 6 Active    Compounds .

 7           My professional        background    is with the Drug

 8 Enforcement     Administration       for 28 year s.      Upon

 9 retirement , I start ed my own company             Vi ngram

10 Enterprise s, LTD, which I am a consulting               chemist     and

11 also work ed with the National          Institute s of Health as a

12 re search    chemist    in the area of colloid         physic s and

13 electro chemistry .

14           In the synthesis        of artificial     membrane s and

15 study of ion transport        in using electro analytical

16 chemistry , and I also work ed as an Instructor                 of

17 Pharmaceutical       chemistry    for two year s at the College

18 of Pharmacy , Howard University in             the area of

19 pharmaceutical       analytical    chemistry .

20 Q.        Sir , is it correct       you were a forensic         chemist

21 with the DEA from approximately              19 71 to 19 99 ?

22 A.        That is correct .

23 Q.        Did you present        testimony    before   the Judiciary

24 Council     of the District of       Columbia    in 19 99 ?

25 A.        Yes , I did .




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 1 Q.         Could you tell the Court about that ?

 2 A.         The testimony      to the judiciary      committee , on the

 3 judiciary , was involving          the classification     of

 4 controlled     drug s.    They were interest ed in this

 5 specific     case for the classification         of MDMA and its

 6 derivative .        MDMA is a --

 7 Q.         That 's okay .

 8 A.         Okay .

 9 Q.         And between      19 72 and 19 99 , when you were

10 employ ed by the DEA, can you tell the Court

11 approximately        how many time s you testifi ed as an ex pert

12 witness ?

13 A.         Three hundred      time s.

14 Q.         Is that before      the federal   court here in

15 Maryland , as well as D. C. , Virginia , and West

16 Virginia ?

17 A.         Yes .

18 Q.         And as well as Superior       Court in Washington , D.

19 C. ?

20 A.         Yes .

21 Q.         Current ly , you're     a consultant ?

22 A.         Yes .

23 Q.         And you get paid for testify ing ?

24 A.         Yes , I do .

25 Q.         And you were subpoena ed to testify          here about an




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 1 analysis     you did while you work ed for the DEA in 19 96 ;

 2 is that correct ?

 3 A.         Yes .

 4 Q.         And for that , you're       receiving   just our standard

 5 witness    fee ?

 6 A.         Yes .

 7            MS. GREENBERG:       No further   question s.

 8            THE COURT:     Mr. Mitchell ?

 9                         VOIR DIRE EXAMINATION

10            BY MR. MITCHELL:

11 Q.         Mr. Ingram , is it ?

12 A.         Yes .

13 Q.         Is that proper      --

14 A.         You can use that .

15 Q.         Okay .   You first start ed out your experience

16 after your college       degree     in 19 64 as an instructor ; is

17 that correct ?

18 A.         That is correct .

19 Q.         At Howard    University ?

20 A.         That is correct .

21 Q.         And that 's where , at the time you were an

22 instructor , you were obtain ing your master 's in science

23 in chemistry ?

24 A.         That 's correct .

25 Q.         From 19 68 until 19 83 , you had a master 's degree ;




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 1 is that correct ?

 2 A.        That 's correct .

 3 Q.        And it was n't until 19 83 that you got a Ph.M.

 4 What is that ?

 5 A.        That is a degree       that recognize s the work

 6 towards     a doctor at e of philosophy      degree , and I had

 7 complete d all the re search         and everything   and batter y

 8 of exam s except       the thesis.     I had to leave for family

 9 medical     reason s and I just -- they decide d to give me

10 the degree      in case I want ed to come back and finish                my

11 doctor at e.

12 Q.        Did you have to attend          the class es for that

13 philosophy      degree ?

14 A.        Oh , yes .    As I mention ed before , all the course s

15 and battery of       exam s for doctor     of philosophy   were

16 complete d.       The only thing I had to do was finish             my

17 thesis , give the oral .

18 Q.        And from 19 67 to 19 71 , you were a re search

19 chemist     for National      Institute   of Arthritis   and

20 Metabolic      Diseases ; is that correct ?

21 A.        Yes .    National    institute s of Health , that 's

22 correct .

23 Q.        And that was for four year s.          Why did you leave

24 that job and go to DEA?

25 A.        It was an opportunity        for me to explore       an




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 1 alternative    area of chemistry .      I was asked if I were

 2 interest ed in pursui ng a Ph. D at John s Hopkins             by Karl

 3 Song er , who was the head of the section         that you had

 4 mention ed , and it was in the area of physic s and

 5 chemistry , but I had an interest          in synthetic       organ ic

 6 chemistry , which would have dove tail ed more into my

 7 master 's work , and that 's why I decide d to go to George

 8 Washington .     I went on my own because       of my

 9 professional     interest .

10 Q.      You mean in 2000 leavi ng -- you mean --

11 A.      I went from National       Institute s of Health to the

12 Drug Enforcement     Administration     to explore      the

13 opportunity    of developing     approach es for alternative

14 drug synthesis .

15 Q.      And you were at the DEA for 28 year s?

16 A.      That 's correct .

17 Q.      And your final title was forensic           chemist ?

18 A.      That 's correct .

19 Q.      Is that right ?       And during    those 28 ear s, what

20 did you start out as ?        When you first join ed them in

21 19 71 , what was your title in 19 71 ?

22 A.      It was as chemist .       Forensic    chemist .       That is

23 the title of that position .

24 Q.      Okay .    And you remain ed a forensic       chemist       for

25 those 28 year s?




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1 A.       That is correct .

2 Q.       In 19 99 , you left the DEA?

3 A.       That is correct .

4 Q.       Under what circumstance s did you leave the DEA?

5 A.       Under good stand ing as a retired          person .

6 Q.       You're   retired ?

7 A.       I retire d.

8 Q.       Th en you ended up at Vi ngram Enterprise s; is

9 that correct ?

10 A.      In fact , it was opened       up before    that .

11 Q.      When was it opened ?

12 A.      In 19 99 .

13 Q.      Okay .

14 A.      But it was --

15 Q.      Go ahead .    You can finish .

16 A.      It is a company      establish ed by me for the

17 set ting up of business es in impoverish ed areas of the

18 world , and it -- as it turn s out now , this is only one

19 arm of the company , and it came in after I came in ,

20 after I had retir ed the matter        of consult ing and in the

21 area of chemistry .

22 Q.      Do you also -- it says here your professional

23 experience   as a consultant , you will give chemist            court

24 testimony ; is that correct ?

25 A.      That 's correct .




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 1 Q.         Who will you give that court testimony            for ?

 2 A.         For anyone    who wish es the service s.

 3 Q.         And that would be for a fee ?

 4 A.         That 's correct .

 5 Q.         Would you testify      for a fee now as in your

 6 position     as consultant      for the government     at any time ?

 7 A.         Yes , I would do that also .

 8 Q.         So if they hire d you and paid you their fee , you

 9 would testify      for them ?

10 A.         That is correct .

11 Q.         Equal ly for the defense ?

12 A.         That 's correct .

13 Q.         Have you , since you left in 2000, opened           your

14 own company , actual ly testifi ed for the government                at

15 your fee ?

16 A.         Not at my fee .

17 Q.         Well , the $40 -- the fee you're       get ting today ?

18            THE COURT:     He 's not going to retire      on the fee

19 he get s today .

20            BY MR. MITCHELL:

21 Q.         So, other than something      for lunch money , you

22 haven't    been hire d and retain ed by the government           to

23 testify    on their behalf ; is that correct ?

24 A.         On the bas is of my company      status .

25 Q.         Correct .    Are you aware of whether       the




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 1 government     has , at any point in time since 2000 , since

 2 you've     had the opportunity      to testify   for the defense ,

 3 have you ever known the government            to challenge   your

 4 qualification s?

 5 A.         Challenge    my qualification s as what ?

 6 Q.         Challenge    your qualification s as an ex pert , I'm

 7 sorry .

 8 A.         Oh , yes , I have .

 9 Q.         And they've    challenge d it on what basis , if

10 you're     aware ?

11 A.         Whether    I was qualifi ed as an ex pert witness        as

12 a chemist     -- as forensic      chemist .

13 Q.         They argue d that you could n't be qualifi ed as an

14 ex pert ; is that right ?

15 A.         That 's correct .

16 Q.         I assume that under your testimony , you would

17 testify     for the defense      as to whether   the drug s were

18 actual ly proper ly analyze d.        Would that be one of the

19 thing s?

20 A.         That 's one the aspect s.

21 Q.         What about chain of custody ?         Would you testify

22 as to whether        chain of custody   might be flaw ed or in

23 any way interrupt ed ?

24 A.         Yes .

25 Q.         Now , in your -- in being hire d as an ex pert for




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1 the defense , would you do your own testing                 of drug s,

2 for example ?

3 A.         The testing    would be -- would that also include

4 weigh ing ?

5 Q.         Testing , weigh ing , analyzi ng ?

6 A.         We do provide    a service , a weigh ing service

7 only .     That 's the only type of actual         drug touch ing

8 that we do .

9 Q.         So if I give you a sample          of drug s, you could n't

10 tell me what the sample         is ?

11 A.        We're not going to chemically          an alyze it .     We

12 will physically       analyze   it through     weigh ts.

13 Q.        Would you    then have someone       else do the chemical

14 analysis ?

15 A.        No .   That is not our approach .

16 Q.        But I could have someone          else do it for me if I

17 want ed to and you could interpret .            Is that how it

18 would work ?

19 A.        If you can find somebody          to do that , yes .

20 Q.        If I could .    Okay .       Now , in your work as a

21 chemist    with the DEA, you analyze d drug s from what

22 location s?

23 A.        Any location s that the drug s were confiscate d

24 and submitted     to the laboratory        for analysis .      They

25 could be --




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 1 Q.       Where were you locate d?

 2 A.       In the Washington , D. C. area .

 3 Q.       Okay .    So someone       in the Washington , D. C. area

 4 under the jurisdiction        of your office        gave sample s of

 5 drug s, you would be the one to test that ?

 6 A.       Yes .    I would also include          military     sample s.

 7 Q.       And military      as well ?

 8 A.       Yes .    It could be from anywhere .

 9 Q.       During    the time that you were a chemist                with the

10 DEA, did you receive        any awards        or accolades    or

11 pro motion ?

12 A.       Oh , yes .

13 Q.       Do you list those anywhere             in your CV?

14 A.       No, I don't .      I have receive d citation s on court

15 testimony .      I remember   one of them was in Harrison --

16 Burling , Virginia       in district     court on testimony         on a

17 huge case .

18 Q.       At any time were you -- did you see any

19 sanction s or any other -- I'm losi ng the word

20          MR. MONTEMARANO :          Adverse    action s.

21          BY MR . MITCHELL:

22 Q.       Adverse      action s --

23 A.       No .

24 Q.       -- as a result       of any -- out of       your work --

25 A.       No .




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 1 Q.        -- between     19 71 and 19 99 ?

 2 A.        No .

 3 Q.        You currently     have a Web site with Vi ngram

 4 Enterprise s?

 5 A.        Yes , I do .

 6 Q.        That advertise s your service s?

 7 A.        Yes , it does .

 8           MR. MITCHELL:      I have no further      question s.

 9           MS. GREENBERG:       Your Honor , I submit      at this

10 time that we not repeat         this in front of the jury .         I

11 ask that the Court accept         him as a forensic     ex pert and

12 be allow ed to offer his opinion , and I also move that

13 counsel    not be allow ed to ask him that the government

14 has asked to exclude        him from his consulting work

15 because it appears he didn't that he didn't chemically

16 analyze the exhibits        when he was a forensic      chemist ;

17 and therefore , it would not be relevant           for the time

18 period    we're talk ing about near 19 96 .

19           THE COURT:      All right .    Mr. Mitchell .

20           MR. MITCHELL:      I think it would be relevant ,

21 Your Honor , if the government          want s -- you can't have

22 it both way s.     They either     trust him or they don't

23 trust him , and if they're        argue to day , I want    the jury

24 to trust him , but then tomorrow          he come s for the

25 defense    and they argue they don't want to trust him , I




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 1 mean --

 2            THE COURT:     What are the circumstance s under

 3 which his qualification s were challenge d?

 4            MS. GREENBERG:     Your Honor , Mr. Mitch ell is

 5 say ing -- maybe he can correct         me if I'm wrong , but

 6 when he act s as a consultant         and he does n't chemically

 7 analyze    the exhibit s, the      government   has object ed to

 8 him in other case s.

 9            In this case , we're call ing him in his role as a

10 forensic    chemist     with the DEA, U. S. Department         of

11 Justice , Washington , D. C. based on a chemical              analysis

12 he did of substance s.

13            THE COURT:     Was the government       success ful in

14 challeng ing his qualification s?

15            MS. GREENBERG:     I don't know , Your Honor .

16            THE WITNESS:     No .

17            MR. MITCHELL:     I d idn't hear the question , I'm

18 sorry .

19            THE COURT:     I asked was the government

20 success ful in challengi ng his qualification s.              The

21 witness    has said no , he was able to testify .            If there

22 is a judicial     find ing that he was not qualif ied, I

23 would think that would be a ground           for

24 cross-examination       , but I'm not going to permit         an

25 inquiry    into an un success ful challenge        by some




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 1 prosecutor    somewhere    to his qualification s in some

 2 other case that was un success ful .

 3          MR. MITCHELL:       I'm not suggest ing that it be a

 4 --

 5          THE COURT:       You're entitle d to impeach       the

 6 witness , but not the government .

 7          MS. GREENBERG:       I move in limine      that he not be

 8 allow ed to ask those question s.

 9          THE COURT:       I grant that motion .        I see no

10 reason to go into questions about an unsuccessful

11 challenge    by some prosecutor      somewhere    to his

12 qualification s.

13          Now , how do you want to hand le the           physical

14 qualification     in front of the     jury , because     they're

15 comi ng back here in jus t a moment ?         Do you want to

16 stipulate    to his qualification s, re serving , however ,

17 you r right to challenge       it based upon the voir dire         we

18 just had ?

19          MR. MITCHELL:       Court 's indulgence .

20          MS. GREENBERG:       Since he 's here , Your Honor , we

21 might as well start with him .          I literal ly have five or

22 ten minute s for both witness es .

23          MR. MITCHELL :      Your Honor , we would stipulate        to

24 his qualification s.       I'm not waivi ng any right to

25 challenge    him , but waive -- stipulate        his




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 1 qualification s for the jury .

 2            THE COURT:     All right .    We'll announce    a

 3 stipulation     that he 's been -- that the parti es agree

 4 that he 's qualif ied to give opinion s in the field of

 5 forensic    chemistry .      You are re serving   your right based

 6 upon this voir dire        examination    for appellate    purpose s

 7 to challenge     his qualification s or the Court 's ruling

 8 that he 's qualifi ed .       I'm going to rule right now that

 9 he 's qualified     and you may then announce        the

10 stipulation     re serving    un to yourself   all right as to

11 whether    I am properly --

12            MS. GREENBERG:      Your Honor , may I just brief ly ,

13 when I'm introducing         the witness , state his education

14 and his work with DEA?

15            THE COURT:     You may do that just very brief ly

16 because    they need to understand        it for weight    purpose s

17 but that 's all .

18            All right .    Let 's bring the jury in .

19                   (W itness   remain s on the stand .)

20                   (Jury return s at 1:35 p.m. )

21            THE COURT:     Ladies and gentlemen    , while you're

22 get ting settle d, I just want to re mind you that we will

23 be resuming     on Tuesday , the 18th of July .        I have a

24 matter    at 9 o'clock     in another    case that won't take too

25 long , and I should       be able to start prompt ly at 10:00.




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 1 So if you will be here at 10:00,           and counsel , if you

 2 will be here at quarter        of 10:00,    we will do that .

 3            My apologi es for the delay in bring ing you back

 4 in .   We had a couple      of other matter s to handle , but I

 5 think it will make it go a little           faster.     You may

 6 proceed.

 7            MS. GREENBERG:     Your Honor , could the witness           be

 8 sworn ?

 9 Thereupon,

10                           VEDOSTER   INGRAM ,

11 having been called as a witness on behalf of the

12 Plaintiff , and having been first duly sworn by the

13 Courtroom Deputy, was examined and testified as

14 follows:

15                         DIRECT   EXAMINATION

16            BY MS. GREENBERG:

17 Q.         Sir , could you state your name       and spell your

18 first and last name for the jury , please .

19 A.         Vedoster   Ingram ; Vedoster , V E D O S T E R,

20 Ingram , I N G R A M.

21 Q.         Sir , in the matter    of shortcut ting thing s, as

22 the judge suggest ed , did you receive          your bachelor     of

23 science    in chemistry     from Howard    University    in 19 64 ;

24 your MS in chemistry        from Howard    University    in 19 68 ;

25 and your Ph.M in chemistry         from George    Washington




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 1 University     in 19 83 ?

 2 A.         Yes .

 3 Q.         And among other work experience , did you work

 4 for 28 year s as a forensic         chemist    with the Drug

 5 Enforcement        Administration , U. S . Department     of

 6 Justice , Washington        DC, specifically     from 19 71 to 19 99 ?

 7 A.         Yes .

 8 Q.         In connection     with your work as a forensic

 9 chemist , did you test a substance            that was submitted          to

10 you back in -- Court 's indulgence            -- on September       3,

11 19 96 , that you have been asked to come testify               about

12 here today ?        Or I guess it was September      11 , 19 96 .        Do

13 you see that ?

14 A.         I have a date as --

15 Q.         Sir , when it was submitted        -- if I may approach .

16 Show ing you       Miscellaneous   30 .   Do you recognize      that

17 exhibit ?     Do you recognize      this exhibit ?

18 A.         Yes , I do .

19 Q.         What is reflect ed there as the        date it was

20 received     at the lab ?

21 A.         9/11 /96 .

22 Q.         What is reflect ed here as the date that the item

23 was obtain ed ?

24 A.         9/03/96 .

25 Q.         Just to be clear , if you could state the file




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 1 number .

 2 A.         500 -610 .

 3 Q.         And the file title ?

 4 A.         Bynum .

 5 Q.         Where does this document        reflect   that it    was

 6 obtain ed ?

 7 A.         6 Evart Street , Northeast .

 8 Q.         Can you read at least        the last name of the

 9 special    agent that submitted         it to your laboratory ?

10 A.         It appear s to be Murphy , or something        like that ,

11 or May berry .

12 Q.         And this top half of this form , Miscellaneous

13 30 , that 's fill ed out before         it get s to your lab , it 's

14 maintain ed with        the exhibit ?

15 A.         Yes .

16 Q.         And it 's be low the line that it is from your

17 laboratory ; is that correct ?

18 A.         Correct .

19 Q.         In Paragraph     22 , there is an indication        to seal ,

20 it says broken /un broken .       Do you see that there ?

21 A.         Yes .

22 Q.         And is that fill ed out by your technician            who

23 receive s the exhibit ?

24 A.         Yes , it is .

25 Q.         Were you able to determine        when it was submit ted




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 1 to the laboratory         whether   the item was seal ed or

 2 un seal ed ?

 3 A.        Yes .

 4 Q.        How are you able to determine         that ?

 5 A.        Upon receiving      the evidence , I view ed it and

 6 found it as being seal ed and I record ed it in my

 7 laboratory      note s.

 8 Q.        So even that 's not report ed on the front page of

 9 the form , it 's report ed elsewhere        in the file ?

10 A.        Yes , it is .

11 Q.        And this exhibit      that you received        from File No.

12 500 -610 , File Title Derrick         Bynum , relating    to a

13 September      19 96 seizure , can you tell the jury if you

14 perform ed test s on that item ?

15 A.        Yes , I did .

16 Q.        Did you per form the stand ard tests           that your

17 laboratory      perform ed at that time ?

18 A.        Yes , I did .

19 Q.        General ly , tell us , without      tell ing what the

20 test s were , what test s you we re per form ed ?

21 A.        There was a screen ing test and there were

22 confirmation      test s, and the screen ing test s indicated

23 that a cocaine      base was present      and that a confirmatory

24 test indicated      that cocaine      base was present     at a 90

25 percent   strength .




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 1 Q.         What was the weight     of the exhibit       that you

 2 analyze d?

 3 A.         The net weight , or weight        received   without    the

 4 wrapper s, was 5.686 grams .

 5 Q.         What did you determine     it to be ?

 6 A.         5.686 grams .

 7 Q.         What drug did you determine         it to be ?

 8 A.         The drug determine d was cocaine        base .

 9 Q.         How many package s were there ?        Was there one or

10 was there more than one ?

11 A.         There was one plastic     bag .

12 Q.         What did it look like ?

13 A.         It was color less .

14 Q.         Was it hard or soft ?

15 A.         It had chunks   of material       that appear ed to have

16 been crush ed .

17 Q.         Is that reflect ed on your analysis          on

18 Miscellaneous      30 , what your conclusion s were at the

19 bottom ?

20 A.         Yes .

21 Q.         Where it says Exhibit 1 ?

22 A.         Yes .

23 Q.         That would be 5. 68 grams , one color less plastic

24 Ziploc     bag with brown chunks    found to contain         cocaine

25 base ?




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 1 A.       Yes .

 2 Q.       On the bottom        of Miscellaneous     30, is that

 3 Exhibit 1 , lab number , cocaine        base , strength        90

 4 percent ?

 5 A.       Yes .

 6 Q.       And these two number s here,           5.117 G and 5.36 G,

 7 what does that mean ?

 8 A.       5.117 grams is the weight          of a pure cocaine

 9 base .   And the 5.36 6 grams is the weight           re serves      after

10 the analysis .

11 Q.       What is the common        term for cocaine         base ?

12 A.       The street     name is crack .

13          MS. JOHNSTON:         No further   question s, Your Honor .

14                             CROSS-EXAMINATION

15          BY MR. MITCHELL:

16 Q.       Mr. Ingram , you were work ing for the DEA on

17 September    11 , 19 96 ?

18 A.       Yes .

19 Q.       And on September        11 , 19 96 , when this was

20 received , did you actual ly receive            the item on that

21 day ?

22 A.       I received     it on September      13 , 19 96 .

23 Q.       When did you actual ly analyze           this substance ?

24 A.       The analysis        was be gun on October    2nd .

25 Q.       So between     September    11 and October         2, what were




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 1 the drug s do ing ?

 2 A.         Between    that time , it was either       in the central

 3 laboratory      vault or in my custody         -- in my vault

 4 custody    prior to analysis         and during    analysis .

 5 Q.         And when was your -- you opened           this package

 6 October    2, 19 96 ?

 7 A.         Yes .

 8 Q.         And when did you complete           your analysis ?

 9 A.         October    3.

10 Q.         The follow ing day ?

11 A.         That 's correct .

12 Q.         Why was it it took 24 hour s to complete              your

13 analysis ?

14 A.         It more than like ly was be gun in the afternoon

15 and complete d the next day , including             the paperwork .

16 Analysis     is -- of a case is comprise d of actually

17 receiving      it , opening      it , do ing the test , and writing

18 up the paperwork            and then seal ing it , and the paperwork

19 turn ed in .       That is all .     This is   comprise d of

20 analytical      time .

21 Q.         This substance        that you analyze d, did you test

22 it for anything          other than for cocaine ?

23 A.         No , I didn't .

24 Q.         Show ing you again what has been mark ed as

25 Miscellaneous        30 .     Now , you received   this document        with




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 1 some print ed language         right here ; did you not ?

 2 A.         Yes , I did .

 3 Q.         You didn't      type that word "cocaine " un der

 4 allege d drug s under No. 11 ; did you ?

 5 A.         No .

 6 Q.         This was done by the police officer        presumably ?

 7 A.         Yes .

 8 Q.         So he already      put down that this was cocaine ;

 9 correct ?

10 A.         Yes , he did .

11 Q.         If I could go to your -- and your conclusion

12 was ?

13 A.         Item 28 , cocaine     base .

14 Q.         During    that period   of time between   the time you

15 received     this September      11 , 19 96 , until the time about

16 a month later when you actual ly tested          it , did you have

17 any discussion        or communication    with an Officer     Hearn ,

18 I believe      it is , or Murphy ?

19 A.         No .

20 Q.         Do you have any note s to that effect ?

21 A.         No .

22 Q.         I know this is some time ago, it 's about ten

23 year s ago .       Do you have any specific    recollection     of

24 that ?

25 A.         Routine ly , we do not hold discussion s with




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 1 submitting      officer s' evidence .

 2 Q.       Do you have any specific           recollection    from ten

 3 year s ago what happened       and who spoke to what ?

 4 A.       No , I don't .

 5          MR. MITCHELL:       No further      question s.

 6          THE COURT:       Any re direct ?

 7                        REDIRECT   EXAMINATION

 8          BY MS. GREENBERG:

 9 Q.       Have you had any discussion s with anyone              that

10 would change      your opinion    about what these drug s are ?

11          MS . GREENBERG:      This is 404 (b), Your Honor , and

12 only goes to this one defendant .            We can approach     the

13 bench if you want .

14          MR. MARTIN:       No, no , no .     That that 's not

15 necessary .

16          THE COURT:       All right .

17          BY MS. GREENBERG:

18 Q.       If you had opinion s with any of the off icers,

19 would that have changed        your conclusion      on this report ?

20 A.       No .

21 Q.       Were your observation s of the          brown chunks

22 consistent      with crack cocaine      versus   powder    cocaine ,

23 your observation s of the exhibit ?

24 A.       I hate to use the term "crack ," but cocaine

25 base .




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 1 Q.         Cocaine   base , yes ?

 2 A.         It 's consistent    with that .

 3            MS. GREENBERG:      No further     question s.

 4            THE COURT:      All right .    Any question s of this

 5 witnes s?     Mr. McKnett ?

 6            MR. MCKNETT :     No , Your Honor .

 7            THE COURT:      All right .    You may step down .

 8 Thank you very much .         Do you have a question , Mr.

 9 McKnett ?

10            MR. MCKNETT :     Your Honor , I want ed to ask the

11 Court if we could give an in struction            at this point the

12 404 ?

13            MS. GREENBERG:      Your Honor , if we can wait until

14 the next witness .

15            THE COURT:      I will do it , attend    to both of

16 them .

17                   (Witness    excused    at 1:47 p.m. )

18 Thereupon,

19                               NORMA HORNE ,

20 having been called as a witness on behalf of the

21 Plaintiff , and having been first duly sworn by the

22 Courtroom Deputy, was examined and testified as

23 follows:

24                          DIRECT     EXAMINATION

25            BY MS. GREENBERG:




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 1 Q.      Ma'am , could you state your name            and spell your

 2 last name , please ?

 3 A.      Norm a Horn e, H O R N E.

 4 Q.      Where are you employ ed ?

 5 A.      With the     Metropolitan      Police    Department in

 6 Washington,     D. C.

 7 Q.      As what ?

 8 A.      Police    detective    now .

 9 Q.      How long have you been a police             detective    with

10 the Metropolitan        Police Department       in Washington,    D.

11 C. ?

12 A.      A little     over 16 year s.

13 Q.      As such , what are your duti es and

14 responsibilities ?

15 A.      At this point it cover s kind of a gambit,               but I

16 was just transferred        from the Safe Street s Task Force

17 with the FBI to Homeland        Security .

18 Q.      In the Safe Street Task Force , did you work on

19 narcotic s case s?

20 A.      Yes .

21 Q.      Was that the bulk of your work in that unit ?

22 A.      Yes .

23 Q.      Back on September       3, 19 96 , were you a member           of

24 the -- were you part of the Fifth District ?

25 A.      Yes , I was .




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1 Q.        Work ing the vice unit ?

2 A.        Yes, ma'am .

3 Q.        On that date on September        3, 19 96 , were you

4 work ing in the area of Edge wood Terrace , Northeast ?

5 A.        Yes, ma'am .

6 Q.        And could you tell the jury if you had conduct ed

7 any law enforcement       activity   in the area of 535

8 Edge wood Street , Northeast , Washington,         D. C.    On

9 September    3, 19 96 ?

10 A.       Actual ly , prior to get ting to that location , we

11 became   involve d in a traffic     stop that subsequent ly led

12 to an arrest -- actual ly , it turn ed out to be two

13 arrest s.

14 Q.       While you were going to that location ?

15 A.       Yes, ma'am .

16 Q.       Can you tell the jury what happened          that day ?

17 A.       On that date , we were drivi ng an un mark ed

18 vehicle , and at that point believe d that what we saw

19 might have been some type of transaction .            We pull ed

20 over in front of the gray vehicle , at which point the

21 driver   of the vehicle      made a motion   with his left hand

22 to the middle    console .     At that point , we exited        our

23 vehicle , approach ed --

24 Q.       Let me ask you this :      Before   you approach ed the

25 vehicle , did you hear anybody       in the vicinity      say




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 1 something ?

 2 A.         Yes .     There was another    gentleman    that yell ed

 3 5- 0, 5-0.

 4 Q.         What does that mean to you as a police officer ?

 5 A.         Police .

 6 Q.         Where was does that come from ?         Do you know ?

 7 A.         That 's just the street       terminology    back then .

 8 Q.         When you saw this car and the driver           was do ing

 9 what ?

10 A.         Initial ly what happened       was the -- there was a

11 young man that approach ed on the driver 's side window

12 and had reach ed into the driver 's side area and then

13 the whole --

14 Q.         Then you heard the 5-0?

15 A.         Right .

16 Q.         So then you approach ed the vehicle ?

17 A.         Correct .

18 Q.         Tell the jury what observation s you made of the

19 driver .

20            MR. MITCHELL:      Objection .

21            If we could approach .

22            THE COURT:      All right

23                       (At the bar of the Court.)

24            MR. MITCHELL:      All I've heard so far is that a

25 police officer        saw a car and stopped     it for a traffic




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 1 stop .     No violation     of any law , no violation       of any

 2 traffic     code , no idea that anyone         was do ing anything

 3 illegal .

 4            MS. GREENBERG:      Well , if he will let me

 5 continue , I will get to that point .

 6            MR. MITCHELL:      She 's already      had the officer

 7 stop the vehicle , but no indication              what the vehicle    is

 8 do ing .    We --

 9            MS. GREENBERG:      Your Honor , this would be the

10 basis of the Rule 12 pre trial , and we're not having                an

11 audiotape     suppression     motion   now .

12            THE COURT:     Did you file a motion ?

13            MR. MITCHELL:      I didn't know       about this until a

14 month ago -- a couple         of month s ago .

15            THE COURT:     The objection        is over ruled .   Let me

16 hear where this goes , and if she does n't get there , we

17 will come back and re visit the question .

18                         (Back in open court .)

19            BY MS. GREENBERG:

20 Q.         Detective    Horn e, take us back , jus t to be clear ,

21 when you heard the witness         scream ing 5-0, what

22 observation s did you make of that individual               at the

23 vehicle ?

24 A.         The gentleman     on the outside       of the vehicle ?

25 Q.         The gentleman     on the outside .




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 1 A.         He had reach ed into the vehicle , like a pass ing

 2 motion .

 3 Q.         And is that when you heard 5-0, 5-0?

 4 A.         Yes .

 5 Q.         And then what did that individual         do ?

 6 A.         Had walk ed to the other side of the vehicle , and

 7 at the same time , we actual ly had pull ed up and

 8 basically      cut the vehicle    off to conduct     a traffic

 9 stop .

10 Q.         What were your observation s when you approach ed

11 the car ?

12 A.         The driver     with his left hand made a motion

13 towards      the middle   con sole area , at which time he was

14 told to show his hands , and then we approach ed , could

15 smell alcohol      --

16 Q.         Was there any of your observation s consistent

17 with the smell that you smell ed about him ?

18            MR. MONTEMARANO :     Objection , Your Honor , to the

19 lead ing .

20            THE COURT:      Sustained .   Ask it a different      way .

21            BY MS. GREENBERG:

22 Q.         You just testifi ed that you smell ed alcohol .

23 A.         Yes .

24 Q.         What else did you observe ?

25 A.         Once the gentleman 's -- we asked the gentleman




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1 to step out , there was an open bottle               of rum in the --

2 right by the console         area .

3 Q.         Do you recall         what type ?

4 A.         Citrus .

5 Q.         What did you do then ?

6 A.         Actual ly place d him under arrest          for possession

7 of an open contain er of alcohol .

8 Q.         Who was this person            that you place d under

9 arrest ?

10 A.        Derrick     Bynum .

11 Q.        What happened         next ?

12 A.        Search     incident     of the vehicle    to his arrest ,

13 locate d by the console           area where the same reach ing

14 motion    was a clear Ziploc , which contain ed an off -white

15 rock substance , of which a portion              was field tested,

16 and yield ed a positive           color reaction    for presence   of

17 cocaine .

18 Q.        Where was that in relation            to what you observed ?

19 A.        That same area .

20 Q.        As what ?

21 A.        As where he reach ed with his left hand toward

22 the middle    console .

23 Q.        Approximately         how much did that weigh ?

24 A.        Approximately         six grams .

25 Q.        And the field test that you did , is that




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1 typically     referred   to as the    color test ?      What kind of

2 test is it ?

3 A.       It 's a test for whether         or not    it contain s

4 cocaine .

5 Q.       Do you have a further         test on the field for

6 differentiati ng between        cocaine   and cocaine     base ?

7 A.       No .    It 's the   same .   I'm sorry .     It 's the same

8 test .

9 Q.       And you allow ed the lab to do that for you ?

10 A.      Yes .

11 Q.      Based on your train ing and experience , how did

12 it appear    to you ?

13 A.      We had a positive       color reaction       for presence of

14 cocaine .

15 Q.      Did the substance       appear    to be powder    cocaine     or

16 crack cocaine ?

17 A.      Crack cocaine .

18 Q.      Did you se arch that same individual ?

19 A.      Yes .

20 Q.      Did you continue       to search    the car ?

21 A.      Yes .

22 Q.      What else did you receive          from the console       ar ea

23 of the car to which you saw the person             you identifi ed

24 as Derrick     Bynum reach ?

25 A.      There was money re covered         from that area , as




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 1 well as money re covered        off of Mr. Bynum .

 2 Q.         How much   money in that area ?

 3 A.         The actual     amount , I can't remember .

 4 Q.         Is there anything     that would refresh      your

 5 recollection ?

 6 A.         Yes, ma'am .

 7 Q.         What is that ?

 8 A.         My 16 3.

 9 Q.         Is that your report ?

10 A.         Yes, ma'am .

11 Q.         I'm going to hand you what's        been mark ed as

12 Miscellaneous      29 for identification       purpose s only .    If

13 you could read this to yourself            and tell me if that

14 refreshes     your recollection     as to the amount      of

15 currency     re covered   from the console     area of the

16 vehicle .

17 Q.         Let me direct     your attention    to that point down

18 there .

19 A.         Yes .

20 Q.         How much money was re covered       from the console

21 area of the vehicle ?

22 A.         $58 .

23 Q.         Was there anything     else ?

24            THE COURT:      I could n't hear the answer .

25            MS. GREENBERG:      I'm sorry .




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 1           BY MS. GREENBERG:

 2 Q.        How much ?

 3 A.        $58 .

 4 Q.        Was there anything        else re covered   from the

 5 console    area of the defendant 's vehicle ?

 6 A.        Mr. Bynum 's ID.

 7 Q.        Was it in his name ?

 8 A.        Yes .

 9 Q.        What was re covered       from his person      in term s of

10 money ?    And if you need your recollection             refreshed ,

11 your report       is right here .

12 A.        His left, front pocket was $89 in           US currency .

13 Q.        And did you -- was there any statement s as to

14 whose vehicle       that was ?

15 A.        The co -defendant , who was subsequent ly arrested ,

16 made a statement       that Mr. Bynum --

17           MR . MITCHELL:      Objection .

18           THE COURT:       Sustained .

19           BY MS. GREENBERG:

20 Q.        Let me back you up .          Did you record    in your

21 report    who said whose vehicle         it was ?

22 A.        Yes .

23 Q.        Whose vehicle      was it ?

24 A.        Mr. Bynum 's .

25 Q.        Did you then place the individuals             under arrest




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 1 who you en counter ed at that scene ?

 2 A.         Two out of the three , yes .

 3 Q.         Who was place d under arrest ?

 4 A.         Mr. Bynum and a Mr. Gas ton .

 5 Q.         Mr. Gas ton ?

 6 A.         Yes .

 7 Q.         Were there any spontaneous      statement s made at

 8 the time that you place d them under arrest ?

 9 A.         Yes .   By Mr. Bynum , in reference     to something

10 Mr. Gas ton said .

11 Q.         What did Mr. Bynum say ?

12 A.         I never said the drug s were mine .

13 Q.         And in connection    with your report      in this case ,

14 did you give it a -- did you give a report            number ?

15 A.         Yes .

16 Q.         If I could direct    your attention     to -- again , to

17 Government 's Exhibit      Miscellaneous    29 .   Your CCN

18 number .     Is that your report     number ?

19 A.         Correct .

20 Q.         What is that number ?

21 A.         500610 .

22 Q.         Did you de tail someone    to submit    the item s that

23 you seiz ed to the lab oratory       for analysis ?

24 A.         Yes .

25 Q.         Who did you de tail to do that ?




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 1 A.        Mike Murphy .

 2 Q.        Under the same CCN number ?

 3 A.        Same CCN, and as sign ed a DEA lab number .

 4 Q.        Did you take identify ing information              as to Mr.

 5 Bynum ?

 6 A.        Yes, ma'am .

 7 Q.        Could you read the identification             number ,

 8 including     his address    and state , date of birth from

 9 Miscellaneous       29 into the record ?

10 A.        Sure .

11 Q.        And his full name , please .

12 A.        Derrick    Louis Bynum , nickname         Big D.    Address

13 11514 Lock wood Drive , A-2, with a birth date of 5/3/72 ,

14 a Social Security       number   of XXX -XX -436 5.     He is -- at

15 that time , he was 5'9" , approximately             225 , black hair ,

16 blown eye s, and medium       com plected .

17 Q.        After ten year s, do you think you could identify

18 Mr. Bynum ?

19 A.        No .

20           MS. GREENBERG:      No further      question s, Your

21 Honor .

22           THE COURT:      Cross-examination     ?

23                           CROSS-EXAMINATION

24           BY MR. MITCHELL:

25 Q.        Detective    Horne , you said you've         been with been




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 1 with the Metropolitan       police    for how long ?

 2 A.       A little    over six year s.

 3 Q.       So I assume     you've    been with them in that

 4 position , you've     been with them about six year s, give

 5 or take ?

 6 A.       Correct .

 7 Q.       And you were with another         officer    in that

 8 un mark ed vehicle , were you not ?

 9 A.       Two other officer s, but yes .

10 Q.       So there are three officer s total in the

11 vehicle ?

12 A.       Correct .

13 Q.       Were you drivi ng the vehicle          or was one of the

14 other officer s; do you recall ?

15 A.       I believe    I was drivi ng .

16 Q.       You observe d something , and based on that

17 observation , you stopped         a gray vehicle     for a traffic

18 stop ; is that correct ?

19 A.       Correct .

20 Q.       What did you specifically         stop the car for ?

21 A.       Conduct ed a traffic       stop after we believe d we

22 saw what was a drug transaction .

23          THE CLERK:      I'm sorry , but she needs to speak

24 into the micro phone .      They're    having   difficulty

25 hear ing .




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 1            MR. MITCHELL:      I will walk over there .

 2            MS. GREENBERG:      If you could re peat that again .

 3 I'm sorry .

 4            BY MR. MITCHELL:

 5 Q.         Do you remember     the question ?

 6 A.         Yes , what did we observe .       I'm sorry .

 7 Q.         You stop ped the vehicle       for a traffic      stop .

 8 A.         Okay .

 9 Q.         What specifically     did you observe         this gray

10 vehicle    do that cause d you to stop the vehicle ?

11 A.         We conduct ed a traffic      stop on the vehicle .

12 Q.         What ?

13            MS. GREENBERG:      Your Honor , I think that Ms.

14 Merez asked her to repeat         the answer , and we're --

15 perhaps    she could just repeat       her answer    to the

16 previous     question , just so the record        is clear .

17            THE COURT:      Could you repeat     that ?

18            THE WITNESS:      We believe    we saw what we thought

19 was a drug transaction .

20            BY MR . MITCHELL:

21 Q.         What specific     traffic   code violation       of the

22 District of     Columbia    law s did this vehicle        violate     that

23 cause d you to pull this car over ?

24 A.         As I said before , sir , we believe d we saw a drug

25 transaction     and we conduct ed a stop of the vehicle .




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 1 Q.        Was this drug trans action        occurring   while the

 2 car was moving ?

 3 A.        No, sir .

 4 Q.        Then what specifically       was the driver     vile --

 5 what law was the driver        violating     when you stopped     this

 6 vehicle ?

 7           Let me back up .     You saw a gray vehicle .          That

 8 gray vehicle       was actual ly moving     when you stopped     it ?

 9 A.        I'm sorry?

10 Q.        Was the gray vehicle      actual ly moving     when you

11 stopped     it ?

12 A.        That , I don't recall     if he had actual ly put it

13 into drive at that point .

14 Q.        So when you say you conduct ed a traffic           stop ,

15 was the car moving       that cause d you to stop it ?

16 A.        I don't believe     it -- I don't remember       that it

17 was .   What I -- as I said before , I pull ed our vehicle

18 in front of it to conduct        a stop .

19 Q.        When asked -- how many people           were in this

20 vehicle ?

21 A.        Two initial ly .

22 Q.        Two initial ly ?

23 A.        Well , you had the -- I'm sorry , you had the

24 gentleman     that walk ed over and then there was another

25 gentleman     that was in the car .       So --




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1 Q.          Right .     Let 's take it from the time when you

2 stopped      -- I'm going to use your term , stop ped this

3 vehicle .      Whether it    was moving      or stopped , came up to

4 the vehicle , park ed be hind it ?

5 A.          Correct .

6 Q.          How many people     were in side the vehicle ?

7 A.          Two .

8 Q.          When did another     person     all of a sudden     appear ?

9 A.          The other person     was on the outside       of the

10 vehicle     prior to --

11 Q.         Prior to ?

12 A.         -- the actual     stop .

13 Q.         Okay .    Let 's take it one step at a time .

14 A.         There were two people         in the car .   There was a

15 gentleman     --

16 Q.         Did you pul l in front or in the rear of this

17 vehicle ?

18 A.         I pull ed up to the front of the          vehicle , sir .

19 Q.         So you pull ed in front of the          vehicle   so it

20 can't move ?

21 A.         Correct .

22 Q.         How did you inform         the driver   that you were

23 stopping     that vehicle ?

24 A.         We exited     in our police     at tire and approach ed

25 the vehicle .




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 1 Q.        Okay .    And there were two people       in side the

 2 vehicle ?

 3 A.        Correct .

 4 Q.        And there 's a third person ?

 5 A.        Another     gentleman    on the outside   of the vehicle .

 6 Q.        And then what happened ?

 7 A.        As I said before , as we approach ed the vehicle ,

 8 the driver    took his left hand and made a motion            to the

 9 middle    console , move d his hand toward       the middle

10 console .

11 Q.        Where was the passenger ?

12 A.        In the car .

13 Q.        Where in the car ?

14 A.        I can't remember        if he was in the backseat       or

15 the front .

16 Q.        And this other individual , what did he do ?             You

17 sai d there was a third individual .

18 A.        He had been on the outside         of the vehicle .

19 Q.        And then what did he do when you approach ed the

20 car ?    Did he run ?     Did he   get in the car ?    What did he

21 do ?

22 A.        He went around     the vehicle .

23 Q.        Went around     the vehicle ?

24 A.        Yes .

25 Q.        To what part of the vehicle ?




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 1 A.        To the front passenger         side of the vehicle .

 2 Q.        When he did that , where were you ?

 3 A.        In front of the vehicle         pull ing in front of the

 4 vehicle .

 5 Q.        Now , when you pull ed in front of this vehicle              --

 6 because     I'm a little    confused   -- did you -- why don't

 7 we do it this way :        If you could -- we have this easel

 8 here .    Would you be able to draw a schematic            of where

 9 car s were that -- you remember          back that far ?     That 's

10 my first question .        Will you be able to remember ?

11 A.        I can tell you I pull ed in front of the           vehicle ,

12 so if you want me to put two box es up here , I could do

13 that .

14 Q.        Would you remember       the schematic   of the street ?

15 A.        No .

16 Q.        Okay .   We'll put that DB, that 's Mr. Bynum 's

17 car , the car of the individual          you identifi ed as Mr.

18 Bynum drivi ng .      Where did you pull your car up to , if

19 you could -- here .        New color .

20 A.        (Witness    indicati ng .)

21 Q.        What direction , if you could -- with arrow s,

22 what direction       was the car operate d by the individual

23 identifi ed by Mr. Bynum , where was he face and which

24 direction     were you faci ng ?

25 A.        It was n't identifi ed by Mr. Bynum .       The vehicle




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1 that he was in , that would be the front end of his

2 vehicle .

3 Q.         Okay .   So it was faci ng that way .        Which

4 direction      was your vehicle    faci ng ?

5 A.         At which point ?

6 Q.         When you "stopped " this vehicle .

7 A.         Exact ly as you see it right there .

8 Q.         If you could put an arrow , if you could point to

9 the front of the vehicle .

10 A.        (Witness    indicati ng .)

11 Q.        So when you pull ed your vehicle          in front of the

12 vehicle    that 's the red one , was that red vehicle           moving

13 at the time ?

14 A.        As I said before , sir , I don't know         if he had

15 already    put it in drive and was moving           or not .

16 Q.        Did you give the driver        a citation    for a traffic

17 violation ?

18 A.        No, sir , I did not .

19 Q.        So you approach     the vehicle       and end ed up finding

20 a clear Ziploc       baggy ; is that correct ?

21 A.        Subsequent    to his arrest , yes, sir .

22 Q.        And you found that where ?

23 A.        In the middle    console     area .

24 Q.        Was that middle     console    area accessible       to

25 anyone    else in the vehicle ?




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 1 A.       Yes .

 2 Q.       Including       this other second     individual    that was

 3 either   in the front or the back ?

 4 A.       It could be accessible , yes, sir .

 5 Q.       And you identif ied that other individual ; did

 6 you not ?

 7 A.       Yes, sir .

 8 Q.       Did you arrest       the other individual , the second

 9 passenger   of that vehicle ?

10 A.       Yes .

11 Q.       Did you arrest       him as a result        of finding   this

12 clear Ziploc     bag ?

13 A.       No, sir .

14 Q.       You arrested       him for another     reason ; did you

15 not ?

16 A.       Correct .

17 Q.       He had an outstanding           warrant ?

18 A.       Yes, sir .

19 Q.       Now , this third individual , did you arrest              him ?

20 A.       No, sir .

21 Q.       And he had no outstanding           warrant s?

22 A.       No, sir .

23 Q.       Now , you -- were you the one that actual ly

24 seize d the drugs and package d them ?

25 A.       I didn't     package   them .     It was package d by --




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 1 he 's now Detective       Murphy , but Michael     Murphy .

 2 Q.         Was Detective    Murphy    with you that night ?

 3 A.         Yes, sir .

 4 Q.         Was he the one that also found this clear Ziploc

 5 baggy ?

 6 A.         No, sir .

 7 Q.         Now , were you ever call ed by the -- what would

 8 have been corporation        counsel     or the US Attorney 's

 9 Office ?

10 A.         It would have been US Attorney 's Office .

11 Q.         Did the US Attorney 's Office        call you at any

12 point to testify        about this case in the Superior        Court ?

13 Do you recall ?

14 A.         That , actual ly , I don't remember .      I've done

15 quite a few case s, so I don't remember .

16 Q.         Do you know whether       this case was actual ly

17 papered    by the US Attorney 's Office ?

18            MS. GREENBERG:     Objection .

19            THE COURT:     Over ruled .

20            THE WITNESS:     I'm not sure .

21            BY MR. MITCHELL:

22 Q.         Do you know what the result         of the case was ?

23 A.         No, sir , I don't .

24 Q.         Are you required      to follow    up on any of your

25 case s and find out what happened            to them if -- do you




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 1 have open file s where you are required            to take note s of

 2 the result s of the case ?

 3 A.         Are we required     to take --

 4 Q.         Do you follow    up on your case s to find out the

 5 result     of what happened ?

 6 A.         Not really .    I mean , if you're      going to court ,

 7 general ly what will happen        is you will be cansed       to

 8 court , but I've had so many case s I don't remember ,

 9 sir .

10 Q.         You don't remember     going to court in this case

11 either ?

12 A.         I don't remember     if I did , sir .

13 Q.         Would you have made some note or report           about

14 the result , if you had gone to court and there was some

15 result     in court ?

16 A.         No .   Actual ly , I would have received

17 notification      from the Metropolitan      Police Department       to

18 appear     in court , and honest ly , I don't recall .       I've

19 done so many case s in between         that time frame .

20            MR. MITCHELL:      Okay .   I have no further

21 question s.

22            MR. MONTEMARANO :     Court 's indulgence , please .

23 Couple     of question s, Your Honor , if I may .

24            MS. GREENBERG:      Your Honor , may we approach ?

25                     (At the bar of the Court.)




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 1           THE COURT:     Do we need to bring this witness

 2 back next week?

 3           MR. MONTEMARANO :       I know   I've got five

 4 question s, six .

 5           MS. GREENBERG:      Your Honor , it 's 404 (b) .      It has

 6 nothing    to do with his client .

 7           MR. MITCHELL:      I don't think     we need any other

 8 --

 9           MR. MONTEMARANO :       Could I then have just a

10 moment    to speak with Mr. Mitchell ?

11           THE COURT:     Sure .

12                        (Back in open court .)

13           MR. MITCHELL:      With the Court 's permission , just

14 a couple .

15           THE COURT:     A couple .

16           MR. MITCHELL:      That 's all .

17           THE COURT:     All right .

18                          CROSS-EXAMINATION

19           BY MR. MITCHELL:

20 Q.        The other individual        that was arrested      -- that

21 came up to the car , the third individual ?

22 A.        Yes, sir .

23 Q.        He was let go ; correct ?

24 A.        Correct .

25 Q.        Did you ever search       him before   he left ?




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 1 A.       Yes , I believe     he was search ed .      I did not

 2 search   him .

 3 Q.       Did you find anything         on him ?

 4 A.       I don't remember , sir .

 5 Q.       You weren't     the one who search ed him ?

 6 A.       Correct .

 7          MR. MITCHELL:       No further    question s.

 8          THE COURT:      All right .     Any re direct ?

 9          MS. GREENBERG:       Brief ly , Your Honor , and my

10 apologi es for the hour .

11                        REDIRECT     EXAMINATION

12          BY MS . GREENBERG:

13 Q.       Ma'am , when you talk about traffic           stop , kind of

14 get s confusing .

15          Could you explain        to the jury what that mean s

16 when you say traffic       stop ?

17 A.       What we did was conduct ed a stop .

18 Q.       Is the jargon     sort of -- you say traffic          stop ?

19 Is that sort of a --

20 A.       Somewhat .    But it 's basically        a stop and

21 investigate , and at that time frame we approach ed the

22 vehicle .    At that time frame , we believe d we saw a drug

23 transaction      and we conduct ed a stop .       As we approach ed

24 and got closer      to -- kind of escalat ed from        there ,

25 simply   because    of -- you could smell alcohol .         He had a




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 1 drink in his hand , and it just kind of -- it was a

 2 chain of event s.

 3 Q.        When you say "stop ," then you didn't          necessarily

 4 mean you stopped       a moving   car ?   It could have been

 5 station ary, it could have been moving .

 6           MR. MARTIN:     Objection .

 7           Lead ing .

 8           THE COURT:     Over ruled .

 9           THE WITNESS:     Correct .

10           BY MS. GREENBERG:

11 Q.        Were you able to tell if the suspect ed drug

12 transaction    you saw had been finish ed ?        Were you able

13 to see if that had been complete d, what you suspect ed

14 to be a drug transaction ?

15 A.        I would say later on , based on the find ings .

16 Q.        And what did you see before        you approach ed --

17 we'll get away from the word stop -- you approach ed the

18 gray Olds mobile ?

19           MR. MITCHELL:      Asked and answered , Your Honor .

20           MS. GREENBERG:      I'll move on , Your Honor .

21           THE COURT:     Thank you .

22           BY MS. GREENBERG:

23 Q.        What observation s did you make of the middle

24 console   area ?

25           MR. MITCHELL:      Asked and answered .




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 1          THE COURT:      Sustained .

 2          BY MS. GREENBERG:

 3 Q.       Were you able to see the middle          console    area

 4 when you approach ed the car and saw the rum in the cup ?

 5          MR. MITCHELL:       Same .

 6          THE COURT:      Over ruled .

 7          THE WITNESS:      The cup was actual ly in Mr.

 8 Bynum 's hand .

 9          BY MS. GREENBERG:

10 Q.       Were you able to see the middle          console    area ?

11          MR . MITCHELL:      Objection .

12          THE COURT:      Over ruled .

13          THE WITNESS:      Yes .

14          BY MS. GREENBERG:

15 Q.       What did you see ?

16 A.       There was a bottle        of rum -- open bottle      of rum ,

17 citrus   rum .

18 Q.       And what else did you see?

19          MR. MITCHELL:       Objection.

20          THE COURT:      Sustained.

21          BY MS. GREENBERG:

22 Q.       Were you able to se e Mr. Bynum 's hand s?

23          MR. MITCHELL:       Objection .

24          THE COURT:      Sustained .

25          BY MS. GREENBERG:




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 1 Q.         Who recovered the clear      Ziploc baggies?

 2            MR. MITCHELL:     Asked and answered.

 3            THE COURT:    Sustained .

 4            MS. GREENBERG:     Your Honor , I'm follow ing up on

 5 counsel's    question s.

 6            THE COURT:    They're already been asked.

 7            MS. GREENBERG:

 8 Q.         Ma'am , you talk ed about -- on cross-examination

 9 about arresting      Mr. Bynum .    For what ?

10 A.         Possession   of an open contain er of alcohol           and

11 as well as possession        with intent    to distribute        crack

12 cocaine .

13            MS. GREENBERG:     No further    question s, Your

14 Honor .

15            THE COURT:    All right .    Ladies and gentlemen           ,

16 we're going to send you home now , but before             I do , she

17 was going to re mind me what I was already            do ing .     You

18 have just heard two witness es , the chemist           and this

19 officer , with regard       to matter s that happened      in 19 96 ,

20 which is before      the period    of the charge d conspiracy .

21            I want to advise    you that this evidence         has been

22 received    very much along the line s for the same reason s

23 I gave you some limiting        in structions    on some other

24 witness es , and let me repeat       what that is .     Our

25 evidence    rule s state , and I quote , that evidence            of




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 1 other crime s, wrong s, or act s is not admissible           to

 2 prove the character       of a person    in order    to show action

 3 in conformity     there with .

 4            Simply put , this language      of the rule mean s that

 5 evidence     of other crime s, wrong s or act s may not be

 6 use d to demonstrate      that a person     has a certain

 7 character , and that because        of that character , such

 8 person    is like ly to have commit ted the offense         charge d

 9 in this case .     The evidence     rule s provide , however ,

10 that such evidence , and I quote , may be admissible               for

11 other purpose s such as proof of motive , opportunity ,

12 intent , preparation , plan , knowledge , identity          or

13 absence     of mis take or accident .

14            I have ruled that the testimony        of this police

15 officer , as well as the chemist         testify ing before       her ,

16 is admissible     but only for those other limited

17 purpose s.     According ly , I instruct     you that you may

18 consider     such evidence , but only for the limited

19 purpose s that I have just de scribe d.

20            And with that , Happy Bastille       Day , have a nice

21 weekend , and we will see you next Tuesday            at 10:00 .

22 Us counsel     return   at 9:45 on Tuesday .

23            MS. GREENBERG:     Your Honor , may the witness         be

24 ex cused?

25            THE COURT:    Certain ly .   She can go home .




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 1                  (Witness    excuse d.)

 2                  (Jury excused     at 2:17 p.m.)

 3                  (Off the record      at 2:17 p.m. )

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 1                             CERTIFICATE

 2

 3       I, Tracy Rae Dunlap,       RPR , CRR , an Official Court

 4 Reporter for the United States District Court of

 5 Maryland, do hereby certify that I reported, by machine

 6 shorthand, in my official capacity, the proceedings had

 7 and testimony adduced upon the Jury Trial Proceedings

 8 in the case of UNITED STATES OF AMERICA versus PAULETTE

 9 MARTIN, et al, Criminal Action Number            RWT -04-0235 on

10 July 14 , 2006.

11

12       I further certify that the foregoing 2           07 pages

13 constitute the official transcript of said proceedings,

14 as taken from my machine shorthand notes, of said

15 proceedings.

16

17       In witness whereof, I have hereto subscribed my

18 name, this 24th day of April 2008.

19

20

21                              __________________________

22                              TRACY RAE DUNLAP, RPR , CRR
                                OFFICIAL COURT REPORTER
23

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